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ELM Solutions                                          The industry’s leading
                                                       analysis of law firm rates,

2022 Real Rate                                         trends, and practices




Report®




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A Letter to Our Readers
Welcome to the Wolters Kluwer ELM Solutions Real Rate Report®, the industry’s leading data-driven
benchmark report for lawyer rates.

Our Real Rate Report has been a relied upon data analytics resource to the legal industry since its
inception in 2010 and continues to evolve. The Real Rate Report is powered by the Wolters Kluwer ELM
Solutions LegalVIEW® data warehouse, which has grown to include $155B+ in anonymized legal data.

Last year, we launched our LegalVIEW Insights report series, which presented the first-of-its-kind legal
analysis of total outside spend, vendor counts, staffing ratios, and other matters. This year, LegalVIEW
Insights has gone even deeper into these issues and, together with the Real Rate Report, is a great tool to
benchmark performance and improve from there.

The legal services industry relies on internal analytics and the use of external data resources, such as the
LegalVIEW data warehouse, to support legal management strategies. The depth and details of the data in
the Real Rate Report enable you to better benchmark and make more informed investment and resourcing
decisions for your organization.

As with past Real Rate Reports, all of the data analyzed are from corporations’ and law firms’ e-billing and
time management solutions. We have included lawyer and paralegal rate data filtered by specific practice
and sub-practice areas, metropolitan areas, and types of matters to give legal departments and law firms
greater ability to pinpoint areas of opportunity. We strive to make the Real Rate Report a valuable and
actionable reference tool for legal departments and law firms.

As always, we welcome your comments and suggestions on what information would make this publication
more valuable to you. We thank our data contributors for participating in this program. And we thank you
for making Wolters Kluwer ELM Solutions your trusted partner for legal industry domain expertise, data,
and analytics and look forward to continuing to provide market-leading, expert solutions that deliver the
best business outcomes for collaboration among legal departments and law firms.




Sincerely,




Barry Ader
Vice President, Product Management and Marketing
Wolters Kluwer ELM Solutions




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Report Use Considerations
2022 Real Rate Report
• Examines law firm rates over time
• Identifies rates by location, experience, firm size, areas of expertise, industry, and timekeeper role (i.e.,
  partner, associate, and paralegal)
• Itemizes variables that drive rates up or down

All the analyses included in the report derive from the actual rates charged by law firm professionals as
recorded on invoices submitted and approved for payment.

Examining real, approved rate information, along with the ranges of those rates and their changes over time,
highlights the role these variables play in driving aggregate legal cost and income. The analyses can energize
questions for both corporate clients and law firm principals.

Clients might ask whether they are paying the right amount for different types of legal services, while law firm
principals might ask whether they are charging the right amount for legal services and whether to modify their
pricing approach.


Some key factors¹ that drive rates²:
Attorney location - Lawyers in urban and major metropolitan areas tend to charge more when compared with
lawyers in rural areas or small towns.

Litigation complexity - The cost of representation will be higher if the case is particularly complex or time-
consuming; for example, if there are a large number of documents to review, many witnesses to depose, and
numerous procedural steps, the case is likely to cost more (regardless of other factors like the lawyer’s level
of experience).

Years of experience and reputation - A more experienced, higher-profile lawyer is often going to charge more,
but absorbing this higher cost at the outset may make more sense than hiring a less expensive lawyer who
will likely take time and billable hours to come up to speed on unfamiliar legal and procedural issues.

Overhead - The costs associated with the firm’s support network (paralegals, clerks, and assistants),
document preparation, consultants, research, and other expenses.

Firm size – The rates can increase if the firm is large and has various timekeeper roles at the firm. For example,
the cost to work with an associate or partner at a larger firm will be higher compared to a firm that has one to
two associates and a paralegal.




1 David Goguen, J.D., University of San Francisco School of Law (2020) Guide to Legal Services Billing Retrieved from:
  https://www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html
2 Source: 2018 RRR. Factor order validated in multiple analyses since 2010




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                                                   leading $155B+ in legal
         guidelines                                     performance data

    ✓ Over 100 data scientists,
      400 compliance experts,
                                                 ✓ Uses your actual
                                                   historical data to train
         and 50 process experts                         and optimize your
         support the BillAnalyzer                       custom AI model
         AI model
                                                 ✓ Surveys  past billing
    ✓    Industry and peer
         guideline benchmarking
                                                   in review to evaluate
                                                        historical patterns



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Totally.
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                                                              Act on insights from advanced
                                                              analytics



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                                                              Visibility and management of
                                                              all vendor invoices




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Section I:
High-Level
Data Cuts
All data and analysis based on
data collected thru Q2 2022




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Section I: High-Level Data Cuts                                Partners, Associates, and
Partners, Associates, and Paralegals                           Paralegals
                                                               By Role
2022 — Real Rates
2022 - Real Rates                                                        Trend Analysis - Mean
                                 First               Third
Role                      n                Median               2022       2021       2020
                                Quartile            Quartile
Partner
                        10592     $430      $653     $969       $749       $738       $705

Associate
                        9930      $329      $485     $703       $546       $541       $503

Paralegal
                        4215      $150      $225     $325       $247       $244       $232




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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                                    Quartile            Quartile
Albany NY          Non-Litigation Partner
                                              17     $288       $288     $305      $322    $322     $354

                                  Associate
                                              15     $234       $240     $243      $237    $235     $233

Atlanta GA         Litigation     Partner
                                              103    $391       $525     $745      $568    $513     $554

                                  Associate
                                              116    $262       $345     $486      $382    $349     $361

                   Non-Litigation Partner
                                              220    $478       $665     $871      $700    $663     $636

                                  Associate
                                              201    $370       $450     $618      $504    $468     $443

Austin TX          Litigation     Partner
                                              25     $491       $643     $913      $696    $668     $579

                                  Associate
                                              21     $318       $463     $659      $497    $492     $481

                   Non-Litigation Partner
                                              73     $409       $450     $608      $526    $511     $510

                                  Associate
                                              50     $319       $401     $625      $450    $373     $390

Baltimore MD       Litigation     Partner
                                              66     $380       $585     $625      $551    $593     $566

                                  Associate
                                              76     $285       $400     $482      $414    $442     $426

                   Non-Litigation Partner
                                              85     $401       $606     $865      $682    $656     $648

                                  Associate
                                              80     $335       $482     $649      $512    $507     $484

Birmingham AL      Litigation     Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
Baltimore MD       Non-Litigation Associate         Quartile            Quartile
Birmingham AL      Litigation     Partner
                                              40     $320       $325     $459      $387    $357     $356

                                  Associate
                                              40     $275       $300     $311      $292    $284     $301

                   Non-Litigation Partner
                                              57     $340       $410     $480      $423    $432     $428

                                  Associate
                                              48     $258       $295     $339      $302    $304     $300

Boston MA          Litigation     Partner
                                              105    $397       $681     $824      $632    $588     $531

                                  Associate
                                              88     $315       $432     $608      $475    $450     $411

                   Non-Litigation Partner
                                              173    $510       $715     $972      $782    $772     $728

                                  Associate
                                              186    $395       $520     $690      $563    $555     $515

Bridgeport CT      Litigation     Partner
                                              14     $478       $563     $605      $535    $502     $462

                   Non-Litigation Partner
                                              18     $366       $400     $584      $451    $437     $402

                                  Associate
                                              12     $200       $265     $295      $281    $235     $242

Buffalo NY         Litigation     Partner
                                              28     $300       $340     $356      $321    $330     $339

                                  Associate
                                              17     $225       $245     $265      $240    $238     $246

                   Non-Litigation Partner
                                              16     $325       $366     $500      $397    $349     $354

                                  Associate
                                              11     $210       $255     $285      $257    $238     $242

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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Buffalo NY         Non-Litigation Associate
                                              11     $210       $255     $285      $257    $238     $242

Charleston WV      Litigation     Partner
                                              25     $225       $280     $310      $273    $274     $276

                   Non-Litigation Partner
                                              12     $281       $325     $358      $336    $345     $376

Charlotte NC       Litigation     Partner
                                              20     $513       $590     $736      $635    $586     $557

                                  Associate
                                              21     $325       $350     $382      $369    $356     $370

                   Non-Litigation Partner
                                              84     $550       $646     $782      $706    $703     $674

                                  Associate
                                              85     $320       $391     $526      $450    $465     $412

Chicago IL         Litigation     Partner
                                              266    $487       $755     $975      $771    $742     $694

                                  Associate
                                              248    $338       $500     $652      $516    $507     $474

                   Non-Litigation Partner
                                              561    $632       $890    $1,200     $920    $912     $871

                                  Associate
                                              473    $420       $574     $750      $595    $612     $575

Cincinnati OH      Litigation     Partner
                                              25     $326       $503     $590      $474    $440     $444

                                  Associate
                                              41     $259       $310     $357      $312    $290     $278

                   Non-Litigation Partner
                                              38     $399       $464     $538      $476    $475     $454

                                  Associate


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Cincinnati OH      Non-Litigation Associate
                                              41     $270       $305     $342      $307    $301     $275

Cleveland OH       Litigation     Partner
                                              66     $425       $509     $675      $564    $559     $575

                                  Associate
                                              58     $257       $284     $350      $323    $318     $310

                   Non-Litigation Partner
                                              182    $396       $495     $626      $558    $526     $511

                                  Associate
                                              145    $250       $295     $393      $333    $325     $300

Columbia SC        Litigation     Partner
                                              19     $400       $445     $525      $443    $381     $371

                   Non-Litigation Partner
                                              27     $331       $398     $483      $417    $415     $396

                                  Associate
                                              18     $232       $271     $324      $281    $265     $257

Columbus OH        Litigation     Partner
                                              13     $405       $550     $590      $532    $524     $511

                                  Associate
                                              15     $255       $275     $304      $288    $289     $285

                   Non-Litigation Partner
                                              37     $392       $441     $573      $477    $458     $469

                                  Associate
                                              23     $260       $324     $361      $326    $306     $269

Dallas TX          Litigation     Partner
                                              70     $315       $492     $646      $516    $546     $478

                                  Associate
                                              60     $199       $340     $587      $422    $440     $416

                   Non-Litigation Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
                   Litigation     Associate         Quartile            Quartile
Dallas TX          Non-Litigation Partner
                                              146    $495       $655     $995      $759    $750     $755

                                  Associate
                                              143    $345       $548     $729      $553    $529     $531

Dayton OH          Non-Litigation Partner
                                              15     $320       $380     $410      $379    $362     $388

Denver CO          Litigation     Partner
                                              32     $414       $495     $644      $553    $512     $451

                                  Associate
                                              30     $286       $345     $415      $348    $349     $332

                   Non-Litigation Partner
                                              125    $450       $525     $626      $559    $541     $516

                                  Associate
                                              86     $285       $360     $430      $377    $342     $319

Detroit MI         Litigation     Partner
                                              27     $275       $300     $376      $335    $372     $360

                                  Associate
                                              19     $215       $255     $358      $281    $274     $292

                   Non-Litigation Partner
                                              60     $313       $392     $454      $383    $388     $369

                                  Associate
                                              32     $230       $253     $280      $256    $269     $248

Greenville SC      Non-Litigation Partner
                                              34     $375       $420     $477      $426    $431     $429

                                  Associate
                                              14     $255       $285     $318      $294    $303     $308

Hartford CT        Litigation     Partner
                                              24     $330       $501     $591      $491    $420     $425

                                  Associate


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Hartford CT        Litigation     Associate
                                              13     $293       $320     $369      $327    $294     $307

                   Non-Litigation Partner
                                              27     $430       $525     $614      $542    $561     $546

                                  Associate
                                              22     $265       $300     $340      $310    $304     $295

Honolulu HI        Non-Litigation Partner
                                              19     $275       $300     $353      $325    $350     $320

                                  Associate
                                              13     $180       $200     $220      $208    $210     $197

Houston TX         Litigation     Partner
                                              60     $409       $668     $880      $678    $653     $618

                                  Associate
                                              67     $350       $409     $548      $444    $414     $381

                   Non-Litigation Partner
                                              108    $470       $831    $1,127     $845    $793     $796

                                  Associate
                                              136    $280       $435     $691      $490    $468     $433

Indianapolis IN    Litigation     Partner
                                              36     $325       $425     $564      $439    $412     $419

                                  Associate
                                              23     $218       $268     $342      $292    $261     $264

                   Non-Litigation Partner
                                              37     $331       $405     $473      $432    $454     $456

                                  Associate
                                              21     $260       $274     $320      $300    $285     $274

Jackson MS         Litigation     Partner
                                              66     $296       $319     $375      $339    $376     $368

                                  Associate


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Section I: High-Level Data Cuts                                            Cities
Cities By Matter Type                                                      By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                      First               Third
City                Matter Type    Role        n                Median              2022    2021     2020
                                   Partner           Quartile            Quartile
Jackson MS          Litigation     Associate
                                               56      $55       $225     $250      $178    $203     $175

                    Non-Litigation Partner
                                               24     $315       $420     $485      $418    $394     $375

                                   Associate
                                               25      $55       $126     $255      $155    $125     $259

Kansas City MO      Litigation     Partner
                                               74     $413       $450     $556      $472    $450     $450

                                   Associate
                                               50     $252       $329     $385      $319    $316     $305

                    Non-Litigation Partner
                                               101    $411       $487     $615      $519    $487     $464

                                   Associate
                                               73     $250       $320     $385      $322    $312     $285

Las Vegas NV        Non-Litigation Partner
                                               20     $350       $425     $525      $440    $422     $432

                                   Associate
                                               11     $238       $267     $368      $301    $297     $282

Little Rock AR      Non-Litigation Partner
                                               11     $215       $215     $308      $264    $256     $298

Los Angeles CA      Litigation     Partner
                                               322    $516       $725    $1,045     $799    $739     $702

                                   Associate
                                               408    $400       $615     $855      $642    $606     $564

                    Non-Litigation Partner
                                               521    $596       $868    $1,201     $903    $902     $858

                                   Associate
                                               667    $441       $603     $845      $653    $712     $648

Louisville KY       Litigation     Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
Los Angeles CA     Non-Litigation Associate         Quartile            Quartile
Louisville KY      Litigation     Partner
                                              15     $235       $335     $360      $331    $332     $331

                                  Associate
                                              12     $175       $200     $290      $230    $239     $229

Memphis TN         Litigation     Partner
                                              15     $290       $415     $440      $376    $357     $366

                   Non-Litigation Partner
                                              19     $308       $347     $390      $356    $340     $340

Miami FL           Litigation     Partner
                                              99     $275       $450     $623      $464    $489     $449

                                  Associate
                                              71     $244       $320     $439      $345    $331     $336

                   Non-Litigation Partner
                                              134    $450       $575     $779      $608    $577     $564

                                  Associate
                                              91     $305       $446     $547      $435    $418     $405

Milwaukee WI       Litigation     Partner
                                              16     $245       $338     $400      $379    $390     $395

                   Non-Litigation Partner
                                              21     $305       $390     $466      $499    $486     $483

                                  Associate
                                              18     $260       $290     $352      $309    $314     $312

Minneapolis MN     Litigation     Partner
                                              66     $388       $626     $702      $584    $529     $472

                                  Associate
                                              55     $370       $461     $526      $446    $386     $353

                   Non-Litigation Partner
                                              119    $491       $627     $763      $626    $600     $578

                                  Associate
                                              83     $340       $421     $528      $425    $408     $384

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Section I: High-Level Data Cuts                                             Cities
Cities By Matter Type                                                       By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                             Trend Analysis - Mean
                                                       First               Third
City               Matter Type    Role         n                 Median              2022     2021     2020
                                  Partner             Quartile            Quartile
Minneapolis MN     Non-Litigation Associate
                                               83      $340       $421     $528      $425     $408     $384

Nashville TN       Litigation     Partner
                                               24      $275       $320     $456      $363     $378     $403

                   Non-Litigation Partner
                                               78      $412       $484     $576      $505     $481     $470

                                  Associate
                                               59      $270       $330     $384      $340     $315     $285

New Orleans LA     Litigation     Partner
                                               47      $290       $332     $412      $343     $330     $340

                                  Associate
                                               42      $231       $243     $340      $278     $290     $275

                   Non-Litigation Partner
                                               32      $295       $347     $405      $419     $380     $391

                                  Associate
                                               21      $244       $250     $278      $273     $303     $258

New York NY        Litigation     Partner
                                              614      $475       $675    $1,088     $808     $784     $746

                                  Associate
                                              631      $323       $460     $729      $545     $527     $509

                   Non-Litigation Partner
                                              1,376    $765      $1,235   $1,638     $1,189   $1,139   $1,090

                                  Associate
                                              1,809    $550       $776    $1,050     $796     $766     $716

Oklahoma City OK Non-Litigation Partner
                                               14      $235       $338     $393      $337     $319     $311

Omaha NE           Litigation     Partner
                                               12      $293       $339     $353      $329     $338     $341

                   Non-Litigation Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
                   Litigation     Partner           Quartile            Quartile
Omaha NE           Non-Litigation Partner
                                              30     $298       $376     $420      $360    $354     $346

                                  Associate
                                              11     $200       $215     $306      $250    $242     $238

Orlando FL         Litigation     Partner
                                              32     $410       $474     $501      $467    $477     $446

                                  Associate
                                              22     $255       $334     $390      $317    $306     $283

                   Non-Litigation Partner
                                              35     $399       $425     $475      $441    $477     $460

                                  Associate
                                              22     $233       $273     $347      $320    $322     $297

Philadelphia PA    Litigation     Partner
                                              330    $485       $636     $837      $664    $625     $621

                                  Associate
                                              330    $365       $430     $530      $447    $414     $392

                   Non-Litigation Partner
                                              374    $530       $741     $925      $762    $735     $706

                                  Associate
                                              322    $375       $446     $540      $482    $441     $423

Phoenix AZ         Litigation     Partner
                                              36     $300       $450     $585      $457    $465     $420

                                  Associate
                                              19     $215       $265     $348      $283    $282     $225

                   Non-Litigation Partner
                                              74     $353       $425     $539      $470    $423     $391

                                  Associate
                                              43     $225       $290     $340      $305    $270     $259

Pittsburgh PA      Litigation     Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
Phoenix AZ         Non-Litigation Associate         Quartile            Quartile
Pittsburgh PA      Litigation     Partner
                                              57     $425       $614     $767      $599    $565     $539

                                  Associate
                                              66     $267       $430     $522      $404    $391     $350

                   Non-Litigation Partner
                                              128    $445       $603     $808      $627    $646     $582

                                  Associate
                                              113    $340       $409     $513      $434    $401     $389

Portland ME        Non-Litigation Partner
                                              38     $250       $385     $450      $376    $384     $373

Portland OR        Litigation     Partner
                                              36     $348       $476     $585      $481    $440     $417

                                  Associate
                                              47     $360       $420     $484      $425    $389     $354

                   Non-Litigation Partner
                                              46     $432       $502     $668      $540    $511     $481

                                  Associate
                                              83     $364       $423     $507      $433    $379     $358

Raleigh NC         Non-Litigation Partner
                                              31     $300       $428     $563      $454    $464     $443

Richmond VA        Litigation     Partner
                                              36     $350       $680     $723      $591    $544     $570

                                  Associate
                                              31     $323       $425     $450      $397    $391     $359

                   Non-Litigation Partner
                                              53     $536       $765     $920      $756    $715     $690

                                  Associate
                                              54     $425       $489     $625      $515    $474     $453

Rochester NY       Non-Litigation Partner


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Section I: High-Level Data Cuts                                            Cities
Cities By Matter Type                                                      By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                      First               Third
City                Matter Type Role           n                Median              2022    2021     2020
Richmond VA         Non-Litigation Associate         Quartile            Quartile
Rochester NY        Non-Litigation Partner
                                               12     $270       $360     $488      $386    $341     $446

                                   Associate
                                               13     $220       $310     $375      $314    $278     $287

Sacramento CA       Non-Litigation Partner
                                               11     $381       $437     $682      $534    $559     $516

Salt Lake City UT   Litigation     Partner
                                               14     $246       $353     $468      $363    $333     $379

                    Non-Litigation Partner
                                               42     $297       $371     $447      $391    $363     $353

                                   Associate
                                               22     $220       $240     $270      $248    $247     $228

San Diego CA        Litigation     Associate
                                               23     $151       $225     $300      $255    $258     $264

                    Non-Litigation Partner
                                               89     $332       $540    $1,066     $699    $667     $649

                                   Associate
                                               71     $250       $325     $424      $373    $378     $351

San Francisco CA    Litigation     Partner
                                               143    $423       $675     $995      $742    $711     $691

                                   Associate
                                               98     $325       $430     $731      $525    $517     $470

                    Non-Litigation Partner
                                               221    $475       $750     $950      $758    $746     $741

                                   Associate
                                               151    $338       $486     $702      $545    $563     $507

San Jose CA         Litigation     Partner
                                               33     $654       $921    $1,133     $916    $907     $864

                                   Associate


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
San Jose CA        Litigation     Associate
                                              22     $461       $580     $745      $608    $593     $498

                   Non-Litigation Partner
                                              50     $660       $864    $1,303     $969    $985     $887

                                  Associate
                                              46     $380       $460     $775      $616    $639     $567

Seattle WA         Litigation     Partner
                                              76     $497       $655     $760      $635    $567     $510

                                  Associate
                                              61     $394       $468     $530      $447    $453     $395

                   Non-Litigation Partner
                                              148    $410       $526     $760      $571    $547     $547

                                  Associate
                                              113    $310       $395     $502      $422    $401     $377

St. Louis MO       Litigation     Partner
                                              46     $260       $350     $435      $376    $373     $388

                                  Associate
                                              17     $197       $225     $250      $228    $237     $232

                   Non-Litigation Partner
                                              57     $352       $419     $540      $451    $446     $473

Tampa FL           Litigation     Partner
                                              31     $369       $508     $595      $490    $467     $452

                                  Associate
                                              15     $269       $298     $368      $316    $302     $306

Trenton NJ         Non-Litigation Partner
                                              21     $408       $600     $700      $569    $620     $581

                                  Associate
                                              12     $480       $495     $500      $448    $376     $387

Washington DC      Litigation     Partner


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Section I: High-Level Data Cuts                                             Cities
Cities By Matter Type                                                       By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                            Trend Analysis - Mean
                                                       First               Third
City               Matter Type Role            n                 Median              2022    2021     2020
Trenton NJ         Non-Litigation Associate           Quartile            Quartile
Washington DC      Litigation     Partner
                                              490      $716       $925    $1,062     $922    $897     $842

                                  Associate
                                              428      $504       $670     $707      $631    $604     $558

                   Non-Litigation Partner
                                              1,026    $643       $871    $1,080     $898    $876     $853

                                  Associate
                                              882      $459       $612     $736      $631    $603     $570

Wheeling WV        Litigation     Partner
                                               22      $746       $821     $850      $777    $748     $801




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Section I: High-Level Data Cuts                                           Cities
Cities By Years of Experience                                             By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                      Trend Analysis - Mean
                                                    First               Third
City                Years of Experience       n               Median               2022    2021     2020
                                                   Quartile            Quartile
Atlanta GA          Fewer Than 3 Years
                                              23    $307       $338     $397       $357    $334     $292

                    3 to Fewer Than 7 Years
                                              57    $322       $390     $473       $423    $365     $325

                    7 or More Years
                                              63    $325       $413     $587       $453    $459     $416

Austin TX           7 or More Years
                                              11    $339       $570     $692       $524    $446     $429

Baltimore MD        Fewer Than 3 Years
                                              15    $349       $400     $475       $417    $395     $341

                    7 or More Years
                                              35    $290       $394     $656       $471    $471     $474

Birmingham AL       7 or More Years
                                              16    $280       $310     $340       $322    $304     $313

Boston MA           Fewer Than 3 Years
                                              13    $414       $500     $520       $479    $438

                    3 to Fewer Than 7 Years
                                              42    $350       $430     $565       $474    $475     $456

                    7 or More Years
                                              51    $363       $450     $630       $511    $524     $497

Charlotte NC        Fewer Than 3 Years
                                              12    $293       $295     $335       $344    $368     $315

                    3 to Fewer Than 7 Years
                                              16    $337       $360     $406       $381    $363     $343

                    7 or More Years
                                              21    $365       $405     $570       $500    $480     $432

Chicago IL          Fewer Than 3 Years
                                              22    $302       $464     $526       $426    $397     $514

                    3 to Fewer Than 7 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
                    Fewer Than 3 Years              Quartile            Quartile
Chicago IL          3 to Fewer Than 7 Years
                                              76     $364       $537     $730       $552    $554     $522

                    7 or More Years
                                              106    $401       $576     $759       $594    $587     $571

Cleveland OH        Fewer Than 3 Years
                                              18     $250       $285     $360       $309    $309

                    3 to Fewer Than 7 Years
                                              47     $260       $295     $415       $336    $331     $282

                    7 or More Years
                                              48     $264       $295     $375       $350    $333     $326

Dallas TX           3 to Fewer Than 7 Years
                                              23     $335       $395     $615       $506    $499     $546

                    7 or More Years
                                              31     $320       $436     $647       $517    $520     $514

Denver CO           3 to Fewer Than 7 Years
                                              16     $310       $356     $399       $356    $347     $298

                    7 or More Years
                                              29     $285       $380     $453       $393    $346     $337

Detroit MI          7 or More Years
                                              12     $243       $250     $350       $293    $293     $295

Hartford CT         7 or More Years
                                              11     $293       $338     $379       $336    $292     $308

Houston TX          3 to Fewer Than 7 Years
                                              20     $420       $517     $580       $497    $497     $494

                    7 or More Years
                                              27     $316       $419     $615       $488    $521     $471

Indianapolis IN     7 or More Years
                                              11     $260       $288     $350       $300    $267     $259

Kansas City MO      3 to Fewer Than 7 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
Indianapolis IN     7 or More Years                 Quartile            Quartile
Kansas City MO      3 to Fewer Than 7 Years
                                              15     $270       $325     $360       $318    $295     $283

                    7 or More Years
                                              28     $292       $334     $391       $333    $312     $302

Los Angeles CA      Fewer Than 3 Years
                                              63     $429       $595     $654       $556    $524     $488

                    3 to Fewer Than 7 Years
                                              144    $486       $688     $838       $662    $626     $530

                    7 or More Years
                                              171    $351       $550     $840       $600    $634     $586

Miami FL            3 to Fewer Than 7 Years
                                              19     $300       $360     $457       $380    $331     $313

                    7 or More Years
                                              36     $295       $450     $595       $460    $433     $385

Minneapolis MN      Fewer Than 3 Years
                                              11     $374       $405     $446       $408             $230

                    3 to Fewer Than 7 Years
                                              27     $340       $451     $510       $421    $358     $356

                    7 or More Years
                                              27     $423       $468     $585       $478    $438     $392

Nashville TN        7 or More Years
                                              12     $219       $245     $345       $282    $266     $262

New Orleans LA      3 to Fewer Than 7 Years
                                              12     $232       $243     $265       $261    $242     $245

                    7 or More Years
                                              18     $243       $312     $343       $306    $318     $294

New York NY         Fewer Than 3 Years
                                              142    $443       $622     $775       $629    $600     $652

                    3 to Fewer Than 7 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
                    Fewer Than 3 Years              Quartile            Quartile
New York NY         3 to Fewer Than 7 Years
                                              260    $425       $668     $995       $724    $684     $622

                    7 or More Years
                                              453    $439       $713    $1,015      $740    $727     $703

Orlando FL          7 or More Years
                                              12     $266       $335     $390       $323    $324     $311

Philadelphia PA     Fewer Than 3 Years
                                              42     $350       $420     $429       $396    $401     $375

                    3 to Fewer Than 7 Years
                                              114    $366       $438     $500       $442    $400     $373

                    7 or More Years
                                              152    $390       $509     $565       $491    $437     $430

Phoenix AZ          7 or More Years
                                              13     $227       $265     $396       $317    $278     $246

Pittsburgh PA       Fewer Than 3 Years
                                              12     $323       $420     $475       $400    $379

                    3 to Fewer Than 7 Years
                                              42     $270       $407     $523       $407    $376     $340

                    7 or More Years
                                              28     $340       $425     $535       $434    $402     $370

Portland OR         3 to Fewer Than 7 Years
                                              42     $348       $390     $428       $390    $340     $303

                    7 or More Years
                                              52     $420       $490     $537       $473    $408     $395

San Diego CA        3 to Fewer Than 7 Years
                                              17     $268       $325     $380       $347    $398     $347

                    7 or More Years
                                              27     $311       $380     $421       $431    $465     $389

San Francisco CA    Fewer Than 3 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
San Diego CA        7 or More Years                 Quartile            Quartile
San Francisco CA    Fewer Than 3 Years
                                              18     $486       $510     $597       $537    $455     $497

                    3 to Fewer Than 7 Years
                                              33     $334       $509     $702       $546    $528     $465

                    7 or More Years
                                              59     $328       $465     $717       $545    $536     $504

San Jose CA         7 or More Years
                                              14     $406       $497     $605       $596    $706     $630

Seattle WA          3 to Fewer Than 7 Years
                                              31     $290       $321     $339       $329    $304     $285

                    7 or More Years
                                              41     $348       $429     $473       $427    $400     $377

St. Louis MO        7 or More Years
                                              13     $200       $225     $275       $260    $262     $259

Washington DC       Fewer Than 3 Years
                                              73     $400       $506     $610       $509    $425     $532

                    3 to Fewer Than 7 Years
                                              183    $455       $580     $698       $599    $535     $495

                    7 or More Years
                                              206    $547       $695     $870       $731    $683     $634




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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
                                                 Quartile            Quartile
Albany NY            21 or More Years
                                           14     $305       $305     $325       $341     $377    $376

Atlanta GA           Fewer Than 21 Years
                                           83     $440       $579     $780       $616     $558    $565

                     21 or More Years
                                           124    $473       $625     $895       $680     $624    $602

Austin TX            Fewer Than 21 Years
                                           22     $423       $495     $772       $620     $585    $543

                     21 or More Years
                                           39     $450       $550     $858       $624     $568    $532

Baltimore MD         Fewer Than 21 Years
                                           31     $373       $509     $762       $583     $547    $531

                     21 or More Years
                                           72     $509       $625     $710       $642     $669    $618

Birmingham AL        Fewer Than 21 Years
                                           36     $310       $353     $409       $362     $364    $359

                     21 or More Years
                                           32     $375       $480     $553       $470     $455    $439

Boston MA            Fewer Than 21 Years
                                           74     $475       $650     $868       $686     $708    $644

                     21 or More Years
                                           131    $415       $719     $909       $735     $724    $654

Bridgeport CT        21 or More Years
                                           19     $375       $537     $600       $499     $487    $441

Buffalo NY           Fewer Than 21 Years
                                           20     $329       $343     $352       $331     $326    $333

                     21 or More Years
                                           15     $319       $340     $380       $358     $352    $356

Charleston WV        21 or More Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
Buffalo NY           21 or More Years            Quartile            Quartile
Charleston WV        21 or More Years
                                           24     $268       $300     $325       $301     $302    $307

Charlotte NC         Fewer Than 21 Years
                                           43     $507       $596     $679       $626     $596    $553

                     21 or More Years
                                           42     $575       $701     $930       $774     $775    $710

Chicago IL           Fewer Than 21 Years
                                           183    $532       $768    $1,057      $812     $783    $772

                     21 or More Years
                                           335    $575       $810    $1,168      $889     $879    $850

Cincinnati OH        Fewer Than 21 Years
                                           18     $403       $485     $538       $479     $404    $425

                     21 or More Years
                                           29     $425       $490     $575       $498     $492    $472

Cleveland OH         Fewer Than 21 Years
                                           68     $393       $435     $550       $501     $478    $460

                     21 or More Years
                                           116    $456       $527     $740       $613     $580    $573

Columbia SC          21 or More Years
                                           18     $388       $446     $550       $463     $423    $399

Columbus OH          21 or More Years
                                           26     $418       $495     $627       $520     $494    $470

Dallas TX            Fewer Than 21 Years
                                           53     $401       $525     $643       $569     $550    $542

                     21 or More Years
                                           72     $525       $683     $993       $757     $830    $769

Denver CO            Fewer Than 21 Years
                                           47     $426       $490     $543       $499     $494    $460

                     21 or More Years



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Section I: High-Level Data Cuts                                        Cities
Cities By Years of Experience                                          By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                      Trend Analysis - Mean
                                                 First               Third
City                 Years of Experience   n               Median               2022    2021     2020
                     Fewer Than 21 Years        Quartile            Quartile
Denver CO            21 or More Years
                                           75    $452       $582     $700       $607     $583    $541

Detroit MI           Fewer Than 21 Years
                                           18    $250       $378     $440       $360     $377    $337

                     21 or More Years
                                           47    $297       $340     $455       $369     $390    $360

Greenville SC        Fewer Than 21 Years
                                           11    $358       $375     $385       $373     $354    $378

                     21 or More Years
                                           18    $389       $441     $531       $458     $462    $452

Hartford CT          Fewer Than 21 Years
                                           16    $360       $475     $519       $452     $397    $425

                     21 or More Years
                                           27    $385       $525     $730       $565     $555    $536

Honolulu HI          21 or More Years
                                           15    $287       $300     $361       $333     $375    $369

Houston TX           Fewer Than 21 Years
                                           51    $475       $715     $915       $745     $691    $734

                     21 or More Years
                                           59    $501       $854    $1,060      $850     $794    $785

Indianapolis IN      Fewer Than 21 Years
                                           22    $270       $405     $450       $384     $383    $399

                     21 or More Years
                                           37    $346       $448     $649       $477     $470    $452

Jackson MS           Fewer Than 21 Years
                                           15    $296       $333     $382       $338     $355    $329

                     21 or More Years
                                           22    $295       $360     $485       $401     $399    $370

Kansas City MO       Fewer Than 21 Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
Jackson MS           21 or More Years            Quartile            Quartile
Kansas City MO       Fewer Than 21 Years
                                           46     $400       $450     $537       $473     $411    $397

                     21 or More Years
                                           68     $440       $553     $658       $539     $497    $491

Las Vegas NV         Fewer Than 21 Years
                                           12     $284       $381     $495       $389     $349    $343

                     21 or More Years
                                           13     $350       $425     $515       $468     $456    $472

Los Angeles CA       Fewer Than 21 Years
                                           183    $533       $801    $1,075      $804     $797    $682

                     21 or More Years
                                           333    $550       $765    $1,133      $863     $842    $808

Memphis TN           Fewer Than 21 Years
                                           14     $288       $331     $380       $345     $317    $328

                     21 or More Years
                                           15     $355       $415     $425       $394     $382    $375

Miami FL             Fewer Than 21 Years
                                           57     $370       $450     $598       $490     $498    $443

                     21 or More Years
                                           104    $388       $581     $749       $584     $580    $536

Milwaukee WI         21 or More Years
                                           16     $302       $454     $613       $589     $515    $530

Minneapolis MN       Fewer Than 21 Years
                                           36     $470       $530     $607       $532     $486    $499

                     21 or More Years
                                           84     $507       $675     $796       $656     $620    $589

Nashville TN         Fewer Than 21 Years
                                           28     $375       $405     $535       $449     $405    $397

                     21 or More Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                        Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022     2021     2020
                     Fewer Than 21 Years         Quartile            Quartile
Nashville TN         21 or More Years
                                           44     $425       $475     $553       $498      $489    $469

New Orleans LA       Fewer Than 21 Years
                                           22     $313       $329     $347       $341      $322    $346

                     21 or More Years
                                           39     $309       $360     $438       $407      $365    $382

New York NY          Fewer Than 21 Years
                                           420    $641      $1,021   $1,460      $1,058   $1,028   $979

                     21 or More Years
                                           919    $637      $1,070   $1,560      $1,091   $1,060   $995

Oklahoma City OK     21 or More Years
                                           15     $220       $343     $390       $326      $328    $313

Omaha NE             Fewer Than 21 Years
                                           12     $255       $273     $345       $293      $295    $307

                     21 or More Years
                                           19     $341       $390     $420       $379      $383    $363

Orlando FL           Fewer Than 21 Years
                                           15     $396       $404     $453       $432      $502    $450

                     21 or More Years
                                           25     $411       $470     $475       $438      $453    $428

Philadelphia PA      Fewer Than 21 Years
                                           163    $453       $600     $739       $618      $599    $561

                     21 or More Years
                                           287    $525       $715     $900       $738      $708    $697

Phoenix AZ           Fewer Than 21 Years
                                           22     $302       $426     $467       $412      $381    $378

                     21 or More Years
                                           60     $375       $468     $584       $499      $481    $425

Pittsburgh PA        Fewer Than 21 Years



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Section I: High-Level Data Cuts                                        Cities
Cities By Years of Experience                                          By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                      Trend Analysis - Mean
                                                 First               Third
City                 Years of Experience   n               Median               2022    2021     2020
Phoenix AZ           21 or More Years           Quartile            Quartile
Pittsburgh PA        Fewer Than 21 Years
                                           41    $420       $605     $754       $598     $572    $490

                     21 or More Years
                                           76    $428       $564     $756       $603     $611    $565

Portland ME          Fewer Than 21 Years
                                           12    $308       $340     $416       $347     $351    $347

                     21 or More Years
                                           19    $218       $385     $450       $358     $385    $346

Portland OR          Fewer Than 21 Years
                                           33    $400       $465     $639       $522     $471    $418

                     21 or More Years
                                           35    $450       $502     $653       $533     $516    $485

Raleigh NC           Fewer Than 21 Years
                                           15    $281       $366     $467       $393     $414    $430

                     21 or More Years
                                           24    $275       $425     $595       $454     $487    $468

Richmond VA          Fewer Than 21 Years
                                           25    $585       $723     $775       $682     $652    $626

                     21 or More Years
                                           30    $425       $680     $976       $713     $629    $625

Salt Lake City UT    Fewer Than 21 Years
                                           19    $293       $368     $430       $364     $334    $349

                     21 or More Years
                                           24    $314       $425     $515       $424     $392    $375

San Diego CA         Fewer Than 21 Years
                                           23    $380       $425     $680       $563     $608    $531

                     21 or More Years
                                           58    $447       $707    $1,212      $822     $739    $654

San Francisco CA     Fewer Than 21 Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                        Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022     2021     2020
San Diego CA         21 or More Years            Quartile            Quartile
San Francisco CA     Fewer Than 21 Years
                                           89     $481       $750     $987       $768      $715    $692

                     21 or More Years
                                           149    $523       $755     $994       $784      $768    $764

San Jose CA          Fewer Than 21 Years
                                           13     $661       $945    $1,382      $1,016    $970    $851

                     21 or More Years
                                           51     $665       $864    $1,251      $963      $982    $910

Seattle WA           Fewer Than 21 Years
                                           63     $400       $500     $668       $542      $476    $448

                     21 or More Years
                                           81     $495       $600     $760       $625      $575    $564

St. Louis MO         Fewer Than 21 Years
                                           30     $363       $402     $461       $416      $431    $427

                     21 or More Years
                                           55     $300       $429     $544       $441      $431    $455

Tampa FL             Fewer Than 21 Years
                                           22     $312       $372     $510       $409      $402    $376

                     21 or More Years
                                           37     $375       $498     $570       $495      $514    $486

Trenton NJ           21 or More Years
                                           15     $419       $553     $700       $573      $642    $617

Washington DC        Fewer Than 21 Years
                                           364    $650       $856     $980       $850      $818    $780

                     21 or More Years
                                           673    $675       $890    $1,096      $920      $899    $870

Wheeling WV          Fewer Than 21 Years
                                           12     $737       $762     $774       $723      $720    $528




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Section I: High-Level Data Cuts                                      Cities
Cities                                                               By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                2022        2021      2020
                                         Quartile            Quartile
Albany NY              Partner
                                   19     $288       $305     $325        $325        $353      $359

                       Associate
                                   19     $230       $240     $250        $250        $236      $236

Atlanta GA             Partner
                                   294    $450       $616     $842        $659        $615      $605

                       Associate
                                   297    $325       $414     $579        $459        $426      $404

Austin TX              Partner
                                   90     $420       $495     $709        $572        $548      $527

                       Associate
                                   65     $317       $406     $630        $465        $407      $411

Baltimore MD           Partner
                                   140    $395       $600     $774        $621        $631      $612

                       Associate
                                   140    $303       $412     $582        $462        $476      $451

Baton Rouge LA         Partner
                                   13     $295       $335     $436        $372        $365      $367

Birmingham AL          Partner
                                   87     $325       $393     $480        $405        $396      $389

                       Associate
                                   82     $264       $300     $325        $298        $295      $301

Boise City ID          Partner
                                   13     $242       $295     $311        $310        $319      $295

Boston MA              Partner
                                   257    $450       $695     $903        $725        $713      $663

                       Associate
                                   258    $357       $500     $661        $534        $523      $476

Bridgeport CT          Partner



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                 2022        2021      2020
Boston MA              Associate         Quartile            Quartile
Bridgeport CT          Partner
                                   29     $375       $515     $589         $491        $479      $432

                       Associate
                                   14     $246       $295     $350         $302        $270      $265

Buffalo NY             Partner
                                   41     $325       $341     $360         $344        $336      $343

                       Associate
                                   27     $211       $250     $265         $245        $238      $246

Burlington VT          Partner
                                   13     $210       $265     $300         $279        $258      $268

Charleston SC          Partner
                                   13     $283       $300     $442         $352        $358      $340

Charleston WV          Partner
                                   34     $250       $300     $325         $295        $291      $300

Charlotte NC           Partner
                                   103    $549       $639     $772         $693        $668      $639

                       Associate
                                   105    $320       $365     $472         $432        $435      $403

Chicago IL             Partner
                                   762    $600       $829    $1,135        $877        $865      $820

                       Associate
                                   664    $400       $540     $722         $568        $584      $546

Cincinnati OH          Partner
                                   58     $395       $474     $564         $475        $463      $451

                       Associate
                                   72     $260       $305     $350         $309        $296      $276

Cleveland OH           Partner
                                   212    $397       $500     $638         $559        $536      $531

                       Associate



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Section I: High-Level Data Cuts                                      Cities
Cities                                                               By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                2022        2021      2020
                       Partner           Quartile            Quartile
Cleveland OH           Associate
                                   184    $255       $295     $380        $330        $322      $303

Columbia SC            Partner
                                   41     $350       $410     $510        $426        $401      $383

                       Associate
                                   32     $250       $315     $345        $305        $273      $256

Columbus OH            Partner
                                   49     $400       $471     $590        $493        $492      $486

                       Associate
                                   33     $255       $290     $350        $310        $297      $276

Dallas TX              Partner
                                   196    $420       $565     $918        $667        $676      $658

                       Associate
                                   186    $303       $493     $690        $512        $497      $494

Dayton OH              Partner
                                   15     $353       $385     $423        $396        $403      $414

Denver CO              Partner
                                   146    $445       $521     $626        $558        $535      $496

                       Associate
                                   112    $285       $356     $425        $370        $344      $324

Detroit MI             Partner
                                   83     $297       $350     $443        $367        $383      $366

                       Associate
                                   49     $215       $253     $301        $266        $271      $266

Greenville SC          Partner
                                   38     $375       $420     $488        $428        $428      $425

                       Associate
                                   19     $265       $295     $346        $311        $314      $312

Hartford CT            Partner



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                 2022        2021      2020
Greenville SC          Associate         Quartile            Quartile
Hartford CT            Partner
                                   47     $356       $506     $599         $518        $500      $497

                       Associate
                                   33     $274       $319     $350         $316        $300      $301

Honolulu HI            Partner
                                   23     $275       $300     $360         $324        $354      $350

                       Associate
                                   15     $189       $200     $206         $205        $205      $198

Houston TX             Partner
                                   153    $440       $750    $1,025        $783        $736      $732

                       Associate
                                   188    $315       $425     $610         $473        $444      $416

Indianapolis IN        Partner
                                   71     $328       $421     $523         $436        $433      $436

                       Associate
                                   41     $250       $271     $342         $296        $272      $268

Jackson MS             Partner
                                   83     $300       $323     $404         $358        $382      $370

                       Associate
                                   69         $55    $225     $250         $171        $174      $187

Jacksonville FL        Partner
                                   22     $280       $300     $483         $372        $456      $387

Kansas City MO         Partner
                                   159    $411       $470     $575         $499        $472      $457

                       Associate
                                   114    $250       $325     $385         $321        $314      $294

Las Vegas NV           Partner
                                   31     $300       $406     $511         $425        $435      $426

                       Associate



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Section I: High-Level Data Cuts                                        Cities
Cities                                                                 By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                   Role         n                Median                 2022        2021      2020
                       Partner            Quartile            Quartile
Las Vegas NV           Associate
                                    15     $250       $308     $361         $314        $313      $283

Little Rock AR         Partner
                                    16     $215       $250     $311         $271        $260      $287

                       Associate
                                    17     $150       $150     $185         $173        $171      $188

Los Angeles CA         Partner
                                   743     $550       $825    $1,140        $863        $844      $796

                       Associate
                                   1007    $429       $610     $847         $649        $676      $618

Louisville KY          Partner
                                    22     $265       $325     $360         $326        $343      $339

                       Associate
                                    20     $196       $248     $271         $240        $232      $232

Madison WI             Partner
                                    11     $378       $425     $535         $447        $426      $437

Memphis TN             Partner
                                    30     $290       $359     $425         $365        $349      $354

Miami FL               Partner
                                   214     $364       $528     $688         $542        $535      $504

                       Associate
                                   156     $271       $387     $476         $393        $379      $372

Milwaukee WI           Partner
                                    36     $290       $375     $464         $448        $449      $448

                       Associate
                                    23     $265       $290     $361         $312        $310      $300

Minneapolis MN         Partner
                                   168     $454       $626     $728         $611        $576      $543

                       Associate



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Section I: High-Level Data Cuts                                        Cities
Cities                                                                 By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                           First               Third
City                   Role         n                Median                 2022        2021       2020
                       Partner            Quartile            Quartile
Minneapolis MN         Associate
                                   135     $344       $435     $526         $433        $398       $371

Nashville TN           Partner
                                   101     $380       $470     $558         $478        $462       $454

                       Associate
                                    69     $250       $323     $380         $327        $299       $273

New Haven CT           Partner
                                    11     $308       $438     $533         $431        $428       $449

New Orleans LA         Partner
                                    75     $295       $334     $412         $373        $351       $362

                       Associate
                                    59     $237       $250     $337         $277        $293       $270

New York NY            Partner
                                   1791    $625      $1,050   $1,538       $1,076       $1,043     $990

                       Associate
                                   2292    $460       $713     $980         $731        $707       $664

Oklahoma City OK       Partner
                                    23     $220       $313     $365         $311        $309       $299

                       Associate
                                    12     $200       $219     $268         $242        $208       $208

Omaha NE               Partner
                                    40     $297       $355     $411         $349        $352       $344

                       Associate
                                    13     $192       $215     $270         $240        $237       $233

Orlando FL             Partner
                                    61     $400       $460     $475         $455        $477       $454

                       Associate
                                    44     $249       $293     $390         $318        $312       $290

Philadelphia PA        Partner



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Section I: High-Level Data Cuts                                      Cities
Cities                                                               By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                2022        2021      2020
Orlando FL             Associate         Quartile            Quartile
Philadelphia PA        Partner
                                   605    $509       $695     $884        $716        $686      $670

                       Associate
                                   583    $369       $433     $530        $465        $429      $409

Phoenix AZ             Partner
                                   105    $330       $427     $561        $466        $435      $400

                       Associate
                                   60     $225       $280     $342        $299        $273      $249

Pittsburgh PA          Partner
                                   167    $435       $605     $804        $619        $623      $567

                       Associate
                                   165    $320       $415     $520        $423        $397      $373

Portland ME            Partner
                                   43     $250       $385     $450        $398        $409      $386

                       Associate
                                   22     $180       $200     $250        $219        $252      $244

Portland OR            Partner
                                   73     $400       $498     $640        $517        $489      $457

                       Associate
                                   109    $362       $423     $503        $430        $383      $357

Raleigh NC             Partner
                                   47     $275       $395     $539        $431        $453      $437

                       Associate
                                   24     $213       $275     $303        $272        $329      $342

Richmond VA            Partner
                                   81     $490       $695     $810        $686        $639      $634

                       Associate
                                   78     $355       $450     $557        $474        $447      $420

Rochester NY           Partner



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                 2022        2021      2020
Richmond VA            Associate         Quartile            Quartile
Rochester NY           Partner
                                   14     $261       $360     $425         $369        $325      $389

                       Associate
                                   18     $221       $278     $365         $298        $267      $274

Sacramento CA          Partner
                                   17     $375       $430     $659         $503        $478      $436

                       Associate
                                   13     $263       $350     $375         $320        $341      $333

Salt Lake City UT      Partner
                                   53     $290       $370     $449         $384        $355      $361

                       Associate
                                   24     $220       $240     $270         $252        $244      $227

San Antonio TX         Partner
                                   12     $406       $440     $450         $436        $499      $422

San Diego CA           Partner
                                   107    $316       $457     $996         $643        $637      $569

                       Associate
                                   90     $225       $300     $380         $340        $342      $306

San Francisco CA       Partner
                                   320    $440       $718     $979         $751        $732      $721

                       Associate
                                   239    $334       $458     $706         $537        $544      $494

San Jose CA            Partner
                                   72     $658       $878    $1,209        $949        $956      $880

                       Associate
                                   61     $401       $505     $749         $613        $621      $544

Seattle WA             Partner
                                   194    $443       $548     $760         $592        $554      $535

                       Associate



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Section I: High-Level Data Cuts                                        Cities
Cities                                                                 By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                   Role         n                Median                 2022        2021      2020
                       Partner            Quartile            Quartile
Seattle WA             Associate
                                   158     $322       $405     $530         $431        $422      $384

St. Louis MO           Partner
                                    92     $337       $396     $485         $421        $419      $440

                       Associate
                                    22     $200       $250     $280         $251        $253      $251

Tallahassee FL         Partner
                                    11     $345       $515     $678         $531        $486      $487

Tampa FL               Partner
                                    69     $345       $411     $560         $462        $475      $453

                       Associate
                                    27     $250       $290     $325         $302        $304      $298

Trenton NJ             Partner
                                    28     $412       $543     $685         $555        $599      $572

                       Associate
                                    15     $393       $495     $530         $445        $383      $372

Washington DC          Partner
                                   1316    $665       $888    $1,080        $905        $881      $850

                       Associate
                                   1177    $469       $630     $730         $631        $604      $566

Wheeling WV            Partner
                                    37     $771       $837     $917         $835        $770      $778

                       Associate
                                   101     $392       $518     $654         $514        $487      $519




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Section    I: High-Level
Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                              Trend Analysis - Mean
                                                            First           Third
Practice Area              Matter Type Role           n             Median             2022      2021     2020
                                                           Quartile        Quartile
Bankruptcy and             Litigation    Partner
Collections                                          231    $325    $425       $604    $495      $489     $468

                                         Associate
                                                     156    $255    $310       $395    $352      $366     $362

                                         Paralegal
                                                     105    $160    $200       $255    $212      $196     $198

                           Non-Litigation Partner
                                                     223    $340    $410       $548    $484      $525     $567

                                         Associate
                                                     122    $254    $345       $420    $374      $448     $457

                                         Paralegal
                                                     99     $140    $194       $235    $200      $195     $216

Commercial                 Litigation    Partner
                                                     845    $450    $649       $949    $740      $686     $657

                                         Associate
                                                     798    $328    $444       $650    $520      $484     $447

                                         Paralegal
                                                     387    $186    $265       $345    $274      $259     $251

                           Non-Litigation Partner
                                                     508    $513    $690       $973    $776      $780     $786

                                         Associate
                                                     349    $353    $464       $629    $534      $550     $555

                                         Paralegal
                                                     110    $200    $272       $356    $284      $274     $282

Corporate: Antitrust and   Litigation    Partner
Competition                                          24     $887    $1,068    $1,321   $1,060    $926     $795

                                         Paralegal




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Section    I: High-Level
Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                     Trend Analysis - Mean
                                                            First           Third
Practice Area              Matter Type Role           n             Median             2022      2021     2020
                                       Partner             Quartile        Quartile
Corporate: Antitrust and   Litigation  Paralegal
Competition                                          35     $311    $360       $419    $370      $317     $279

                           Non-Litigation Partner
                                                     43     $888    $1,208    $1,444   $1,182    $1,082   $1,050

                                         Associate
                                                     62     $583    $703       $912    $713      $665     $651

Corporate: Governance      Non-Litigation Partner
                                                     144    $858    $1,062    $1,462   $1,128    $1,075   $1,066

                                         Associate
                                                     133    $538    $710       $883    $719      $690     $667

                                         Paralegal
                                                     40     $277    $325       $375    $310      $307     $281

Corporate: Information     Non-Litigation Partner
and Technology                                       31     $551    $755       $965    $818      $768     $771

                                         Associate
                                                     29     $360    $462       $578    $496      $452     $502

Corporate: Mergers,        Non-Litigation Partner
Acquisitions and                                     364    $651    $923      $1,379   $1,029    $931     $948
Divestitures
                                         Associate
                                                     430    $486    $695       $955    $736      $630     $619

                                         Paralegal
                                                     118    $302    $390       $468    $379      $331     $303

Corporate: Other           Litigation    Partner
                                                     883    $520    $725       $950    $774      $757     $715

                                         Associate
                                                     743    $375    $520       $687    $540      $517     $487

                                         Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                             Detailed Practice Area
By Matter Type                                                                 By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                                Trend Analysis - Mean
                                                              First           Third
Practice Area              Matter Type Role           n               Median             2022      2021     2020
                                       Associate             Quartile        Quartile
Corporate: Other           Litigation  Paralegal
                                                     324      $190    $265       $336    $261      $263     $241

                           Non-Litigation Partner
                                                     1,641    $539    $875      $1,212   $916      $854     $832

                                         Associate
                                                     1,450    $430    $622       $800    $649      $612     $585

                                         Paralegal
                                                     501      $200    $300       $410    $307      $283     $260

Corporate: Partnerships    Non-Litigation Partner
and Joint Ventures                                    68      $986    $1,424    $1,740   $1,277    $1,207   $1,175

                                         Associate
                                                      95      $734    $977      $1,180   $943      $895     $778

Corporate: Regulatory and Litigation     Partner
Compliance                                           233      $650    $835      $1,017   $869      $860     $814

                                         Associate
                                                     219      $430    $541       $723    $580      $588     $558

                                         Paralegal
                                                      88      $214    $275       $353    $292      $281     $270

                           Non-Litigation Partner
                                                     794      $535    $726       $965    $785      $755     $745

                                         Associate
                                                     696      $400    $533       $695    $567      $534     $518

                                         Paralegal
                                                     174      $184    $221       $300    $246      $241     $242

Corporate: Tax             Litigation    Paralegal
                                                      14      $153    $175       $190    $192      $187     $160

                           Non-Litigation Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                        Detailed Practice Area
By Matter Type                                                            By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                           Trend Analysis - Mean
                                                           First           Third
Practice Area            Matter Type Role            n             Median            2022    2021     2020
                         Litigation     Paralegal         Quartile        Quartile
Corporate: Tax           Non-Litigation Partner
                                                    266    $641    $905    $1,165    $943    $939     $914

                                        Associate
                                                    190    $499    $659     $877     $699    $660     $607

                                        Paralegal
                                                    44     $210    $277     $362     $292    $302     $310

Corporate: Treasury      Non-Litigation Partner
                                                    35     $800    $935    $1,019    $968    $900     $997

                                        Associate
                                                    33     $399    $502     $698     $590    $515     $487

Employment and Labor:    Litigation     Partner
ADA                                                 11     $446    $502     $634     $532    $513     $486

                                        Associate
                                                    21     $340    $372     $415     $380    $361     $347

Employment and Labor:    Litigation     Partner
Agreements                                          34     $436    $711     $874     $721    $677     $680

                                        Associate
                                                    18     $347    $475     $654     $507    $497     $530

                         Non-Litigation Associate
                                                    41     $266    $350     $420     $359    $352     $383

                                        Paralegal
                                                    15     $158    $180     $186     $179    $192     $186

Employment and Labor:    Litigation     Partner
Compensation and                                    26     $427    $554     $667     $612    $605     $606
Benefits
                                        Associate
                                                    15     $292    $385     $547     $453    $427     $422

                         Non-Litigation Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                         Detailed Practice Area
By Matter Type                                                             By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                            Trend Analysis - Mean

Employment                                                  First           Third
Practice Areaand Labor:   Matter Type Role            n             Median            2022    2021     2020
ERISA                     Non-Litigation Associate         Quartile        Quartile
Employment and Labor:     Non-Litigation Partner
Immigration                                          50     $496    $617     $748     $638    $601     $582

                                        Associate
                                                     45     $315    $455     $567     $462    $401     $382

                                        Paralegal
                                                     25     $153    $200     $218     $183    $179     $197

Employment and Labor:     Litigation    Partner
Other                                                277    $500    $685     $873     $710    $681     $619

                                        Associate
                                                     247    $334    $428     $575     $461    $470     $442

                                        Paralegal
                                                     83     $180    $234     $290     $229    $226     $217

                          Non-Litigation Partner
                                                     702    $425    $504     $690     $592    $569     $591

                                        Associate
                                                     483    $315    $375     $473     $417    $408     $408

                                        Paralegal
                                                     158    $150    $205     $277     $223    $237     $236

Employment and Labor:     Non-Litigation Partner
Union Relations and                                  111    $470    $525     $653     $591    $593     $550
Negotiations / NLRB
                                        Associate
                                                     56     $318    $350     $428     $376    $416     $395

Employment and Labor:    Litigation     Partner
Wages, Tips and Overtime                             44     $440    $490     $668     $551    $514     $505

                                        Associate
                                                     39     $310    $363     $485     $413    $383     $348

                                        Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                          Detailed Practice Area
By Matter Type                                                              By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                              Trend Analysis - Mean
                                                             First           Third
Practice Area              Matter Type Role            n             Median            2022      2021     2020
                                       Associate            Quartile        Quartile
Employment and Labor:      Litigation  Paralegal
Wages, Tips and Overtime                              14     $144    $193     $300     $222      $197     $174

                           Non-Litigation Associate
                                                      15     $294    $325     $350     $322      $340     $359

Employment and Labor:      Litigation    Partner
Wrongful Termination                                  20     $327    $603     $705     $553      $518     $555

                                         Paralegal
                                                      11     $120    $150     $240     $183      $216     $191

                           Non-Litigation Associate
                                                      21     $250    $285     $350     $299      $332     $330

Environmental              Litigation    Partner
                                                      63     $415    $530     $641     $575      $519     $522

                                         Associate
                                                      56     $340    $400     $558     $473      $381     $372

                                         Paralegal
                                                      11     $182    $200     $300     $239      $232     $237

                           Non-Litigation Partner
                                                      88     $450    $532     $751     $657      $627     $588

                                         Associate
                                                      46     $345    $444     $605     $484      $511     $435

Finance and Securities:    Non-Litigation Partner
Debt/Equity Offerings                                 108    $690    $973    $1,600    $1,105    $966     $972

                                         Associate
                                                      92     $442    $689    $1,140    $754      $614     $590

                                         Paralegal
                                                      36     $258    $366     $410     $349      $282     $287

Finance and Securities:    Litigation    Associate
Fiduciary Services


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Detailed Practice Area   Data Cuts                                            Detailed Practice Area
By Matter Type                                                                By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                      Trend Analysis - Mean

Finance                                                      First           Third
Practice and
         AreaSecurities:   Matter Type Role            n             Median             2022      2021     2020
Debt/Equity Offerings      Non-Litigation Paralegal         Quartile        Quartile
Finance and Securities:    Litigation     Associate
Fiduciary Services                                    22     $383    $472       $565    $471      $418     $384

                                         Paralegal
                                                      14     $197    $246       $295    $247      $234     $207

                           Non-Litigation Partner
                                                      44     $454    $540       $912    $694      $687     $675

                                         Associate
                                                      21     $290    $350       $390    $394      $410     $391

Finance and Securities:    Litigation    Partner
Investments and Other                                 30     $787    $962      $1,211   $941      $881     $1,002
Financial Instruments
                                         Associate
                                                      35     $541    $640       $769    $678      $559     $568

                                         Paralegal
                                                      28     $236    $253       $313    $280      $269     $256

                           Non-Litigation Partner
                                                      688    $737    $1,020    $1,354   $1,060    $1,091   $1,001

                                         Associate
                                                      753    $501    $690       $908    $725      $767     $700

                                         Paralegal
                                                      224    $218    $292       $388    $309      $325     $285

Finance and Securities:    Litigation    Partner
Loans and Financing                                   67     $415    $541       $711    $664      $633     $546

                                         Associate
                                                      71     $265    $315       $479    $411      $402     $367

                                         Paralegal
                                                      36     $170    $230       $250    $223      $225     $208

                           Non-Litigation Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                               Detailed Practice Area
By Matter Type                                                                   By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                         Trend Analysis - Mean
                                                                First           Third
Practice Area               Matter Type Role            n               Median             2022      2021     2020
                            Litigation     Paralegal           Quartile        Quartile
Finance and Securities:     Non-Litigation Partner
Loans and Financing                                    1,006    $575    $866      $1,327   $961      $959     $896

                                           Associate
                                                       968      $435    $640       $905    $685      $693     $629

                                           Paralegal
                                                       424      $207    $295       $399    $304      $316     $292

Finance and Securities:     Non-Litigation Partner
Other                                                   16      $672    $909      $1,513   $1,028    $999     $1,051

Finance and Securities:     Non-Litigation Partner
SEC Filings and Financial                               65      $761    $1,183    $1,691   $1,175    $1,200   $1,048
Reporting
                                           Associate
                                                        55      $667    $897      $1,179   $901      $805     $679

                                           Paralegal
                                                        21      $360    $475       $475    $427      $380     $333

Finance and Securities:     Non-Litigation Partner
Securities and Banking                                  41      $850    $1,229    $1,425   $1,124    $1,009   $1,036
Regulations
                                           Associate
                                                        15      $535    $680       $929    $689      $634     $619

General Liability:          Litigation     Partner
Asbestos/Mesothelioma                                   98      $225    $275       $321    $319      $330     $362

                                           Associate
                                                        60      $195    $250       $275    $253      $253     $256

                                           Paralegal
                                                        84      $100    $115       $127    $126      $128     $129

                            Non-Litigation Partner
                                                        37      $260    $325       $385    $441      $397     $338

                                           Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                            Detailed Practice Area
By Matter Type                                                                By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                      Trend Analysis - Mean
                                                        37     First
                                                               $260     $325   Third
                                                                               $385      $441    $397     $338
Practice Area                Matter Type Role           n              Median            2022    2021     2020
                                            Partner           Quartile        Quartile
General Liability:           Non-Litigation Paralegal
Asbestos/Mesothelioma                                   25     $100    $115     $146     $144    $140     $117

General Liability: Auto and Litigation      Partner
Transportation                                          21     $165    $315     $375     $305    $234     $262

                                            Paralegal
                                                        16     $90     $148     $210     $149    $117     $119

General Liability:           Litigation     Partner
Consumer Related Claims                                 61     $300    $536     $702     $543    $545     $468

                                            Associate
                                                        41     $323    $392     $455     $402    $424     $360

                                            Paralegal
                                                        23     $125    $140     $223     $181    $189     $161

General Liability: Crime,    Litigation     Partner
Dishonesty and Fraud                                    18     $506    $525     $599     $558    $544     $509

                                            Associate
                                                        11     $379    $463     $575     $468    $424     $355

                                            Paralegal
                                                        12     $200    $220     $250     $246    $248     $196

General Liability: Other     Litigation     Partner
                                                        122    $275    $691     $950     $687    $676     $606

General Liability: Personal Litigation      Partner
Injury/Wrongful Death                                   225    $195    $250     $415     $377    $350     $330

                                            Associate
                                                        161    $173    $200     $275     $273    $276     $246

                                            Paralegal
                                                        170    $90     $108     $135     $129    $130     $120

General Liability: Premises Litigation      Partner



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Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                     Trend Analysis - Mean

General                                                       First           Third
Practice Liability:
         Area       Personal Matter Type Role           n             Median            2022    2021     2020
Injury/Wrongful Death        Litigation  Paralegal           Quartile        Quartile
General Liability: Premises Litigation   Partner
                                                       56     $294    $404     $518     $436    $424     $387

                                           Associate
                                                       44     $233    $270     $325     $299    $283     $278

                                           Paralegal
                                                       30     $125    $156     $190     $162    $168     $159

General Liability: Product   Litigation    Partner
and Product Liability                                  246    $315    $400     $580     $457    $481     $463

                                           Associate
                                                       199    $243    $305     $407     $341    $336     $324

                                           Paralegal
                                                       198    $125    $135     $196     $167    $169     $163

General Liability: Property Litigation     Partner
Damage                                                 50     $371    $468     $600     $496    $493     $475

                                           Associate
                                                       44     $285    $314     $388     $342    $344     $335

                                           Paralegal
                                                       15     $128    $160     $193     $174    $180     $193

General Liability: Toxic     Litigation    Partner
Tort                                                   25     $285    $332     $553     $502    $420     $439

                                           Associate
                                                       23     $225    $225     $450     $359    $324     $348

                                           Paralegal
                                                       16     $100    $108     $158     $152    $162     $179

Government Relations         Non-Litigation Partner
                                                       53     $760    $891    $1,088    $951    $773     $818

                                           Associate



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                            Detailed Practice Area
By Matter Type                                                                By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                      Trend Analysis - Mean
                                                       53      First
                                                               $760     $891    Third
                                                                               $1,088    $951    $773     $818
Practice Area              Matter Type Role            n               Median            2022    2021     2020
                                          Partner             Quartile        Quartile
Government Relations       Non-Litigation Associate
                                                       68      $491    $646     $755     $601    $530     $579

Insurance Defense:         Litigation    Partner
Asbestos/Mesothelioma                                  24      $175    $175     $180     $186    $194     $209

Insurance Defense: Auto    Litigation    Partner
and Transportation                                    1,169    $165    $180     $205     $223    $219     $226

                                         Associate
                                                      889      $145    $162     $180     $165    $164     $158

                                         Paralegal
                                                      830      $85      $95     $100     $92      $91     $88

Insurance Defense:         Litigation    Partner
Consumer Related Claims                                53      $177    $225     $350     $312    $312     $397

Insurance Defense:         Litigation    Partner
Insurer Work Comp                                     262      $155    $165     $185     $182    $192     $200

                                         Associate
                                                      204      $145    $154     $160     $154    $153     $154

                                         Paralegal
                                                      207      $80      $95     $103     $97      $95     $93

Insurance Defense:         Litigation    Paralegal
Marine                                                 11      $73      $75     $100     $88      $83     $90

Insurance Defense: Other Litigation      Partner
                                                      1,696    $175    $198     $245     $241    $243     $230

                                         Associate
                                                      1,080    $160    $175     $200     $187    $185     $183

                                         Paralegal
                                                      891      $90      $95     $105     $100     $97     $96

Insurance Defense:       Litigation      Partner
Personal Injury/Wrongful
Death

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Section    I: High-Level
Detailed Practice Area   Data Cuts                                        Detailed Practice Area
By Matter Type                                                            By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                  Trend Analysis - Mean
                                                           First           Third
Practice Area            Matter Type Role            n             Median            2022    2021     2020
Insurance Defense: Other Litigation  Paralegal            Quartile        Quartile
Insurance Defense:       Litigation  Partner
Personal Injury/Wrongful                            198    $160    $180     $200     $191    $186     $189
Death
                                        Associate
                                                    157    $145    $159     $175     $163    $161     $158

                                        Paralegal
                                                    97     $80      $85     $90      $84      $82     $82

Insurance Defense:         Litigation   Partner
Pollution                                           120    $190    $220     $250     $255    $242     $233

                                        Associate
                                                    53     $180    $195     $215     $212    $209     $205

                                        Paralegal
                                                    45     $90      $95     $100     $104     $98     $103

Insurance Defense:         Litigation   Partner
Premises                                            756    $170    $185     $225     $216    $221     $220

Insurance Defense:         Litigation   Partner
Product and Product                                 106    $178    $183     $200     $203    $193     $196
Liability
                                        Associate
                                                    71     $155    $170     $185     $189    $172     $172

                                        Paralegal
                                                    47     $85      $95     $100     $96      $92     $95

Insurance Defense:         Litigation   Partner
Professional Liability                              111    $185    $215     $292     $264    $256     $243

                                        Associate
                                                    55     $173    $190     $293     $223    $226     $205

                                        Paralegal
                                                    43     $80      $95     $110     $110    $103     $103

Insurance Defense:         Litigation   Partner
Property Damage


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Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                     Trend Analysis - Mean

Insurance  Defense:                                         First           Third
Practice Area              Matter Type Role           n             Median             2022      2021     2020
Professional Liability     Litigation  Paralegal           Quartile        Quartile
Insurance Defense:         Litigation  Partner
Property Damage                                      606    $175    $210       $250    $228      $227     $226

                                         Associate
                                                     495    $160    $182       $220    $194      $189     $184

                                         Paralegal
                                                     323    $85      $95       $110     $98       $94     $95

Insurance Policies and    Litigation     Partner
Coverage: Policy Coverage                            11     $304    $335       $525    $479      $495     $575
Dispute
Intellectual Property:     Non-Litigation Partner
Licensing                                            23     $893    $1,026    $1,272   $1,083    $1,111   $990

Intellectual Property:     Non-Litigation Partner
Other                                                65     $410    $600       $837    $656      $635     $624

                                         Associate
                                                     41     $365    $425       $600    $480      $429     $397

                                         Paralegal
                                                     22     $186    $219       $290    $235      $218     $215

Intellectual Property:     Litigation    Partner
Patents                                              258    $631    $875      $1,049   $865      $801     $771

                                         Associate
                                                     252    $495    $690       $818    $665      $594     $553

                                         Paralegal
                                                     147    $245    $305       $350    $304      $277     $265

                           Non-Litigation Partner
                                                     276    $385    $523       $782    $616      $575     $552

                                         Associate
                                                     295    $271    $379       $614    $459      $422     $404

                                         Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                             Detailed Practice Area
By Matter Type                                                                 By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                                Trend Analysis - Mean
                                                              First           Third
Practice Area               Matter Type Role            n             Median             2022      2021     2020
                                           Associate         Quartile        Quartile
Intellectual Property:      Non-Litigation Paralegal
Patents                                                123    $213    $254       $306    $262      $228     $219

Intellectual Property:      Litigation    Partner
Trademarks                                             19     $612    $763       $965    $782      $673     $610

                                          Associate
                                                       16     $451    $589       $719    $584      $488     $453

                            Non-Litigation Partner
                                                       115    $450    $573       $725    $608      $620     $629

                                          Associate
                                                       75     $325    $390       $479    $423      $411     $391

                                          Paralegal
                                                       75     $210    $238       $321    $258      $254     $241

Miscellaneous: Billing or   Non-Litigation Partner
Administrative Matter                                  76     $904    $1,005    $1,187   $1,059    $1,080   $969

                                          Associate
                                                       51     $488    $613       $790    $645      $689     $642

Miscellaneous: General      Non-Litigation Partner
Advice & Counsel                                       91     $718    $955      $1,236   $984      $972     $933

                                          Associate
                                                       45     $401    $490       $699    $590      $641     $609

                                          Paralegal
                                                       17     $285    $375       $450    $362      $321     $361

Real Estate: Construction/ Litigation     Partner
Development                                            21     $465    $695       $760    $645      $576     $509

                                          Associate
                                                       13     $338    $360       $520    $410      $357     $308

Real Estate: Easement and Non-Litigation Partner
Right of Way


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Section    I: High-Level
Detailed Practice Area   Data Cuts                                         Detailed Practice Area
By Matter Type                                                             By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                   Trend Analysis - Mean

Real Estate:                                                First           Third
Practice AreaConstruction/ Matter Type Role           n             Median            2022    2021     2020
Development                Litigation    Associate         Quartile        Quartile
Real Estate: Easement and Non-Litigation Partner
Right of Way                                         17     $350    $395     $505     $449    $434     $506

Real Estate: Land          Non-Litigation Partner
Use/Zoning/Restrictive                               48     $476    $565     $740     $629    $628     $591
Covenants
                                         Associate
                                                     20     $240    $403     $565     $430    $428     $389

Real Estate: Leasing       Litigation    Partner
                                                     36     $250    $380     $600     $446    $501     $344

                                         Associate
                                                     30     $260    $383     $525     $391    $390     $249

                           Non-Litigation Partner
                                                     106    $395    $536     $726     $574    $555     $537

                                         Associate
                                                     76     $291    $413     $471     $406    $402     $393

Real Estate: Other         Litigation    Partner
                                                     109    $440    $550     $730     $614    $653     $531

                                         Associate
                                                     91     $333    $401     $503     $437    $443     $431

                                         Paralegal
                                                     53     $190    $260     $325     $252    $242     $222

                           Non-Litigation Partner
                                                     139    $385    $530     $729     $571    $512     $532

                                         Associate
                                                     92     $295    $385     $509     $417    $370     $374

                                         Paralegal
                                                     42     $168    $215     $254     $217    $218     $200

Real Estate:              Non-Litigation Partner
Property/Land Acquisition
or Divestiture

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Section    I: High-Level
Detailed Practice Area   Data Cuts                                         Detailed Practice Area
By Matter Type                                                             By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                   Trend Analysis - Mean
                                                            First           Third
Practice Area             Matter Type Role            n             Median            2022    2021     2020
Real Estate: Other        Non-Litigation Paralegal         Quartile        Quartile
Real Estate:              Non-Litigation Partner
Property/Land Acquisition                            118    $475    $626     $915     $744    $658     $614
or Divestiture
                                         Associate
                                                     87     $379    $520     $608     $557    $514     $420

                                         Paralegal
                                                     25     $190    $250     $360     $278    $252     $233

Real Estate: Titles        Litigation    Partner
                                                     223    $295    $325     $400     $354    $344     $328

                                         Associate
                                                     124    $224    $250     $300     $269    $278     $257

                           Non-Litigation Partner
                                                     758    $260    $306     $400     $350    $341     $324

                                         Associate
                                                     584    $215    $250     $300     $289    $281     $261

                                         Paralegal
                                                     446    $105    $135     $165     $150    $144     $142

Requests for Information: Litigation     Partner
Subpoena                                             121    $395    $645     $933     $699    $703     $672

                                         Associate
                                                     92     $310    $549     $691     $536    $502     $454

                                         Paralegal
                                                     51     $195    $250     $339     $268    $259     $238




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Section
Firm Size I: High-Level Data Cuts                                           Firm Size
By Matter Type                                                              By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate
                 for Associate       & Partner
                               and Partner                                              Trend Analysis - Mean
                                                        First               Third
Firm Size             Matter Type Role           n                Median              2022    2021    2020
                                                       Quartile            Quartile
50 Lawyers or Fewer Litigation      Partner
                                                664     $265       $345     $450      $388    $376     $356

                                    Associate
                                                459     $195       $250     $325      $275    $283     $256

                      Non-Litigation Partner
                                                952     $295       $399     $525      $424    $420     $405

                                    Associate
                                                628     $219       $265     $336      $285    $276     $287

51-200 Lawyers        Litigation    Partner
                                                756     $305       $400     $586      $467    $455     $435

                                    Associate
                                                476     $225       $281     $385      $323    $313     $293

                      Non-Litigation Partner
                                                1013    $375       $480     $635      $533    $542     $528

                                    Associate
                                                611     $250       $325     $425      $362    $361     $342

201-500 Lawyers       Litigation    Partner
                                                822     $425       $555     $719      $604    $573     $558

                                    Associate
                                                708     $300       $380     $465      $411    $389     $381

                      Non-Litigation Partner
                                                1428    $422       $567     $785      $644    $633     $616

                                    Associate
                                                1147    $315       $420     $560      $461    $439     $423

501-1,000 Lawyers     Litigation    Partner
                                                1012    $605       $760     $995      $846    $810     $765

                                    Associate
                                                1135    $400       $535     $695      $577    $542     $509

                      Non-Litigation Partner




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Section
Firm Size I: High-Level Data Cuts                                            Firm Size
By Matter Type                                                               By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate
                 for Associate       & Partner
                               and Partner                                                Trend Analysis - Mean
                                                         First               Third
Firm Size             Matter Type Role            n                Median              2022     2021     2020
                      Litigation     Associate          Quartile            Quartile
501-1,000 Lawyers     Non-Litigation Partner
                                                 1973    $625       $890    $1,275     $977     $943      $912

                                    Associate
                                                 2243    $450       $627     $845      $669     $660      $612

More Than 1,000       Litigation    Partner
Lawyers                                          707     $715       $895    $1,148     $955     $919      $891

                                    Associate
                                                 838     $450       $570     $760      $621     $600      $572

                      Non-Litigation Partner
                                                 1741    $841      $1,065   $1,360     $1,113   $1,073   $1,025

                                    Associate
                                                 2027    $505       $685     $918      $730     $722      $676




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Section II:
Industry
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                                 All
By Matter Type
                                                                              By Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                         First               Third
Industry              Matter Type   Role         n                 Median              2022    2021     2020
                                                        Quartile            Quartile
Basic Materials and   Litigation    Partner
Utilities                                       323      $283       $395     $590      $454    $445     $439

                                    Associate
                                                251      $230       $300     $395      $328    $302     $306

                      Non-Litigation Partner
                                                399      $472       $658    $1,089     $848    $816     $753

                                    Associate
                                                308      $386       $595     $955      $686    $696     $548

Consumer Goods        Litigation    Partner
                                                226      $305       $366     $510      $466    $453     $439

                                    Associate
                                                151      $225       $281     $390      $328    $307     $305

                      Non-Litigation Partner
                                                316      $460       $617     $814      $652    $629     $616

                                    Associate
                                                148      $314       $385     $510      $435    $446     $412

Consumer Services     Litigation    Partner
                                                638      $425       $605     $840      $674    $612     $622

                                    Associate
                                                636      $335       $440     $599      $506    $454     $435

                      Non-Litigation Partner
                                                764      $472       $638     $945      $780    $689     $698

                                    Associate
                                                757      $388       $530     $734      $608    $514     $495

Financials Excluding Litigation     Partner
Insurance                                       1,126    $375       $561     $808      $639    $621     $596

                                    Associate
                                                982      $272       $389     $569      $442    $439     $414

                      Non-Litigation Partner
                                                2,911    $560       $875    $1,270     $938    $943     $901

                                    Associate
                                                2,764    $419       $610     $875      $666    $677     $638

Health Care           Litigation    Partner




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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                                 All
By Matter Type
                                                                              By Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                              Trend Analysis - Mean
Financials                                               First               Third
Industry Excluding Matter Type Role              n                 Median              2022    2021     2020
Insurance          Non-Litigation Associate             Quartile            Quartile
Health Care        Litigation     Partner
                                                657      $425       $680     $925      $685    $713     $670

                                    Associate
                                                598      $373       $500     $670      $506    $519     $476

                      Non-Litigation Partner
                                                424      $471       $610     $950      $694    $762     $751

                                    Associate
                                                360      $319       $468     $676      $491    $553     $527

Industrials           Litigation    Partner
                                                214      $498       $700    $1,095     $808    $691     $595

                                    Associate
                                                156      $429       $540     $742      $588    $495     $418

                      Non-Litigation Partner
                                                712      $435       $628    $1,031     $776    $705     $670

                                    Associate
                                                627      $367       $494     $752      $567    $517     $473

Insurance             Litigation    Partner
                                                353      $300       $390     $605      $533    $522     $463

                                    Associate
                                                242      $250       $316     $665      $448    $445     $394

                      Non-Litigation Partner
                                                1,069    $290       $380     $654      $536    $522     $545

                                    Associate
                                                807      $229       $283     $475      $394    $396     $392

Technology and     Litigation       Partner
Telecommunications                              601      $550       $704     $987      $782    $735     $689

                                    Associate
                                                640      $361       $489     $710      $544    $504     $467

                      Non-Litigation Partner
                                                1,309    $510       $710     $975      $774    $743     $725

                                    Associate
                                                1,255    $350       $495     $698      $540    $510     $511




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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                           All
By Role
                                                                        By Role

2022—Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                  Trend Analysis - Mean
                                            First               Third
Industry               Role         n                 Median                  2022       2021      2020
                                           Quartile            Quartile
Basic Materials and    Partner
Utilities                          682      $365       $550     $836          $678       $654      $599

                       Associate
                                   540      $280       $400     $680          $528       $510      $415

                       Paralegal
                                   299      $115       $178     $300          $221       $222      $183

Consumer Goods         Partner
                                   517      $361       $496     $707          $574       $559      $539

                       Associate
                                   286      $255       $350     $450          $382       $380      $363

                       Paralegal
                                   197      $125       $160     $225          $187       $189      $186

Consumer Services      Partner
                                   1,291    $450       $624     $880          $733       $654      $663

                       Associate
                                   1,312    $353       $491     $700          $563       $486      $469

                       Paralegal
                                   478      $187       $270     $350          $279       $251      $242

Financials Excluding   Partner
Insurance                          3,804    $491       $760    $1,140         $848       $855      $816

                       Associate
                                   3,608    $360       $541     $800          $603       $618      $578

                       Paralegal
                                   1,488    $184       $250     $349          $265       $267      $253

Health Care            Partner
                                   1,005    $450       $665     $927          $689       $733      $700

                       Associate
                                   910      $340       $489     $670          $500       $534      $496

                       Paralegal
                                   415      $154       $235     $291          $235       $231      $219

Industrials            Partner
                                   834      $445       $650    $1,051         $783       $701      $646

                       Associate
                                   724      $375       $500     $748          $571       $511      $455



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                                                                                         $263       $245
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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                          All
By Role
                                                                       By Role

2022—Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                 Trend Analysis - Mean
                                   834      First
                                            $445       $650      Third
                                                                $1,051       $783       $701      $646
Industry               Role         n                 Median                 2022       2021      2020
                       Partner             Quartile            Quartile
Industrials            Associate
                                   724      $375       $500     $748         $571       $511      $455

                       Paralegal
                                   340      $185       $292     $400         $297       $263      $245

Insurance              Partner
                                   5,555    $175       $210     $275         $289       $288      $291

                       Associate
                                   4,174    $160       $183     $235         $235       $235      $230

                       Paralegal
                                   3,144     $90       $95      $111         $111       $112      $111

Technology and         Partner
Telecommunications                 1,753    $525       $710     $979         $777       $741      $714

                       Associate
                                   1,781    $350       $495     $700         $541       $508      $497

                       Paralegal
                                   653      $190       $245     $323         $257       $252      $239




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                    Basic Materials and Utilities
Basic Materials and Utilities                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type   Role        n               Median              2022      2021     2020
                                                             Quartile            Quartile
Commercial                    Litigation    Partner
                                                        16    $448       $721    $1,045     $734      $617     $636

                              Non-Litigation Partner
                                                        49    $582       $663     $875      $758      $647     $647

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        57    $485      $1,272   $1,650     $1,049    $997     $955
Divestitures
Corporate: Regulatory and Non-Litigation Partner
Compliance                                              39    $449       $598     $805      $636      $691     $729

                                            Associate
                                                        20    $354       $445     $598      $500      $440     $501

Corporate: Tax                Non-Litigation Partner
                                                        12    $480       $778    $1,283     $915      $727     $583

Employment and Labor:         Non-Litigation Partner
Other                                                   46    $414       $450     $504      $466      $475     $476

                                            Associate
                                                        17    $288       $340     $378      $342      $337     $297

Environmental                 Non-Litigation Partner
                                                        49    $428       $531     $779      $610      $572     $561

                                            Associate
                                                        28    $330       $426     $588      $475      $514     $439




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                     Consumer Goods
Consumer Goods                                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role         n               Median              2022    2021     2020
                                                              Quartile            Quartile
Commercial                    Litigation    Partner
                                                        76     $368       $479     $680      $569    $633     $550

                                            Associate
                                                        51     $365       $395     $469      $416    $467     $401

                              Non-Litigation Partner
                                                        120    $448       $586     $707      $615    $576     $550

                                            Associate
                                                        65     $330       $370     $485      $404    $402     $393

Corporate: Regulatory and Non-Litigation Partner
Compliance                                              30     $791       $901    $1,000     $888    $831     $825

Employment and Labor:         Non-Litigation Partner
Other                                                   52     $443       $535     $688      $582    $540     $584

                                            Associate
                                                        18     $310       $368     $380      $373    $385     $365

Environmental                 Litigation    Partner
                                                        13     $350       $437     $675      $676    $391     $370

Intellectual Property:        Non-Litigation Partner
Patents                                                 11     $458       $500     $609      $520    $617     $526




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                     Consumer Services
Consumer Services                                                                 By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                    Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role         n               Median              2022      2021     2020
                                                              Quartile            Quartile
Bankruptcy and Collections Litigation       Partner
                                                        15     $273       $315     $619      $454      $485     $546

Commercial                    Litigation    Partner
                                                        237    $450       $675     $893      $724      $631     $657

                                            Associate
                                                        227    $356       $445     $610      $529      $447     $425

                              Non-Litigation Partner
                                                        68     $489       $626     $786      $677      $641     $641

                                            Associate
                                                        52     $353       $442     $595      $493      $428     $453

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        45     $497       $742    $1,734     $1,010    $804     $879
Divestitures
Corporate: Other              Non-Litigation Partner
                                                        172    $593       $972    $1,732     $1,058    $855     $806

                                            Associate
                                                        139    $577       $734    $1,178     $818      $602     $543

Corporate: Regulatory and     Non-Litigation Partner
Compliance                                              217    $481       $583     $788      $670      $655     $659

                                            Associate
                                                        198    $368       $490     $685      $551      $508     $498

Employment and Labor:         Litigation    Partner
Discrimination, Retaliation                             70     $300       $365     $480      $398      $374     $391
and Harassment / EEO
                                            Associate
                                                        56     $296       $341     $423      $355      $328     $301

Employment and Labor:         Litigation    Partner
Other                                                   73     $395       $540     $672      $546      $494     $482

                                            Associate
                                                        56     $275       $325     $426      $344      $350     $339

                              Non-Litigation Partner
                                                        47     $450       $490     $588      $543      $520     $529

                                            Associate
                                                        57     $380       $450     $500      $431      $453     $389

Employment and Labor:         Litigation    Partner
Union Relations and                                     18     $379       $485     $669      $542      $559     $622
Negotiations / NLRB
                              Non-Litigation Partner




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                    Consumer Services
Consumer Services                                                                By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type Role          n               Median              2022    2021     2020
                              Litigation     Partner         Quartile            Quartile
Employment and Labor:         Non-Litigation Partner
Union Relations and                                     23    $550       $653     $886      $750    $673     $542
Negotiations / NLRB
Employment and Labor:         Litigation    Partner
Wages, Tips and Overtime                                25    $450       $485     $529      $487    $430     $431

                                            Associate
                                                        25    $280       $350     $475      $371    $368     $341

Intellectual Property:        Non-Litigation Partner
Patents                                                 63    $418       $518     $651      $613    $552     $623

Intellectual Property:        Non-Litigation Partner
Trademarks                                              12    $466       $585     $691      $604    $612     $553

Real Estate: Leasing          Non-Litigation Partner
                                                        26    $395       $453     $600      $528    $491     $502

                                            Associate
                                                        28    $309       $413     $472      $420    $418     $384

Real Estate: Other            Litigation    Partner
                                                        29    $400       $575     $700      $578    $588     $510

                                            Associate
                                                        22    $291       $338     $371      $354    $374     $382

                              Non-Litigation Partner
                                                        58    $383       $470     $782      $563    $472     $493

                                            Associate
                                                        53    $290       $375     $500      $383    $340     $337




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                    Financials Excluding Insurance
Financials Excluding Insurance                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                    Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role        n                Median              2022      2021     2020
                                                              Quartile            Quartile
Bankruptcy and Collections Litigation       Partner
                                                        153    $333       $430     $586      $501      $504     $474

                                            Associate
                                                        104    $270       $322     $410      $366      $386     $377

                              Non-Litigation Partner
                                                        195    $325       $400     $495      $443      $438     $411

                                            Associate
                                                        101    $248       $333     $393      $340      $329     $312

Commercial                    Litigation    Partner
                                                        267    $426       $585     $862      $707      $630     $589

                                            Associate
                                                        204    $275       $400     $590      $476      $429     $392

                              Non-Litigation Partner
                                                        145    $620       $905    $1,264     $963     $1,004   $1,023

                                            Associate
                                                        112    $393       $563     $806      $628      $671     $697

Corporate: Corporate          Non-Litigation Partner
Development                                             28     $511       $721    $1,042     $856      $866     $695

Corporate: Governance         Non-Litigation Partner
                                                        23     $724      $1,000   $1,560     $1,042   $1,031   $1,014

                                            Associate
                                                        23     $514       $610     $856      $702      $665     $634

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        27     $773       $975    $1,155     $962     $1,100   $1,129
Divestitures
                                            Associate
                                                        17     $532       $623     $888      $656      $708     $704

Corporate: Other              Litigation    Partner
                                                        237    $395       $577     $849      $690      $678     $644

                                            Associate
                                                        181    $289       $416     $602      $471      $493     $455

                              Non-Litigation Partner
                                                        463    $651      $1,095   $1,449     $1,076    $978     $940

                                            Associate
                                                        468    $500       $701     $944      $738      $686     $659

Corporate: Regulatory and     Litigation    Partner
Compliance                                              85     $610       $778    $1,010     $854      $851     $835

                                            Associate
                                                        73     $420       $535     $679      $562      $568     $579

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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                    Financials Excluding Insurance
Financials Excluding Insurance                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                    Trend Analysis - Mean
                                                        85     First
                                                               $610       $778      Third
                                                                                   $1,010    $854      $851     $835
Practice Area                 Matter Type   Role         n               Median              2022      2021     2020
                                            Partner           Quartile            Quartile
Corporate: Regulatory and     Litigation    Associate
Compliance                                              73     $420       $535     $679      $562      $568     $579

                              Non-Litigation Partner
                                                        89     $927      $1,130   $1,424     $1,176   $1,075   $1,119

                                            Associate
                                                        101    $558       $725     $910      $767      $719     $734

Corporate: Tax                Non-Litigation Partner
                                                        66     $766      $1,061   $1,423     $1,112   $1,124   $1,106

                                            Associate
                                                        53     $419       $591     $953      $754      $731     $705

Corporate: Treasury           Non-Litigation Partner
                                                        31     $800       $940    $1,019     $961      $887    $1,022

                                            Associate
                                                        23     $380       $450     $648      $544      $460     $443

Employment and Labor:     Non-Litigation Partner
Compensation and Benefits                               59     $673       $765     $904      $836      $851     $705

                                            Associate
                                                        61     $336       $442     $531      $484      $575     $433

Employment and Labor:         Litigation    Partner
Discrimination, Retaliation                             40     $394       $490     $663      $568      $651     $554
and Harassment / EEO
                                            Associate
                                                        23     $295       $323     $380      $389      $504     $360

Employment and Labor:         Non-Litigation Partner
ERISA                                                   17     $605       $795     $795      $735      $726     $832

Employment and Labor:         Litigation    Partner
Other                                                   135    $616       $820     $968      $857      $855     $758

                                            Associate
                                                        126    $382       $530     $625      $527      $562     $517

                              Non-Litigation Partner
                                                        196    $375       $503     $806      $656      $628     $620

                                            Associate
                                                        112    $295       $379     $600      $498      $466     $439

Employment and Labor:         Litigation    Partner
Wrongful Termination                                    12     $540       $624     $684      $606      $492     $779

Finance and Securities:       Non-Litigation Partner
Debt/Equity Offerings                                   60     $646       $781    $1,030     $876      $904     $903

                                            Associate
                                                        41     $381       $457     $582      $513      $547     $551

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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                     Financials Excluding Insurance
Financials Excluding Insurance                                                     By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                         60     First
                                                                $646       $781      Third
                                                                                    $1,030    $876      $904     $903
Practice Area                 Matter Type    Role         n               Median              2022      2021     2020
                                             Partner           Quartile            Quartile
Finance and Securities:       Non-Litigation Associate
Debt/Equity Offerings                                    41     $381       $457     $582      $513      $547     $551

Finance and Securities:       Litigation    Partner
Fiduciary Services                                       35     $508       $604     $776      $644      $694     $667

                                            Associate
                                                         22     $383       $472     $565      $471      $418     $384

                              Non-Litigation Partner
                                                         44     $454       $540     $912      $694      $687     $675

                                            Associate
                                                         21     $290       $350     $390      $394      $410     $391

Finance and Securities:       Litigation    Partner
Investments and Other                                    30     $787       $962    $1,211     $941      $881    $1,002
Financial Instruments
                                            Associate
                                                         35     $541       $640     $769      $678      $559     $568

                              Non-Litigation Partner
                                                         688    $737      $1,020   $1,354     $1,060   $1,091   $1,001

                                            Associate
                                                         753    $501       $690     $908      $725      $767     $700

Finance and Securities:       Litigation    Partner
Loans and Financing                                      67     $415       $541     $711      $664      $633     $546

                                            Associate
                                                         71     $265       $315     $479      $411      $402     $367

                              Non-Litigation Partner
                                                         973    $564       $855    $1,319     $950      $942     $891

                                            Associate
                                                         919    $428       $635     $904      $679      $680     $625

Finance and Securities:       Non-Litigation Partner
Securities and Banking                                   41     $850      $1,229   $1,425     $1,124   $1,009   $1,036
Regulations
                                            Associate
                                                         15     $535       $680     $929      $689      $634     $619

General Liability: Consumer Litigation      Partner
Related Claims                                           11     $393       $662     $753      $616      $634     $532

Miscellaneous: General        Non-Litigation Partner
Advice & Counsel                                         37     $680       $871    $1,050     $871      $832     $897

Real Estate: Other            Litigation    Partner
                                                         69     $453       $610     $753      $641      $671     $540

                                            Associate
                                                         65     $350       $435     $525      $465      $440     $436

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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                   Financials Excluding Insurance
Financials Excluding Insurance                                                   By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type   Role        n               Median              2022    2021     2020
                                            Partner          Quartile            Quartile
Real Estate: Other            Litigation    Associate
                                                        65    $350       $435     $525      $465    $440     $436

                              Non-Litigation Partner
                                                        23    $540       $765     $870      $740    $593     $733

                                            Associate
                                                        16    $462       $630     $802      $632    $488     $581




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                   Healthcare
Health Care                                                                      By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type   Role        n               Median              2022    2021     2020
                                                             Quartile            Quartile
Corporate: Regulatory and     Litigation    Partner
Compliance                                              42    $631       $844     $924      $807    $807     $778

                              Non-Litigation Partner
                                                        83    $445       $585     $876      $657    $613     $617

                                            Associate
                                                        66    $316       $383     $670      $454    $438     $413

Employment and Labor:         Litigation    Partner
Discrimination, Retaliation                             11    $391       $628     $711      $570    $575     $552
and Harassment / EEO




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                    Industrials
Industrials                                                                       By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role         n               Median              2022      2021     2020
                                                              Quartile            Quartile
Commercial                    Litigation    Partner
                                                        16     $471       $545    $1,441     $837      $718     $720

                                            Associate
                                                        11     $284       $349     $690      $529      $652     $591

                              Non-Litigation Partner
                                                        36     $565       $878    $1,062     $860      $679     $646

                                            Associate
                                                        17     $343       $428     $709      $531      $461     $434

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        107    $758      $1,115   $1,650     $1,190   $1,050    $926
Divestitures
                                            Associate
                                                        164    $529       $770     $925      $762      $715     $619

Corporate: Other              Litigation    Partner
                                                        106    $586       $891    $1,120     $883      $846     $739

                                            Associate
                                                        86     $459       $620     $778      $622      $560     $486

                              Non-Litigation Partner
                                                        348    $436       $656    $1,073     $781      $743     $752

                                            Associate
                                                        329    $365       $485     $735      $547      $533     $539

Corporate: Regulatory and     Non-Litigation Partner
Compliance                                              42     $625       $968    $1,144     $902      $753     $643

                                            Associate
                                                        30     $512       $635     $816      $660      $548     $486

Corporate: Tax                Non-Litigation Partner
                                                        28     $628       $947    $1,022     $894      $754     $759

Employment and Labor:     Non-Litigation Partner
Compensation and Benefits                               19     $514       $623     $910      $698      $786     $740

Employment and Labor:         Non-Litigation Partner
Other                                                   96     $418       $484     $612      $544      $554     $564

                                            Associate
                                                        53     $306       $412     $450      $400      $380     $401

Environmental                 Litigation    Partner
                                                        12     $493       $568     $654      $569      $550     $562

                              Non-Litigation Partner




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                   Industrials
Industrials                                                                      By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type Role          n               Median              2022    2021     2020
                              Litigation     Partner         Quartile            Quartile
Environmental                 Non-Litigation Partner
                                                        21    $495       $685    $1,150     $861    $756     $634

Intellectual Property: Other Non-Litigation Partner
                                                        14    $405       $513     $823      $646    $648     $629

Intellectual Property:        Non-Litigation Partner
Patents                                                 37    $306       $370     $450      $444    $422     $436

                                            Associate
                                                        23    $175       $239     $265      $226    $275     $287




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                       Insurance
Insurance                                                                           By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                                 First               Third
Practice Area                 Matter Type   Role         n                 Median              2022    2021     2020
                                                                Quartile            Quartile
Corporate: Other              Non-Litigation Partner
                                                        141      $400       $685     $940      $755    $707     $743

                                            Associate
                                                         92      $386       $475     $738      $580    $526     $532

Corporate: Tax                Non-Litigation Partner
                                                         40      $791       $960    $1,155     $995   $1,039   $1,022

Employment and Labor:         Non-Litigation Partner
Other                                                    74      $415       $470     $649      $595    $543     $572

                                            Associate
                                                         40      $303       $364     $500      $451    $424     $390

Insurance Defense:            Litigation    Partner
Asbestos/Mesothelioma                                    24      $175       $175     $180      $186    $194     $209

Insurance Defense: Auto       Litigation    Partner
and Transportation                                      1,169    $165       $180     $205      $223    $219     $226

                                            Associate
                                                        889      $145       $162     $180      $165    $164     $158

Insurance Defense:            Litigation    Partner
Consumer Related Claims                                  53      $177       $225     $350      $312    $312     $397

Insurance Defense:            Litigation    Partner
Insurer Work Comp                                       262      $155       $165     $185      $182    $192     $200

                                            Associate
                                                        204      $145       $154     $160      $154    $153     $154

Insurance Defense: Marine Litigation        Partner
                                                         34      $164       $200     $245      $207    $263     $231

Insurance Defense: Other      Litigation    Partner
                                                        1,696    $175       $198     $245      $241    $243     $230

                                            Associate
                                                        1,080    $160       $175     $200      $187    $185     $183

Insurance Defense:            Litigation    Partner
Personal Injury/Wrongful                                198      $160       $180     $200      $191    $187     $189
Death
                                            Associate
                                                        156      $145       $159     $175      $163    $161     $158

Insurance Defense:            Litigation    Partner
Pollution                                               120      $190       $220     $250      $255    $242     $233

                                            Associate
                                                         53      $180       $195     $215      $212    $209     $205



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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                     Insurance
Insurance                                                                         By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                        120    First
                                                               $190       $220     Third
                                                                                   $250      $255    $242     $233
Practice Area                 Matter Type   Role         n               Median              2022    2021     2020
                                            Partner           Quartile            Quartile
Insurance Defense:            Litigation    Associate
Pollution                                               53     $180       $195     $215      $212    $209     $205

Insurance Defense:            Litigation    Partner
Premises                                                756    $170       $185     $225      $216    $221     $220

Insurance Defense:            Litigation    Partner
Product and Product                                     106    $178       $183     $200      $203    $193     $196
Liability
                                            Associate
                                                        71     $155       $170     $185      $189    $172     $172

Insurance Defense:            Litigation    Partner
Professional Liability                                  111    $185       $215     $292      $264    $256     $243

                                            Associate
                                                        55     $173       $190     $293      $223    $226     $205

Insurance Defense:            Litigation    Partner
Property Damage                                         606    $175       $210     $250      $228    $227     $226

                                            Associate
                                                        495    $160       $182     $220      $194    $189     $184




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Section  II: Industry
Section II:  IndustryAnalysis
                      Analysis                                                       Technology and
Technology and Telecommunications                                                    Telecommunications
By Practice Area and Matter Type
                                                                                     By Practice Area and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                      Trend Analysis - Mean
                                                                  First               Third
Practice Area                 Matter Type      Role         n               Median              2022      2021     2020
                                                                 Quartile            Quartile
Bankruptcy and Collections Litigation          Partner
                                                           14     $520       $570     $628      $567      $578     $493

Commercial                    Litigation       Partner
                                                           100    $606       $871     $1,084    $894      $845     $776

                                               Associate
                                                           164    $350       $571     $756      $567      $557     $439

                              Non-Litigation   Partner
                                                           50     $400       $613     $881      $649      $666     $633

                                               Associate
                                                           32     $391       $432     $721      $540      $506     $473

Corporate: Antitrust and      Litigation       Partner
Competition                                                17     $837       $949     $1,080    $992      $810     $811

                                               Associate
                                                           49      $55       $496     $655      $454      $493     $672

                              Non-Litigation   Partner
                                                           33     $949      $1,210    $1,453    $1,227    $1,141   $1,069

                                               Associate
                                                           51     $590       $720     $912      $732      $694     $659

Corporate: Governance         Non-Litigation   Partner
                                                           63    $1,000     $1,238    $1,553    $1,269    $1,270   $1,172

                                               Associate
                                                           59     $695       $780     $949      $807      $781     $707

Corporate: Mergers,           Non-Litigation   Partner
Acquisitions and                                           60     $749       $868     $978      $899      $804     $842
Divestitures
                                               Associate
                                                           76     $486       $486     $668      $587      $492     $559

Corporate: Other              Litigation       Partner
                                                           120    $597       $803     $1,022    $836      $864     $771

                                               Associate
                                                           93     $401       $488     $683      $550      $514     $480

                              Non-Litigation   Partner
                                                           275    $631       $864     $1,065    $874      $825     $810

                                               Associate
                                                           205    $450       $578     $710      $583      $565     $545

Corporate: Regulatory and Litigation           Partner
Compliance                                                 20     $694       $830     $838      $795      $779     $799

                                               Associate
                                                           22     $392       $481     $510      $469      $458     $509


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Section  II: Industry
Section II:  IndustryAnalysis
                      Analysis                                                       Technology and
Technology and Telecommunications                                                    Telecommunications
By Practice Area and Matter Type
                                                                                     By Practice Area and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                           20     First
                                                                  $694       $830     Third
                                                                                      $838      $795    $779     $799
Practice Area                 Matter Type      Role        n                Median              2022    2021     2020
                                               Partner           Quartile            Quartile
Corporate: Regulatory and Litigation           Associate
Compliance                                                 22     $392       $481     $510      $469    $458     $509

                              Non-Litigation   Partner
                                                           233    $605       $760     $920      $770    $726     $711

                                               Associate
                                                           210    $396       $510     $612      $519    $488     $479

Corporate: Tax                Non-Litigation   Partner
                                                           80     $689       $919     $1,132    $936    $930     $878

                                               Associate
                                                           75     $553       $732     $934      $738    $613     $611

Employment and Labor:         Litigation       Partner
Agreements                                                 12     $751       $843     $1,171    $895    $848     $827

                              Non-Litigation   Partner
                                                           27     $430       $600     $698      $565    $698     $668

Employment and Labor:     Non-Litigation       Partner
Compensation and Benefits                                  31     $540       $650     $800      $708    $723     $709

                                               Associate
                                                           11     $383       $622     $745      $569    $459     $452

Employment and Labor:       Litigation         Partner
Discrimination, Retaliation                                19     $423       $532     $655      $537    $559     $553
and Harassment / EEO
                                               Associate
                                                           17     $347       $375     $395      $377    $354     $349

                              Non-Litigation   Partner
                                                           44     $475       $525     $658      $566    $541     $547

Employment and Labor:         Litigation       Partner
Other                                                      25     $612       $690     $810      $700    $530     $570

                                               Associate
                                                           22     $393       $466     $575      $489    $376     $345

                              Non-Litigation   Partner
                                                           152    $470       $475     $678      $553    $569     $617

                                               Associate
                                                           130    $325       $340     $401      $366    $371     $412

General Liability:            Litigation       Associate
Consumer Related Claims                                    19     $387       $428     $530      $451    $447     $413

Government Relations          Non-Litigation   Partner
                                                           26     $776       $901     $1,084    $938    $678     $755

                                               Associate
                                                           48     $414       $633     $726      $543    $510     $539


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Section  II: Industry
Section II:  IndustryAnalysis
                      Analysis                                                       Technology and
Technology and Telecommunications                                                    Telecommunications
By Practice Area and Matter Type                                                     By Practice Area and Matter Type
2022—Real
2022      RatesRates
     — Real    for Associate & Partner
                       for Associate   and Partner                                              Trend Analysis - Mean
                                                                  First               Third
Practice Area                 Matter Type      Role         n               Median              2022    2021     2020
                                               Partner           Quartile            Quartile
Government Relations          Non-Litigation   Associate
                                                           48     $414       $633     $726      $543    $510     $539

Intellectual Property:        Litigation       Partner
Patents                                                    111    $606       $832     $1,077    $849    $783     $755

                                               Associate
                                                           105    $495       $670     $824      $657    $607     $561

                              Non-Litigation   Partner
                                                           106    $418       $755     $994      $726    $602     $538

                                               Associate
                                                           148    $325       $484     $724      $543    $477     $442

Intellectual Property:        Litigation       Partner
Trademarks                                                 11     $721       $942     $1,054    $870    $746     $618

                              Non-Litigation   Partner
                                                           38     $443       $549     $650      $568    $602     $644

                                               Associate
                                                           39     $303       $360     $410      $368    $360     $366




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Section III:
Practice
Area
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section III: Practice Area Analysis
Section  III:and
Bankruptcy    Practice    Area Analysis
                 Collections                                           Bankruptcy and Collections
By City                                                                By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                  Role         n                 Median                 2022      2021      2020
                                          Quartile            Quartile
Atlanta GA            Partner
                                  11       $525       $603     $650         $607       $557      $523

                      Associate
                                  13       $275       $325     $390         $366       $408      $380

Baltimore MD          Partner
                                  14       $321       $380     $472         $395       $438      $436

Chicago IL            Partner
                                  16       $525       $748    $1,256        $893       $983     $1,059

                      Associate
                                  13       $260       $656     $910         $619       $789      $734

Dallas TX             Partner
                                  13       $381       $525     $666         $539       $502      $635

Houston TX            Associate
                                  16       $375       $384     $473         $427       $436      $425

Los Angeles CA        Associate
                                  15       $375       $415     $835         $560       $376      $337

Miami FL              Partner
                                  11       $265       $375     $418         $351       $401      $486

New York NY           Partner
                                  60       $400       $604     $815         $638       $654      $638

                      Associate
                                  36       $300       $375     $429         $385       $433      $453

Philadelphia PA       Partner
                                  46       $400       $495     $619         $497       $494      $481

                      Associate
                                  30       $290       $350     $420         $369       $340      $344

Pittsburgh PA         Partner
                                  17       $338       $435     $460         $409       $444      $404

                      Associate
                                  13       $248       $341     $354         $333       $361      $307




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Bankruptcy and Collections
                                                                        Bankruptcy and Collections
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          64     $325       $400     $525      $455     $487     $454

                         Non-Litigation
                                          76     $350       $402     $496      $440     $514     $538

21 or More Years         Litigation
                                          108    $325       $445     $600      $505     $493     $488

                         Non-Litigation
                                          122    $325       $410     $526      $462     $466     $500




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Bankruptcy and Collections
                                                                       Bankruptcy and Collections
By Matter Type and YOE                                                 By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
3 to Fewer Than 7        Litigation
Years                                     18    $276       $348     $446      $395     $364     $380

                         Non-Litigation
                                          35    $289       $345     $400      $349     $346     $306




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                       Bankruptcy and Collections
Bankruptcy and Collections                                                By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022    2021     2020
                                                    Quartile            Quartile
50 Lawyers or     Litigation       Partner
Fewer                                          59    $275       $325     $390      $360    $363      $333

                                   Associate
                                               44    $225       $267     $332      $284    $280      $258

                  Non-Litigation   Partner
                                               49    $270       $295     $325      $301    $301      $366

                                   Associate
                                               25    $225       $244     $258      $251    $230      $241

51-200 Lawyers Litigation          Partner
                                               47    $334       $378     $489      $416    $392      $392

                                   Associate
                                               24    $230       $280     $320      $296    $259      $248

                  Non-Litigation   Partner
                                               30    $345       $400     $476      $406    $404      $399

201-500           Litigation       Partner
Lawyers                                        61    $398       $468     $604      $502    $493      $464

                                   Associate
                                               43    $294       $318     $422      $365    $341      $317

                  Non-Litigation   Partner
                                               85    $385       $452     $580      $493    $464      $442

                                   Associate
                                               44    $281       $350     $393      $341    $343      $306

501-1,000         Litigation       Partner
Lawyers                                        34    $525       $618     $721      $633    $701      $678

                                   Associate
                                               24    $313       $375     $471      $385    $505      $513

                  Non-Litigation   Partner
                                               20    $506       $617     $685      $613    $638      $701

                                   Associate
                                               15    $352       $383     $446      $412    $485      $480

More Than         Litigation       Partner
1,000 Lawyers                                  13    $546      $1,045   $1,249     $932    $711      $775

                                   Associate
                                               12    $340       $760     $866      $632    $442      $450

                  Non-Litigation   Partner



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Section
Section III:
          III:Practice
               PracticeArea
Bankruptcy and Collections
                           AreaAnalysis
                                Analysis                                  Bankruptcy and Collections
By Firm Size and Matter Type
                                                                          By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022    2021     2020
                  Litigation       Associate        Quartile            Quartile
More Than         Non-Litigation   Partner
1,000 Lawyers                                  32    $460       $657     $990      $779    $914     $1,041




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                            Commercial
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                Role           n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA          Partner
                                  39       $493       $625     $853        $695       $699      $736

                    Associate
                                  39       $310       $342     $440        $407       $431      $406

Austin TX           Partner
                                  14       $378       $450     $495        $514       $534      $510

Birmingham AL       Partner
                                  16       $385       $427     $461        $416       $419      $397

                    Associate
                                  12       $293       $304     $334        $312       $302      $296

Boston MA           Partner
                                  20       $690       $821    $1,049       $843       $696      $701

                    Associate
                                  24       $479       $638     $865        $680       $588      $509

Charlotte NC        Associate
                                  18       $325       $344     $416        $404       $466      $422

Chicago IL          Partner
                                  103      $593       $858    $1,111       $871       $794      $818

                    Associate
                                  93       $325       $515     $694        $541       $555      $575

Cleveland OH        Partner
                                  40       $397       $480     $565        $534       $518      $571

                    Associate
                                  30       $255       $270     $290        $281       $291      $310

Dallas TX           Partner
                                  22       $547       $665    $1,023       $734       $781      $742

                    Associate
                                  21       $370       $528     $725        $561       $520      $511

Denver CO           Partner
                                  29       $495       $555     $657        $586       $565      $515

                    Associate
                                  25       $298       $415     $455        $395       $368      $336

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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                            Commercial
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  29       First
                                           $495       $555     Third
                                                               $657        $586        $565      $515
City                  Role        n                  Median                2022        2021      2020
                      Partner             Quartile            Quartile
Denver CO             Associate
                                  25       $298       $415     $455        $395        $368      $336

Houston TX            Partner
                                  14       $469       $626     $859        $644        $672      $768

                      Associate
                                  13       $360       $509     $590        $498        $467      $502

Indianapolis IN       Partner
                                  12       $406       $445     $556        $477        $474      $440

Kansas City MO        Partner
                                  35       $410       $450     $536        $484        $467      $466

                      Associate
                                  25       $315       $374     $387        $345        $339      $329

Los Angeles CA        Partner
                                  78       $693       $849    $1,071       $878        $840      $813

                      Associate
                                  111      $464       $686     $876        $688        $722      $674

Miami FL              Partner
                                  52       $485       $601     $688        $610        $562      $504

                      Associate
                                  40       $315       $449     $524        $432        $390      $396

Minneapolis MN        Partner
                                  53       $576       $655     $800        $673        $657      $576

                      Associate
                                  58       $399       $457     $529        $465        $459      $380

New York NY           Partner
                                  174      $628      $1,128   $1,499      $1,108      $1,040    $1,033

                      Associate
                                  174      $434       $680     $990        $721        $617      $685

Philadelphia PA       Partner
                                  116      $543       $728     $903        $755        $677      $652

                      Associate
                                  106      $384       $430     $538        $482        $446      $420

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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                            Commercial
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  116      First
                                           $543       $728     Third
                                                               $903        $755       $677      $652
City                  Role         n                 Median                2022       2021      2020
                      Partner             Quartile            Quartile
Philadelphia PA       Associate
                                  106      $384       $430     $538        $482       $446      $420

Pittsburgh PA         Partner
                                  18       $481       $661     $763        $657       $635      $543

                      Associate
                                  17       $280       $425     $515        $414       $443      $377

Portland OR           Partner
                                  16       $500       $585     $655        $576       $557      $495

                      Associate
                                  31       $400       $435     $501        $448       $406      $370

San Francisco CA      Partner
                                  43       $420       $675    $1,015       $735       $696      $738

                      Associate
                                  34       $330       $400     $533        $479       $476      $445

Seattle WA            Partner
                                  30       $490       $556     $713        $611       $531      $476

                      Associate
                                  19       $380       $440     $538        $455       $357      $345

St. Louis MO          Partner
                                  16       $410       $561     $700        $569       $603      $643

Washington DC         Partner
                                  162      $689       $821    $1,058       $910       $854      $869

                      Associate
                                  104      $456       $584     $739        $622       $589      $555




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                              Commercial
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          253    $405       $589     $863      $670     $633     $597

                         Non-Litigation
                                          146    $470       $628     $869      $686     $662     $697

21 or More Years         Litigation
                                          418    $495       $694     $995      $774     $722     $694

                         Non-Litigation
                                          256    $572       $740    $1,031     $832     $825     $834




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial
                                                                        Commercial
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          59     $319       $420     $569      $453     $398     $372

                         Non-Litigation
                                          23     $321       $368     $401      $412     $361     $428

3 to Fewer Than 7        Litigation
Years                                     161    $300       $418     $596      $491     $441     $394

                         Non-Litigation
                                          56     $335       $409     $510      $455     $439     $475

7 or More Years          Non-Litigation
                                          78     $382       $501     $605      $554     $561     $572




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Commercial
Commercial                                                                 By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Litigation       Partner
Fewer                                         103    $300       $379     $511      $426     $422      $401

                                  Associate
                                              83     $225       $275     $328      $296     $334      $261

                 Non-Litigation   Partner
                                              54     $320       $400     $489      $424     $437      $429

                                  Associate
                                              25     $292       $335     $363      $338     $316      $312

51-200           Litigation       Partner
Lawyers                                       143    $350       $482     $625      $533     $492      $455

                                  Associate
                                              89     $265       $328     $396      $335     $321      $288

                 Non-Litigation   Partner
                                              73     $403       $500     $582      $522     $548      $535

                                  Associate
                                              34     $268       $321     $358      $326     $335      $359

201-500          Litigation       Partner
Lawyers                                       168    $450       $561     $740      $624     $592      $575

                                  Associate
                                              153    $330       $400     $450      $411     $403      $386

                 Non-Litigation   Partner
                                              102    $561       $673     $795      $706     $686      $636

                                  Associate
                                              82     $367       $434     $530      $462     $429      $436

501-1,000        Litigation       Partner
Lawyers                                       243    $630       $769    $1,022     $887     $817      $834

                                  Associate
                                              282    $392       $500     $712      $576     $501      $489

                 Non-Litigation   Partner
                                              165    $664       $805    $1,147     $946     $931      $913

                                  Associate
                                              130    $397       $533     $686      $589     $600      $581

More Than     Litigation          Partner
1,000 Lawyers                                 151    $879      $1,103   $1,345     $1,132   $1,012    $995

                                  Associate
                                              173    $591       $740     $945      $752     $679      $646

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Section
Section III:
         III:Practice
Commercial
              PracticeArea
                       AreaAnalysis
                            Analysis                                       Commercial
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                  Partner           Quartile            Quartile
More Than     Litigation          Associate
1,000 Lawyers                                 173    $591       $740     $945      $752     $679      $646

                 Non-Litigation   Partner
                                              96     $872       $978    $1,176     $1,033   $1,043   $1,061

                                  Associate
                                              71     $520       $675     $875      $717     $756      $714




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Section III: Practice Area Analysis
Section  III:Mergers,
Corporate:    Practice   Area Analysis
                      Acquisitions and Divestitures                   Corporate: Mergers,
By City                                                               Acquisitions, and Divestitures
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                  Role         n                 Median                 2022        2021      2020
                                          Quartile            Quartile
Chicago IL            Partner
                                  30       $782       $985    $1,251       $1,056       $907      $915

                      Associate
                                  32       $497       $602     $810         $683        $570      $638

Los Angeles CA        Partner
                                  18       $813       $869    $1,043        $981       $1,002     $943

                      Associate
                                  30       $486       $500     $691         $615        $627      $578

New York NY           Partner
                                  98      $1,368     $1,650   $1,739       $1,531      $1,385    $1,259

                      Associate
                                  198      $713       $925    $1,160        $915        $834      $749

Philadelphia PA       Partner
                                  28       $598       $673    $1,004        $820        $691      $754

                      Associate
                                  25       $443       $460     $550         $554        $432      $419

Pittsburgh PA         Partner
                                  16       $604       $699     $837         $727        $595      $665

San Francisco CA      Partner
                                  24       $810       $868    $1,061        $966        $879      $959

Washington DC         Partner
                                  50       $698      $1,013   $1,315       $1,006       $956      $942

                      Associate
                                  39       $607       $739     $830         $722        $686      $578




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Mergers, Acquisitions and Divestitures
                                                                        Corporate: Mergers,
By Matter Type and YOE                                                  Acquisitions, and Divestitures
                                                                        By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Non-Litigation
                                          88     $649       $868    $1,368     $982     $845     $869

21 or More Years         Non-Litigation
                                          167    $625       $870    $1,368     $992     $944     $962




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Mergers, Acquisitions and Divestitures
                                                                       Corporate: Mergers,
By Matter Type and YOE                                                 Acquisitions, and Divestitures
                                                                       By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 3 Years       Non-Litigation
                                          27    $460       $486     $702      $602     $519     $450

3 to Fewer Than 7        Non-Litigation
Years                                     67    $460       $529     $919      $686     $545     $539

7 or More Years          Non-Litigation
                                          82    $620       $734     $979      $798     $641     $655




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Mergers, Acquisitions and Divestitures
                                                                           Corporate: Mergers,
By Firm Size and Matter Type                                               Acquisitions, and Divestitures
                                                                           By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
51-200           Non-Litigation   Partner
Lawyers                                       23     $390       $485     $770      $550     $561      $632

201-500          Non-Litigation   Partner
Lawyers                                       56     $572       $704     $916      $741     $653      $663

                                  Associate
                                              41     $443       $460     $510      $476     $424      $396

501-1,000        Non-Litigation   Partner
Lawyers                                       111    $700      $1,216   $1,650     $1,149   $1,021   $1,061

                                  Associate
                                              155    $620       $829    $1,115     $820     $676      $660

More Than     Non-Litigation      Partner
1,000 Lawyers                                 151    $868      $1,121   $1,407     $1,183   $1,074   $1,058

                                  Associate
                                              217    $536       $698     $925      $749     $702      $699




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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  70       $442       $613     $971        $703       $736      $678

                     Associate
                                  60       $385       $450     $588        $479       $481      $470

Austin TX            Partner
                                  17       $387       $450     $538        $502       $460      $482

Baltimore MD         Partner
                                  19       $426       $614     $767        $606       $664      $672

                     Associate
                                  25       $311       $374     $546        $452       $500      $482

Birmingham AL        Partner
                                  16       $375       $423     $471        $437       $419      $444

                     Associate
                                  15       $294       $303     $341        $314       $315      $334

Boston MA            Partner
                                  47       $513       $735     $903        $733       $743      $672

                     Associate
                                  45       $395       $475     $610        $510       $491      $460

Charlotte NC         Partner
                                  12       $539       $652     $837        $751       $573      $657

Chicago IL           Partner
                                  192      $740       $918    $1,199       $962       $938      $880

                     Associate
                                  179      $495       $600     $730        $616       $564      $576

Cleveland OH         Partner
                                  39       $485       $525     $760        $616       $607      $630

                     Associate
                                  17       $287       $313     $399        $332       $375      $342

Dallas TX            Partner
                                  34       $506       $739    $1,038       $774       $654      $719

                     Associate
                                  35       $495       $596     $775        $622       $527      $521

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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  34       First
                                           $506       $739      Third
                                                               $1,038      $774       $654      $719
City                 Role         n                  Median                2022       2021      2020
                     Partner              Quartile            Quartile
Dallas TX            Associate
                                  35       $495       $596     $775        $622       $527      $521

Denver CO            Partner
                                  11       $505       $565     $586        $613       $634      $508

Houston TX           Partner
                                  29       $544       $905    $1,123       $855       $782      $782

                     Associate
                                  34       $445       $595     $706        $592       $580      $512

Indianapolis IN      Partner
                                  11       $423       $500     $668        $561       $495      $432

Kansas City MO       Partner
                                  34       $441       $490     $589        $530       $544      $532

                     Associate
                                  16       $337       $384     $426        $378       $367      $314

Los Angeles CA       Partner
                                  194      $600       $875    $1,185       $908       $894      $874

                     Associate
                                  188      $484       $645     $840        $665       $655      $639

Miami FL             Partner
                                  31       $475       $525     $646        $574       $501      $579

                     Associate
                                  19       $290       $411     $450        $370       $428      $427

Minneapolis MN       Partner
                                  26       $510       $624     $714        $619       $625      $590

                     Associate
                                  15       $312       $395     $551        $419       $468      $410

Nashville TN         Partner
                                  12       $431       $498     $601        $521       $496      $407

New Orleans LA       Partner
                                  20       $337       $368     $428        $382       $376      $374

New York NY          Partner



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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022        2021      2020
New Orleans LA       Partner              Quartile            Quartile
New York NY          Partner
                                  485      $793      $1,326   $1,665      $1,219      $1,103    $1,079

                     Associate
                                  538      $590       $789    $1,065       $806        $746      $709

Orlando FL           Partner
                                  22       $415       $474     $544        $484        $507      $481

                     Associate
                                  13       $230       $325     $400        $314        $267      $274

Philadelphia PA      Partner
                                  145      $625       $818     $958        $800        $774      $763

                     Associate
                                  135      $415       $450     $535        $484        $450      $439

Phoenix AZ           Partner
                                  24       $330       $510     $688        $557        $471      $413

                     Associate
                                  24       $252       $303     $355        $337        $286      $269

Pittsburgh PA        Partner
                                  21       $420       $585     $819        $601        $676      $528

                     Associate
                                  18       $286       $415     $580        $441        $412      $381

Portland OR          Partner
                                  13       $465       $495     $528        $508        $542      $624

                     Associate
                                  17       $360       $416     $449        $413        $392      $382

Raleigh NC           Partner
                                  11       $253       $400     $497        $387        $402      $462

San Diego CA         Partner
                                  37       $375       $467    $1,161       $673        $684      $605

                     Associate
                                  37       $211       $285     $380        $315        $329      $383

San Francisco CA     Partner



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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
San Diego CA         Associate            Quartile            Quartile
San Francisco CA     Partner
                                  50       $595       $910    $1,080       $852       $789      $789

                     Associate
                                  28       $338       $620     $778        $623       $609      $549

San Jose CA          Partner
                                  23       $690       $933    $1,114       $943       $968      $810

                     Associate
                                  15       $469       $590     $746        $615       $626      $598

Seattle WA           Partner
                                  41       $575       $716     $776        $699       $614      $614

                     Associate
                                  33       $395       $472     $535        $478       $475      $417

Tampa FL             Partner
                                  14       $379       $430     $574        $485       $505      $484

Washington DC        Partner
                                  432      $770       $950    $1,098       $956       $913      $877

                     Associate
                                  395      $550       $670     $705        $665       $642      $585




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Section III: Practice Area Analysis
Section
Corporate:III: Practice Area Analysis
           Other                                                        Corporate: Other
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          238    $494       $698     $940      $737     $702     $661

                         Non-Litigation
                                          418    $473       $777    $1,100     $837     $790     $757

21 or More Years         Litigation
                                          425    $545       $756     $995      $814     $805     $746

                         Non-Litigation
                                          826    $580       $900    $1,248     $951     $886     $859




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Section III: Practice Area Analysis
Section
Corporate:III: Practice Area Analysis
           Other                                                        Corporate: Other
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          31     $344       $440     $593      $463     $418     $358

                         Non-Litigation
                                          59     $366       $535     $739      $568     $507     $424

3 to Fewer Than 7        Litigation
Years                                     81     $356       $472     $695      $528     $500     $452

                         Non-Litigation
                                          177    $378       $498     $718      $582     $541     $511

7 or More Years          Litigation
                                          146    $385       $525     $656      $534     $511     $493

                         Non-Litigation
                                          270    $419       $635     $824      $676     $635     $619




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Corporate: Other
Corporate: Other                                                           By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                            Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2022     2021     2020
                                                     Quartile            Quartile
50 Lawyers or     Litigation       Partner
Fewer                                          97     $350       $450     $575      $461     $458     $440

                                   Associate
                                               50     $216       $299     $354      $301     $283     $323

                  Non-Litigation   Partner
                                               155    $333       $426     $534      $446     $430     $426

                                   Associate
                                               91     $221       $290     $369      $307     $279     $313

51-200 Lawyers Litigation          Partner
                                               138    $371       $579     $757      $594     $555     $533

                                   Associate
                                               84     $280       $377     $451      $395     $383     $378

                  Non-Litigation   Partner
                                               141    $399       $495     $700      $561     $604     $594

                                   Associate
                                               84     $275       $350     $485      $391     $415     $389

201-500           Litigation       Partner
Lawyers                                        182    $516       $675     $951      $731     $664     $662

                                   Associate
                                               139    $341       $448     $590      $495     $443     $451

                  Non-Litigation   Partner
                                               341    $482       $625     $890      $696     $655     $663

                                   Associate
                                               267    $385       $460     $631      $506     $476     $447

501-1,000         Litigation       Partner
Lawyers                                        242    $657       $935    $1,075     $919     $915     $846

                                   Associate
                                               254    $459       $648     $695      $615     $609     $551

                  Non-Litigation   Partner
                                               439    $760       $997    $1,423     $1,100   $1,005   $959

                                   Associate
                                               462    $557       $695     $855      $726     $670     $619

More Than         Litigation       Partner
1,000 Lawyers                                  197    $711       $880    $1,154     $955     $944     $870

                                   Associate
                                               198    $467       $565     $710      $615     $594     $527


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Section
Section III:
           III:Practice
Corporate: Other
                PracticeArea
                         AreaAnalysis
                              Analysis                                     Corporate: Other
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                            Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2022     2021     2020
                                   Partner           Quartile            Quartile
More Than         Litigation       Associate
1,000 Lawyers                                  198    $467       $565     $710      $615     $594     $527

                  Non-Litigation   Partner
                                               461    $950      $1,170   $1,450     $1,212   $1,102   $1,055

                                   Associate
                                               471    $590       $738     $985      $792     $730     $706




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Section III: Practice Area Analysis
Section  III:Regulatory
Corporate:    Practiceand
                        Area Analysis
                          Compliance                                  Corporate: Regulatory and
By City                                                               Compliance
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  20       $731       $797     $884        $820       $774      $590

                     Associate
                                  13       $531       $592     $805        $653       $608      $451

Baltimore MD         Partner
                                  14       $625       $773     $842        $738       $680      $666

                     Associate
                                  16       $332       $460     $644        $472       $507      $427

Birmingham AL        Associate
                                  12       $273       $292     $332        $304       $295      $317

Boston MA            Partner
                                  16       $717       $796     $920        $870       $785      $728

                     Associate
                                  11       $445       $625     $714        $612       $471      $446

Chicago IL           Partner
                                  60       $564       $879    $1,062       $837       $788      $818

                     Associate
                                  46       $404       $582     $745        $590       $589      $595

Denver CO            Partner
                                  15       $419       $538     $622        $561       $534      $552

Kansas City MO       Partner
                                  18       $442       $501     $605        $539       $500      $503

                     Associate
                                  11       $280       $320     $329        $310       $331      $294

Los Angeles CA       Partner
                                  55       $801       $938    $1,140       $968       $875      $884

                     Associate
                                  72       $495       $666     $855        $675       $647      $675

Miami FL             Partner
                                  30       $492       $600     $833        $680       $746      $717

                     Associate
                                  16       $360       $450     $571        $473       $518      $542

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Section III: Practice Area Analysis
Section  III:Regulatory
Corporate:    Practiceand
                        Area Analysis
                          Compliance                                  Corporate: Regulatory and
By City                                                               Compliance
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  30       First
                                           $492       $600     Third
                                                               $833        $680        $746      $717
City                 Role         n                  Median                2022        2021      2020
                     Partner              Quartile            Quartile
Miami FL             Associate
                                  16       $360       $450     $571        $473        $518      $542

Nashville TN         Partner
                                  33       $450       $558     $635        $539        $503      $485

                     Associate
                                  21       $248       $375     $473        $367        $334      $280

New York NY          Partner
                                  121      $697       $980    $1,381      $1,066      $1,010    $1,003

                     Associate
                                  137      $490       $682     $835        $710        $684      $648

Philadelphia PA      Partner
                                  50       $598       $800     $898        $764        $775      $709

                     Associate
                                  35       $325       $430     $519        $497        $474      $406

Pittsburgh PA        Partner
                                  12       $444       $737     $827        $659        $665      $664

                     Associate
                                  24       $359       $465     $503        $435        $408      $423

Portland OR          Associate
                                  36       $429       $474     $527        $476        $435      $373

Richmond VA          Partner
                                  11       $397       $595     $690        $544        $523      $452

San Francisco CA     Partner
                                  32       $556       $740     $830        $772        $703      $749

                     Associate
                                  16       $440       $551     $763        $571        $549      $516

Seattle WA           Partner
                                  27       $555       $760     $806        $705        $729      $673

                     Associate
                                  22       $395       $505     $572        $482        $433      $390

Washington DC        Partner


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Section III: Practice Area Analysis
Section  III:Regulatory
Corporate:    Practiceand
                        Area Analysis
                          Compliance                                  Corporate: Regulatory and
By City                                                               Compliance
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Seattle WA           Associate            Quartile            Quartile
Washington DC        Partner
                                  333      $625       $859    $1,052       $863       $862      $841

                     Associate
                                  315      $464       $582     $715        $606       $579      $564




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Section III: Practice Area Analysis
Section
Corporate:III: Practice
           Regulatory andArea Analysis
                          Compliance
                                                                        Corporate: Regulatory and
By Matter Type and YOE                                                  Compliance
                                                                        By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          59     $551       $705     $903      $755     $804     $760

                         Non-Litigation
                                          217    $495       $725     $935      $747     $700     $679

21 or More Years         Litigation
                                          118    $678       $852    $1,103     $906     $856     $818

                         Non-Litigation
                                          383    $563       $725    $1,000     $804     $773     $764




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Section III: Practice Area Analysis
Section
Corporate:III: Practice
           Regulatory andArea Analysis
                          Compliance
                                                                        Corporate: Regulatory and
By Matter Type and YOE                                                  Compliance
                                                                        By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          15     $370       $450     $589      $475     $499

                         Non-Litigation
                                          64     $395       $482     $588      $492     $513     $501

3 to Fewer Than 7        Litigation
Years                                     33     $460       $639     $739      $614     $587     $536

                         Non-Litigation
                                          136    $390       $519     $670      $548     $507     $482

7 or More Years          Litigation
                                          53     $488       $581     $798      $631     $615     $580

                         Non-Litigation
                                          156    $416       $575     $800      $625     $573     $566




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Corporate: Regulatory and
Corporate: Regulatory and Compliance
By Firm Size and Matter Type
                                                                           Compliance
                                                                           By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Litigation       Partner
Fewer                                         14     $463       $629    $1,085     $751     $707      $557

                 Non-Litigation   Partner
                                              115    $450       $544     $617      $526     $544      $525

                                  Associate
                                              61     $250       $306     $364      $290     $305      $341

51-200           Litigation       Partner
Lawyers                                       17     $600       $700     $798      $734     $685      $609

                 Non-Litigation   Partner
                                              98     $407       $492     $642      $568     $553      $562

                                  Associate
                                              63     $325       $404     $586      $469     $409      $392

201-500          Litigation       Partner
Lawyers                                       59     $528       $675     $899      $706     $663      $672

                                  Associate
                                              43     $381       $554     $673      $517     $458      $469

                 Non-Litigation   Partner
                                              111    $533       $649     $777      $664     $623      $616

                                  Associate
                                              91     $387       $474     $565      $502     $439      $397

501-1,000        Litigation       Partner
Lawyers                                       74     $720       $884    $1,108     $940     $947      $935

                                  Associate
                                              84     $474       $609     $807      $624     $623      $596

                 Non-Litigation   Partner
                                              247    $713       $910    $1,085     $948     $914      $871

                                  Associate
                                              269    $485       $578     $695      $618     $592      $557

More Than     Litigation          Partner
1,000 Lawyers                                 65     $830       $895    $1,246     $1,010   $972      $939

                                  Associate
                                              76     $460       $535     $745      $583     $613      $602

                 Non-Litigation   Partner
                                              190    $830      $1,008   $1,175     $1,001   $911      $918

                                  Associate
                                              192    $500       $661     $809      $671     $631      $604


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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Regulatory and Compliance
                                                                          Corporate: Regulatory and
By Firm Size and Matter Type                                              Compliance
                                                                          By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                    First               Third
Firm Size        Matter Type     Role         n               Median              2022     2021     2020
                                 Partner           Quartile            Quartile
More Than     Non-Litigation     Associate
1,000 Lawyers                                192    $500       $661     $809      $671     $631      $604




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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  52       $390       $466     $566        $476       $498      $489

                     Associate
                                  42       $297       $348     $390        $342       $328      $317

Baltimore MD         Partner
                                  24       $597       $627     $813        $697       $623      $592

                     Associate
                                  19       $412       $500     $581        $541       $457      $436

Boston MA            Partner
                                  27       $450       $578     $707        $587       $549      $569

                     Associate
                                  23       $367       $421     $496        $430       $474      $489

Chicago IL           Partner
                                  108      $490       $655     $768        $685       $713      $652

                     Associate
                                  86       $310       $395     $501        $426       $452      $427

Cincinnati OH        Partner
                                  11       $419       $488     $590        $502       $439      $420

Cleveland OH         Partner
                                  36       $375       $424     $510        $471       $466      $467

                     Associate
                                  34       $266       $295     $342        $326       $312      $307

Dallas TX            Partner
                                  41       $379       $449     $583        $496       $536      $515

                     Associate
                                  20       $312       $342     $383        $360       $401      $358

Denver CO            Partner
                                  28       $455       $528     $664        $574       $538      $530

                     Associate
                                  18       $296       $329     $351        $349       $313      $316

Houston TX           Partner


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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Denver CO            Associate            Quartile            Quartile
Houston TX           Partner
                                  21       $456       $540     $667        $562       $568      $591

Kansas City MO       Partner
                                  19       $383       $410     $434        $417       $421      $407

                     Associate
                                  14       $250       $270     $321        $284       $295      $294

Los Angeles CA       Partner
                                  115      $525       $666     $935        $743       $694      $640

                     Associate
                                  98       $325       $390     $495        $446       $494      $467

Memphis TN           Partner
                                  12       $350       $415     $468        $406       $378      $381

Miami FL             Partner
                                  14       $438       $486     $673        $592       $615      $553

                     Associate
                                  14       $278       $415     $652        $476       $424      $386

Minneapolis MN       Partner
                                  30       $454       $600     $686        $572       $562      $550

                     Associate
                                  19       $342       $410     $475        $395       $417      $428

Nashville TN         Partner
                                  26       $392       $458     $488        $448       $429      $434

                     Associate
                                  16       $251       $270     $321        $279       $282      $278

New York NY          Partner
                                  222      $470       $605     $850        $701       $680      $674

                     Associate
                                  182      $325       $413     $553        $488       $485      $455

Orlando FL           Partner
                                  11       $470       $475     $475        $485       $462      $466

Philadelphia PA      Partner


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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Orlando FL           Partner              Quartile            Quartile
Philadelphia PA      Partner
                                  99       $525       $659     $810        $678       $665      $655

                     Associate
                                  104      $375       $442     $500        $448       $428      $405

Phoenix AZ           Partner
                                  14       $437       $536     $563        $506       $514      $454

Pittsburgh PA        Partner
                                  26       $519       $630     $756        $644       $592      $576

                     Associate
                                  26       $318       $350     $392        $388       $389      $367

Portland OR          Associate
                                  26       $320       $376     $428        $390       $344      $344

San Diego CA         Partner
                                  18       $407       $456     $553        $528       $564      $491

                     Associate
                                  25       $300       $325     $380        $351       $373      $361

San Francisco CA     Partner
                                  54       $404       $576     $728        $597       $566      $549

                     Associate
                                  40       $303       $336     $422        $368       $370      $368

San Jose CA          Partner
                                  15       $632       $730     $856        $779       $704      $722

Seattle WA           Partner
                                  39       $421       $500     $650        $549       $498      $541

                     Associate
                                  33       $307       $354     $466        $411       $427      $377

St. Louis MO         Partner
                                  12       $396       $435     $548        $495       $485      $519

Tampa FL             Partner
                                  16       $370       $375     $483        $440       $445      $492

Washington DC        Partner


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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Tampa FL             Partner              Quartile            Quartile
Washington DC        Partner
                                  147      $619       $730     $860        $759       $736      $740

                     Associate
                                  90       $420       $510     $625        $521       $503      $499




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Employment and Labor
                                                                        Employment and Labor
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          148    $372       $475     $666      $535     $513     $484

                         Non-Litigation
                                          303    $395       $476     $634      $541     $538     $522

21 or More Years         Litigation
                                          298    $443       $585     $801      $648     $595     $592

                         Non-Litigation
                                          591    $470       $580     $743      $634     $620     $612




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Employment and Labor
                                                                        Employment and Labor
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          37     $329       $350     $420      $391     $362     $316

                         Non-Litigation
                                          43     $298       $325     $369      $343     $322     $445

3 to Fewer Than 7        Litigation
Years                                     89     $290       $355     $455      $384     $346     $331

7 or More Years          Litigation
                                          166    $322       $396     $517      $435     $408     $396

                         Non-Litigation
                                          242    $315       $380     $495      $418     $416     $406




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Employment and Labor
Employment and Labor                                                       By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Litigation       Partner
Fewer                                         58     $313       $398     $496      $421     $402      $411

                                  Associate
                                              37     $250       $280     $342      $297     $311      $295

                 Non-Litigation   Partner
                                              47     $375       $450     $550      $471     $452      $435

                                  Associate
                                              19     $265       $285     $350      $297     $254      $300

51-200           Litigation       Partner
Lawyers                                       48     $300       $370     $485      $405     $429      $431

                                  Associate
                                              24     $250       $290     $345      $310     $306      $318

                 Non-Litigation   Partner
                                              126    $406       $525     $723      $581     $574      $550

                                  Associate
                                              80     $244       $289     $365      $328     $358      $351

201-500          Litigation       Partner
Lawyers                                       132    $404       $476     $595      $532     $505      $517

                                  Associate
                                              117    $304       $350     $411      $385     $390      $378

                 Non-Litigation   Partner
                                              238    $375       $445     $545      $491     $485      $494

                                  Associate
                                              135    $295       $340     $413      $362     $348      $351

501-1,000        Litigation       Partner
Lawyers                                       167    $475       $634     $765      $682     $645      $589

                                  Associate
                                              140    $310       $387     $475      $425     $432      $392

                 Non-Litigation   Partner
                                              403    $470       $528     $665      $601     $575      $574

                                  Associate
                                              293    $306       $335     $425      $394     $400      $384

More Than        Litigation       Partner
1,000 Lawyers                                 126    $628       $795     $918      $791     $793      $789

                                  Associate
                                              146    $415       $495     $575      $509     $510      $502


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Section
Section III:
         III:Practice
              PracticeArea
Employment and Labor
                       AreaAnalysis
                            Analysis                                       Employment and Labor
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                  Partner           Quartile            Quartile
More Than        Litigation       Associate
1,000 Lawyers                                 146    $415       $495     $575      $509     $510      $502

                 Non-Litigation   Partner
                                              202    $655       $750     $876      $808     $796      $780

                                  Associate
                                              211    $380       $450     $546      $494     $492      $471




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Environmental                                                         Environmental
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Los Angeles CA       Partner
                                  11       $515       $550     $663        $753       $568      $557

New York NY          Partner
                                  27       $414       $525     $616        $616       $656      $590

                     Associate
                                  26       $298       $340     $400        $382       $502      $432

Washington DC        Partner
                                  14       $660       $803     $957        $812       $745      $744

                     Associate
                                  18       $400       $565     $695        $567       $543      $475




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Environmental                                                          Environmental
By Matter Type and YOE                                                 By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                    Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 21 Years Litigation
                                          12    $348       $404     $446      $428     $466     $455

                         Non-Litigation
                                          12    $456       $515     $644      $586     $475     $427

21 or More Years         Litigation
                                          33    $483       $590     $662      $650     $560     $548

                         Non-Litigation
                                          57    $448       $542     $840      $681     $644     $614




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Environmental                                                          Environmental
By Matter Type and YOE                                                 By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                    Trend Analysis - Mean
                         Matter             First               Third
Years of Experience                   n               Median                2022       2021     2020
                         Type              Quartile            Quartile
7 or More Years          Litigation
                                      13    $370       $425     $500        $441       $368      $377




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Section
Section III:
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              PracticeArea
                       AreaAnalysis
                            Analysis                                      Environmental
By Firm Size and Matter Type
                                                                          By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022     2021     2020
                                                    Quartile            Quartile
51-200 Lawyers Litigation          Partner
                                               16    $350       $415     $535      $444     $464     $456

                  Non-Litigation   Partner
                                               38    $401       $474     $552      $487     $506     $490

                                   Associate
                                               14    $294       $325     $383      $361     $360     $304

201-500           Litigation       Partner
Lawyers                                        15    $550       $617     $654      $598     $557     $528

                  Non-Litigation   Partner
                                               13    $530       $701     $743      $695     $645     $614

501-1,000         Litigation       Partner
Lawyers                                        14    $517       $583     $625      $594     $593     $608

                                   Associate
                                               22    $400       $530     $670      $525     $394     $406

                  Non-Litigation   Partner
                                               11    $809       $938     $972      $871     $716     $715

                                   Associate
                                               12    $426       $575     $642      $546     $481     $473

More Than         Non-Litigation   Partner
1,000 Lawyers                                  14    $678       $948    $1,440     $1,085   $1,002   $944




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Section III: Practice Area Analysis
Section  III:Securities
Finance and  Practice Area Analysis                                   Finance and Securities
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022        2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  50       $751       $871    $1,045       $897        $789      $839

                     Associate
                                  55       $448       $599     $743        $619        $539      $548

Baltimore MD         Partner
                                  34       $566       $650    $1,108       $806        $649      $631

                     Associate
                                  13       $360       $482     $680        $526        $453      $492

Boston MA            Partner
                                  59       $735      $1,016   $1,340      $1,062      $1,076     $964

                     Associate
                                  84       $518       $678     $874        $701        $703      $629

Charlotte NC         Partner
                                  45       $580       $692     $798        $743        $779      $696

                     Associate
                                  40       $355       $440     $640        $529        $532      $465

Chicago IL           Partner
                                  172      $751      $1,000   $1,324      $1,066      $1,034    $1,001

                     Associate
                                  152      $523       $630     $851        $682        $677      $598

Cincinnati OH        Associate
                                  14       $250       $278     $317        $278        $266      $254

Cleveland OH         Partner
                                  54       $450       $495     $627        $578        $552      $568

Dallas TX            Partner
                                  46       $572       $925    $1,072       $897        $925      $847

                     Associate
                                  52       $484       $625     $751        $628        $606      $597

Denver CO            Partner
                                  20       $473       $510     $584        $549        $529      $513

                     Associate
                                  21       $303       $335     $379        $353        $336      $315

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Section III: Practice Area Analysis
Section  III:Securities
Finance and  Practice Area Analysis                                   Finance and Securities
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  20       First
                                           $473       $510     Third
                                                               $584        $549        $529      $513
City                 Role         n                  Median                2022        2021      2020
                     Partner              Quartile            Quartile
Denver CO            Associate
                                  21       $303       $335     $379        $353        $336      $315

Houston TX           Partner
                                  32       $855      $1,345   $1,526      $1,212      $1,229    $1,075

                     Associate
                                  40       $530       $691     $836        $669        $663      $614

Kansas City MO       Partner
                                  28       $500       $570     $665        $589        $520      $469

                     Associate
                                  14       $356       $395     $436        $388        $349      $322

Los Angeles CA       Partner
                                  148      $795      $1,166   $1,372      $1,109      $1,096    $1,072

                     Associate
                                  217      $517       $759     $993        $760        $844      $756

Miami FL             Partner
                                  23       $492       $591     $779        $661        $683      $687

                     Associate
                                  16       $385       $467     $604        $524        $428      $457

Minneapolis MN       Partner
                                  20       $626       $841     $876        $782        $717      $693

New York NY          Partner
                                  629      $973      $1,330   $1,650      $1,302      $1,264    $1,182

                     Associate
                                  829      $587       $813    $1,067       $827        $809      $750

Philadelphia PA      Partner
                                  75       $700       $875     $989        $891        $876      $823

                     Associate
                                  69       $410       $459     $575        $525        $476      $476

Phoenix AZ           Partner
                                  26       $384       $425     $480        $459        $468      $472

                     Associate
                                  12       $184       $215     $271        $250        $254      $239

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Section III: Practice Area Analysis
Section  III:Securities
Finance and  Practice Area Analysis                                   Finance and Securities
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  26       First
                                           $384       $425     Third
                                                               $480        $459        $468      $472
City                 Role         n                  Median                2022        2021      2020
                     Partner              Quartile            Quartile
Phoenix AZ           Associate
                                  12       $184       $215     $271        $250        $254      $239

Pittsburgh PA        Partner
                                  48       $491       $668     $872        $695        $757      $657

                     Associate
                                  35       $425       $503     $559        $508        $466      $396

Portland OR          Associate
                                  15       $369       $409     $515        $425        $394      $350

Richmond VA          Partner
                                  28       $766       $878    $1,029       $907        $797      $780

San Diego CA         Partner
                                  16       $355       $565     $783        $680        $831      $819

San Francisco CA     Partner
                                  31       $798       $969    $1,054       $954       $1,051    $1,052

                     Associate
                                  29       $580       $702     $890        $723        $722      $697

San Jose CA          Partner
                                  11      $1,120     $1,473   $1,669      $1,359      $1,343    $1,197

Seattle WA           Partner
                                  32       $480       $518     $668        $580        $591      $561

                     Associate
                                  24       $299       $355     $522        $404        $472      $472

Washington DC        Partner
                                  162      $795      $1,000   $1,330      $1,064      $1,038     $971

                     Associate
                                  86       $510       $670     $905        $715        $703      $646




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Finance and Securities
                                                                        Finance and Securities
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                      Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021      2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          52     $471       $574     $780      $672     $626      $564

                         Non-Litigation
                                          510    $550       $792    $1,230     $901     $931      $864

21 or More Years         Litigation
                                          83     $542       $683    $1,005     $801     $788      $809

                         Non-Litigation
                                          851    $675       $995    $1,450     $1,057   $1,058    $987




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Section III: Practice Area Analysis
Section   III:Securities
Finance and    Practice Area Analysis                                   Finance and Securities
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Non-Litigation
                                          124    $343       $485     $675      $520     $571     $578

3 to Fewer Than 7        Litigation
Years                                     19     $288       $360     $456      $375     $340     $376

                         Non-Litigation
                                          232    $361       $526     $800      $601     $608     $518

7 or More Years          Litigation
                                          28     $304       $515     $730      $548     $511     $491

                         Non-Litigation
                                          312    $445       $663    $1,000     $743     $749     $717




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Section
Section III:
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                PracticeArea
Finance and Securities
                         AreaAnalysis
                              Analysis                                     Finance and Securities
                                                                           By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Non-Litigation   Partner
Fewer                                         117    $381       $487     $624      $535     $524      $493

                                  Associate
                                              68     $275       $340     $432      $378     $370      $339

51-200           Litigation       Partner
Lawyers                                       24     $358       $460     $690      $533     $510      $560

                                  Associate
                                              12     $257       $363     $577      $412     $407      $391

                 Non-Litigation   Partner
                                              229    $416       $500     $716      $584     $604      $577

                                  Associate
                                              146    $271       $380     $479      $412     $404      $377

201-500          Litigation       Partner
Lawyers                                       32     $447       $540     $631      $573     $608      $595

                                  Associate
                                              50     $276       $302     $392      $348     $347      $361

                 Non-Litigation   Partner
                                              325    $545       $740    $1,111     $840     $848      $797

                                  Associate
                                              290    $369       $535     $721      $569     $551      $540

501-1,000        Litigation       Partner
Lawyers                                       47     $676       $886    $1,090     $933     $907      $903

                                  Associate
                                              50     $485       $547     $636      $590     $523      $495

                 Non-Litigation   Partner
                                              564    $871      $1,100   $1,565     $1,198   $1,182   $1,092

                                  Associate
                                              662    $565       $733     $965      $783     $787      $712

More Than        Litigation       Partner
1,000 Lawyers                                 54     $645       $838    $1,113     $905     $859      $917

                                  Associate
                                              41     $438       $577     $828      $655     $572      $556

                 Non-Litigation   Partner
                                              566    $950      $1,250   $1,525     $1,243   $1,197   $1,127

                                  Associate
                                              633    $595       $820    $1,053     $827     $812      $746


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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Finance and Securities
                                                                           Finance and Securities
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                  Partner           Quartile            Quartile
More Than        Non-Litigation   Associate
1,000 Lawyers                                 633    $595       $820    $1,053     $827     $812      $746




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Section III: Practice Area Analysis
Section  III: Practice
General Liability         Area
                  - Litigation  Analysis
                               Only                                   General Liability -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  16       $238       $300     $550        $427       $407      $426

                     Associate
                                  13       $210       $270     $598        $386       $276      $269

Baltimore MD         Partner
                                  16       $488       $600     $625        $536       $624      $619

                     Associate
                                  24       $400       $448     $513        $445       $484      $445

Birmingham AL        Partner
                                  12       $400       $480     $564        $457       $360      $345

Boston MA            Partner
                                  14       $185       $225     $331        $345       $381      $374

                     Associate
                                  11       $170       $180     $275        $220       $357      $290

Charleston WV        Partner
                                  11       $200       $268     $310        $261       $265      $268

Chicago IL           Partner
                                  41       $215       $320     $895        $538       $539      $497

                     Associate
                                  31       $225       $235     $353        $373       $409      $296

Dallas TX            Partner
                                  11       $190       $250     $434        $316       $335      $295

Indianapolis IN      Partner
                                  14       $220       $250     $472        $365       $318      $348

Jackson MS           Partner
                                  54       $283       $319     $375        $337       $383      $373

                     Associate
                                  34       $225       $240     $251        $240       $245      $250

Kansas City MO       Partner
                                  14       $304       $398     $549        $406       $432      $478

                     Associate
                                  14       $250       $325     $368        $297       $305      $315

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Section III: Practice Area Analysis
Section  III: Practice
General Liability         Area
                  - Litigation  Analysis
                               Only                                   General Liability -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  14       First
                                           $304       $398     Third
                                                               $549        $406       $432      $478
City                 Role         n                  Median                2022       2021      2020
                     Partner              Quartile            Quartile
Kansas City MO       Associate
                                  14       $250       $325     $368        $297       $305      $315

Los Angeles CA       Partner
                                  40       $410       $835     $995        $744       $604      $515

                     Associate
                                  38       $361       $475     $735        $533       $514      $390

Miami FL             Partner
                                  15       $162       $165     $278        $249       $257      $267

Minneapolis MN       Partner
                                  14       $339       $340     $675        $449       $371      $355

Nashville TN         Partner
                                  13       $275       $295     $300        $308       $330      $333

New Orleans LA       Partner
                                  31       $285       $315     $335        $311       $301      $308

                     Associate
                                  27       $212       $238     $242        $230       $221      $225

New York NY          Partner
                                  81       $295       $530     $662        $572       $597      $518

                     Associate
                                  80       $175       $300     $400        $332       $384      $367

Philadelphia PA      Partner
                                  41       $475       $625     $715        $604       $530      $484

                     Associate
                                  53       $412       $430     $565        $444       $414      $381

Phoenix AZ           Partner
                                  12       $236       $275     $401        $315       $353      $281

                     Associate
                                  11       $183       $215     $247        $240       $210      $179

Pittsburgh PA        Associate
                                  11       $245       $334     $435        $356       $319      $334

Portland OR          Partner


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Section  III: Practice
General Liability         Area
                  - Litigation  Analysis
                               Only                                   General Liability -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Pittsburgh PA        Associate            Quartile            Quartile
Portland OR          Partner
                                  11       $288       $305     $333        $318       $291      $276

San Francisco CA     Partner
                                  14       $284       $430     $525        $484       $458      $400

                     Associate
                                  13       $288       $430     $430        $375       $404      $346

St. Louis MO         Partner
                                  17       $200       $300     $357        $303       $360      $353

Washington DC        Partner
                                  49       $895       $950     $950        $953       $870      $817

                     Associate
                                  37       $486       $670     $695        $575       $558      $559




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Section III: Practice Area Analysis
Section   III: Practice
General Liability           Area
                  - Litigation    Analysis
                               Only                                  General Liability -
By Matter Type and YOE                                               Litigation only
                                                                     By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                         Matter              First               Third
Years of Experience                    n               Median              2022       2021      2020
                         Type               Quartile            Quartile
Fewer Than 21 Years Litigation
                                      185    $250       $370     $675      $496       $465      $415

21 or More Years         Litigation
                                      388    $270       $387     $614      $472       $481      $455




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Section III: Practice Area Analysis
Section   III: Practice
General Liability          Area
                  - Litigation   Analysis
                               Only                                  General Liability -
By Matter Type and YOE                                               Litigation only
                                                                     By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                         Matter              First               Third
Years of Experience                    n               Median              2022        2021     2020
                         Type               Quartile            Quartile
Fewer Than 3 Years       Litigation
                                      12     $195       $228     $276      $236        $275

3 to Fewer Than 7        Litigation
Years                                 74     $240       $333     $435      $374        $359     $320

7 or More Years          Litigation
                                      133    $250       $375     $470      $393        $394     $350




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Section III: Practice Area Analysis
Section   III: Practice
General Liability            Area
                  - Litigation Only Analysis
                                                                         General Liability -
By Firm Size and Matter Type                                             Litigation only
                                                                         By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                         Trend Analysis - Mean
                 Matter                           First               Third
Firm Size                      Role         n               Median              2022     2021      2020
                 Type                            Quartile            Quartile
50 Lawyers or    Litigation    Partner
Fewer                                      206    $210       $275     $340      $293     $273      $257

                               Associate
                                           131    $165       $210     $250      $223     $213      $201

51-200           Litigation    Partner
Lawyers                                    207    $225       $319     $384      $330     $322      $314

                               Associate
                                           156    $200       $225     $263      $236     $227      $222

201-500          Litigation    Associate
Lawyers                                    93     $280       $330     $400      $344     $328      $312

501-1,000        Litigation    Partner
Lawyers                                    107    $575       $700     $950      $752     $710      $651

                               Associate
                                           99     $392       $464     $599      $492     $489      $432

More Than        Litigation    Partner
1,000 Lawyers                              85     $715       $895    $1,060     $912     $890      $834

                               Associate
                                           97     $430       $525     $616      $547     $577      $577




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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Albany NY            Partner
                                  13       $150       $150     $195        $168       $181      $182

Atlanta GA           Partner
                                  112      $180       $190     $235        $244       $227      $256

                     Associate
                                  127      $165       $187     $240        $208       $195      $202

Baltimore MD         Partner
                                  40       $175       $184     $195        $213       $210      $262

                     Associate
                                  49       $150       $160     $180        $180       $180      $183

Baton Rouge LA       Partner
                                  13       $170       $171     $243        $192       $182      $174

Birmingham AL        Partner
                                  38       $154       $180     $194        $328       $297      $222

                     Associate
                                  26       $155       $155     $190        $177       $170      $168

Boston MA            Partner
                                  48       $180       $213     $220        $262       $235      $235

                     Associate
                                  34       $155       $175     $185        $234       $264      $230

Buffalo NY           Partner
                                  71       $160       $175     $200        $181       $177      $182

                     Associate
                                  62       $140       $147     $160        $150       $151      $148

Charleston SC        Partner
                                  15       $170       $175     $200        $191       $199      $197

                     Associate
                                  16       $145       $165     $165        $156       $153      $148

Charleston WV        Partner
                                  53       $169       $175     $191        $196       $195      $194

                     Associate


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                     Partner              Quartile            Quartile
Charleston WV        Associate
                                  17       $150       $160     $165        $164       $182      $190

Charlotte NC         Partner
                                  22       $180       $185     $195        $202       $218      $187

                     Associate
                                  13       $158       $168     $205        $199       $191      $162

Chicago IL           Partner
                                  191      $180       $215     $276        $262       $270      $265

                     Associate
                                  159      $159       $178     $220        $202       $203      $224

Cincinnati OH        Partner
                                  20       $155       $165     $180        $182       $181      $180

                     Associate
                                  15       $140       $155     $205        $170       $170      $160

Cleveland OH         Partner
                                  40       $174       $180     $184        $186       $186      $182

                     Associate
                                  34       $160       $160     $160        $161       $165      $159

Columbia SC          Partner
                                  46       $180       $180     $190        $183       $182      $172

                     Associate
                                  41       $160       $165     $170        $163       $163      $156

Columbus OH          Partner
                                  19       $170       $173     $177        $178       $170      $175

                     Associate
                                  11       $146       $155     $162        $166       $151      $150

Dallas TX            Partner
                                  60       $182       $225     $275        $265       $246      $242

                     Associate
                                  44       $165       $193     $220        $216       $192      $189

Denver CO            Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Dallas TX            Associate            Quartile            Quartile
Denver CO            Partner
                                  42       $161       $180     $226        $198       $190      $185

                     Associate
                                  46       $140       $150     $170        $160       $163      $162

Des Moines IA        Partner
                                  13       $169       $190     $200        $183       $179      $176

Detroit MI           Partner
                                  123      $160       $173     $175        $182       $194      $175

                     Associate
                                  116      $153       $162     $162        $159       $164      $154

Greenville SC        Associate
                                  15       $140       $165     $165        $167       $160      $160

Harrisburg PA        Partner
                                  21       $162       $167     $200        $178       $179      $176

Hartford CT          Partner
                                  19       $190       $223     $460        $331       $326      $272

                     Associate
                                  14       $174       $181     $211        $214       $210      $211

Honolulu HI          Partner
                                  11       $152       $195     $219        $186       $190      $180

Houston TX           Partner
                                  52       $193       $225     $270        $307       $323      $298

                     Associate
                                  38       $180       $200     $225        $232       $232      $238

Indianapolis IN      Partner
                                  27       $155       $176     $185        $175       $164      $176

Jackson MS           Partner
                                  19       $135       $155     $200        $178       $194      $194

Jacksonville FL      Partner
                                  17       $180       $180     $183        $181       $181      $178

Kansas City MO       Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Jacksonville FL      Partner              Quartile            Quartile
Kansas City MO       Partner
                                  49       $185       $232     $278        $249       $238      $198

                     Associate
                                  44       $170       $185     $204        $190       $179      $184

Las Vegas NV         Partner
                                  33       $185       $215     $230        $209       $204      $206

Lexington KY         Partner
                                  14       $160       $161     $164        $162       $164      $165

                     Associate
                                  27       $140       $140     $143        $142       $140      $138

Little Rock AR       Partner
                                  14       $165       $190     $205        $316       $321      $230

Los Angeles CA       Partner
                                  306      $225       $240     $266        $291       $306      $332

                     Associate
                                  225      $185       $200     $225        $227       $224      $219

Louisville KY        Partner
                                  15       $133       $154     $167        $176       $162      $153

Miami FL             Partner
                                  98       $180       $185     $220        $228       $239      $232

                     Associate
                                  69       $168       $174     $199        $196       $178      $165

Milwaukee WI         Partner
                                  27       $175       $185     $185        $191       $192      $192

Minneapolis MN       Partner
                                  70       $175       $180     $224        $208       $205      $211

                     Associate
                                  40       $160       $165     $185        $171       $175      $183

Morgantown WV        Partner
                                  12       $160       $169     $181        $171       $168      $167

Nashville TN         Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Morgantown WV        Partner              Quartile            Quartile
Nashville TN         Partner
                                  22       $165       $175     $185        $188       $183      $170

                     Associate
                                  15       $146       $150     $169        $165       $144      $132

New Orleans LA       Partner
                                  45       $175       $195     $225        $256       $197      $242

                     Associate
                                  18       $149       $171     $177        $169       $147      $157

New York NY          Partner
                                  299      $175       $200     $230        $265       $261      $259

                     Associate
                                  256      $159       $175     $200        $244       $242      $210

Oklahoma City OK Partner
                                  14       $150       $155     $225        $196       $275      $210

Orlando FL           Partner
                                  33       $166       $180     $180        $186       $178      $168

                     Associate
                                  25       $150       $155     $170        $159       $161      $152

Philadelphia PA      Partner
                                  219      $175       $185     $215        $207       $225      $230

                     Associate
                                  201      $160       $170     $196        $192       $191      $189

Phoenix AZ           Partner
                                  74       $175       $190     $220        $215       $237      $211

                     Associate
                                  54       $175       $191     $210        $198       $194      $188

Pittsburgh PA        Partner
                                  60       $170       $175     $175        $176       $170      $172

                     Associate
                                  53       $155       $160     $160        $160       $158      $158

Portland OR          Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Pittsburgh PA        Associate            Quartile            Quartile
Portland OR          Partner
                                  28       $190       $230     $255        $245       $243      $238

                     Associate
                                  25       $171       $187     $200        $196       $198      $191

Providence RI        Partner
                                  15       $174       $175     $223        $203       $196      $193

Raleigh NC           Partner
                                  15       $183       $190     $195        $196       $200      $226

                     Associate
                                  14       $140       $158     $165        $176       $191      $179

Richmond VA          Partner
                                  34       $178       $195     $200        $330       $317      $311

                     Associate
                                  20       $166       $175     $200        $180       $181      $178

Salt Lake City UT    Partner
                                  27       $171       $199     $249        $223       $205      $214

San Diego CA         Partner
                                  52       $215       $253     $346        $438       $454      $449

San Francisco CA     Partner
                                  165      $217       $250     $280        $305       $314      $344

                     Associate
                                  65       $180       $195     $240        $226       $237      $210

Seattle WA           Partner
                                  55       $197       $250     $375        $344       $339      $306

                     Associate
                                  28       $177       $190     $240        $213       $208      $208

Springfield IL       Partner
                                  12       $165       $166     $166        $165       $165      $171

St. Louis MO         Partner
                                  39       $166       $180     $210        $202       $186      $196

Tampa FL             Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
St. Louis MO         Partner              Quartile            Quartile
Tampa FL             Partner
                                  36       $176       $184     $220        $202       $201      $202

                     Associate
                                  38       $180       $205     $235        $205       $198      $181

Tulsa OK             Partner
                                  15       $150       $150     $225        $195       $190      $193

                     Associate
                                  19       $225       $235     $242        $229       $218      $212

Washington DC        Partner
                                  62       $250       $510     $883        $633       $598      $599

                     Associate
                                  36       $351       $565     $832        $573       $528      $511




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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense        Area Only
                  - Litigation Analysis                                Insurance Defense -
By Matter Type and YOE                                                 Litigation only
                                                                       By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                       Trend Analysis - Mean
                         Matter                First               Third
Years of Experience                    n                 Median              2022        2021     2020
                         Type                 Quartile            Quartile
Fewer Than 21 Years Litigation
                                      773      $175       $187     $225      $221        $217     $219

21 or More Years         Litigation
                                      1,599    $170       $190     $230      $224        $219     $217




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Section III: Practice Area Analysis
Section
Insurance III: Practice
           Defense        AreaOnly
                   - Litigation Analysis                                Insurance Defense -
By Matter Type and YOE                                                  Litigation only
                                                                        By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                     Trend Analysis - Mean
                         Matter              First               Third
Years of Experience                    n               Median                2022       2021     2020
                         Type               Quartile            Quartile
Fewer Than 3 Years       Litigation
                                      124    $160       $175     $200        $192       $179      $194

3 to Fewer Than 7        Litigation
Years                                 330    $160       $180     $215        $226       $216      $207

7 or More Years          Litigation
                                      503    $155       $175     $200        $208       $207      $203




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Section III: Practice Area Analysis
Section
Insurance III: Practice
          Defense         Area
                  - Litigation   Analysis
                               Only
                                                                           Insurance Defense -
By Firm Size and Matter Type                                               Litigation only
                                                                           By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                 Matter                             First               Third
Firm Size                      Role         n                 Median              2022     2021      2020
                 Type                              Quartile            Quartile
50 Lawyers or    Litigation    Partner
Fewer                                      1,480    $165       $180     $215      $217     $210      $209

                               Associate
                                           1,072    $145       $161     $185      $172     $170      $165

51-200           Litigation    Partner
Lawyers                                    870      $175       $190     $224      $213     $216      $207

                               Associate
                                           668      $160       $170     $188      $178     $181      $175

201-500          Litigation    Partner
Lawyers                                    435      $225       $245     $280      $310     $325      $308

                               Associate
                                           274      $185       $200     $240      $240     $231      $224

501-1,000        Litigation    Partner
Lawyers                                    106      $230       $275     $475      $410     $423      $476

                               Associate
                                           100      $200       $270     $514      $376     $340      $357

More Than        Litigation    Partner
1,000 Lawyers                               36      $800      $1,038   $1,233     $1,012   $967      $903

                               Associate
                                            62      $489       $624     $863      $654     $615      $607




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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Other                                     Intellectual Property: Other
By City                                                           By City

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                 Trend Analysis - Mean
                                       First               Third
City                 Role       n                Median                2022       2021      2020
                                      Quartile            Quartile
New York NY          Partner
                                13     $575       $700     $875        $734       $729      $885




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Other
                                                                       Intellectual Property: Other
By Matter Type and YOE
                                                                       By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                    Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 21 Years Non-Litigation
                                          12    $300       $559     $724      $600     $583     $571

21 or More Years         Litigation
                                          11    $587       $625     $702      $672     $751     $774

                         Non-Litigation
                                          29    $510       $700     $875      $711     $699     $713




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Section III: Practice Area Analysis
Section     III: Practice Area Analysis
Intellectual Property: Other
                                                                          Intellectual Property: Other
                                                                          By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022    2021     2020
                                                    Quartile            Quartile
50 Lawyers or     Non-Litigation   Partner
Fewer                                          12    $299       $368     $507      $420    $448      $499

201-500           Non-Litigation   Partner
Lawyers                                        16    $416       $524     $587      $538    $510      $501

More Than         Non-Litigation   Partner
1,000 Lawyers                                  15    $824       $965    $1,105     $968    $926      $967

                                   Associate
                                               14    $453       $595     $650      $585    $562      $497




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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Patents                                       Intellectual Property: Patents
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  15       $621       $692     $782        $699       $618      $587

                     Associate
                                  16       $451       $502     $608        $520       $494      $457

Austin TX            Partner
                                  21       $535       $743     $858        $680       $660      $598

                     Associate
                                  24       $401       $569     $683        $530       $506      $516

Boston MA            Partner
                                  31       $550       $693     $836        $675       $682      $654

                     Associate
                                  14       $351       $483     $747        $527       $480      $487

Chicago IL           Partner
                                  30       $447       $573     $849        $693       $629      $644

                     Associate
                                  22       $395       $495     $595        $504       $499      $474

Cleveland OH         Associate
                                  22       $150       $200     $211        $239       $240      $264

Dallas TX            Partner
                                  11       $728       $924     $995        $886       $748      $685

                     Associate
                                  13       $608       $690     $758        $667       $568      $574

Houston TX           Partner
                                  23       $325       $492     $876        $632       $564      $566

                     Associate
                                  45       $200       $245     $335        $297       $257      $237

Los Angeles CA       Partner
                                  28       $708       $950    $1,100       $943       $873      $852

                     Associate
                                  83       $575       $765     $890        $736       $698      $660

New York NY          Partner


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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Patents                                       Intellectual Property: Patents
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022        2021      2020
Los Angeles CA       Associate            Quartile            Quartile
New York NY          Partner
                                  45       $618       $895    $1,089       $866        $817      $772

                     Associate
                                  57       $519       $625     $859        $662        $601      $561

Philadelphia PA      Partner
                                  31       $603       $746     $840        $758        $670      $686

                     Associate
                                  26       $391       $423     $475        $432        $384      $392

Salt Lake City UT    Partner
                                  12       $350       $371     $413        $381        $285      $334

San Francisco CA     Partner
                                  28       $767      $1,085   $1,307      $1,038       $939      $904

                     Associate
                                  27       $464       $690     $897        $684        $637      $634

San Jose CA          Partner
                                  14       $527       $784    $1,079       $791        $752      $748

                     Associate
                                  14       $451       $632     $832        $704        $610      $418

Washington DC        Partner
                                  103      $589       $900    $1,035       $853        $806      $738

                     Associate
                                  91       $386       $695     $823        $648        $545      $528




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Section III: Practice Area Analysis
Section    III: Practice Area Analysis
Intellectual Property: Patents
                                                                        Intellectual Property: Patents
                                                                        By Matter Type and YOE
By Matter Type and YOE


2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          91     $694       $893     $996      $856     $746     $710

                         Non-Litigation
                                          91     $408       $525     $755      $603     $526     $521

21 or More Years         Litigation
                                          109    $623       $895    $1,105     $878     $847     $817

                         Non-Litigation
                                          111    $422       $623     $871      $692     $619     $582




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Patents
                                                                       Intellectual Property: Patents
By Matter Type and YOE
                                                                       By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 3 Years       Non-Litigation
                                          18    $326       $403     $512      $427     $341

3 to Fewer Than 7        Litigation
Years                                     51    $485       $670     $852      $652     $545     $503

                         Non-Litigation
                                          27    $386       $690     $874      $651     $490     $388

7 or More Years          Litigation
                                          56    $555       $695     $886      $706     $628     $575




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Section III:
Section     III:Practice
                  PracticeAreaArea Analysis
                                 Analysis                                 Intellectual Property: Patents
Intellectual Property: Patents                                            By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2022     2021     2020
                                                   Quartile            Quartile
50 Lawyers or Litigation         Partner
Fewer                                        34     $409       $539     $629      $562     $551     $556

                                 Associate
                                             14     $311       $499     $625      $488     $410     $390

                Non-Litigation   Partner
                                             40     $295       $335     $395      $365     $391     $384

                                 Associate
                                             56     $202       $248     $312      $282     $301     $305

51-200          Litigation       Partner
Lawyers                                      28     $612       $745     $838      $766     $629     $596

                                 Associate
                                             18     $298       $453     $730      $511     $426     $394

                Non-Litigation   Partner
                                             65     $434       $520     $620      $549     $520     $523

                                 Associate
                                             26     $312       $367     $445      $387     $335     $336

201-500         Litigation       Partner
Lawyers                                      39     $608       $764     $989      $802     $766     $705

                                 Associate
                                             29     $425       $505     $664      $561     $475     $436

                Non-Litigation   Partner
                                             50     $427       $542     $723      $588     $603     $588

                                 Associate
                                             35     $331       $391     $465      $410     $415     $398

501-1,000       Litigation       Partner
Lawyers                                      88     $760       $950    $1,155     $988     $905     $884

                                 Associate
                                             108    $532       $695     $886      $708     $648     $644

                Non-Litigation   Partner
                                             48     $763       $862    $1,057     $937     $870     $807

                                 Associate
                                             80     $420       $581     $698      $592     $563     $546

More Than     Litigation         Partner
1,000 Lawyers


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Section III: Practice Area Analysis
Section     III: Practice Area Analysis
Intellectual Property: Patents
                                                                         Intellectual Property: Patents
                                                                         By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                         Trend Analysis - Mean
501-1,000                                          First               Third
Firm Size     Matter Type        Role        n               Median              2022     2021     2020
Lawyers       Non-Litigation     Associate        Quartile            Quartile
More Than     Litigation         Partner
1,000 Lawyers                                63    $873       $946    $1,073     $985     $973     $922

                                 Associate
                                             83    $555       $742     $796      $707     $668     $612

                Non-Litigation   Partner
                                             28    $772      $1,095   $1,197     $982     $875     $884

                                 Associate
                                             48    $589       $803     $899      $723     $657     $613




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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Trademarks                                    Intellectual Property:
By City                                                               Trademarks
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Chicago IL           Partner
                                  22       $420       $723     $808        $638       $609      $653

New York NY          Partner
                                  15       $458       $593     $941        $678       $659      $637

                     Associate
                                  13       $300       $395     $635        $458       $408      $401

Washington DC        Partner
                                  22       $520       $660     $936        $711       $702      $715

                     Associate
                                  17       $390       $542     $695        $532       $542      $475




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Trademarks
                                                                       Intellectual Property:
By Matter Type and YOE                                                 Trademarks
                                                                       By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                    Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 21 Years Non-Litigation
                                          21    $454       $489     $734      $598     $595     $586

21 or More Years         Litigation
                                          12    $693       $886    $1,035     $848     $708     $639

                         Non-Litigation
                                          54    $500       $589     $699      $614     $627     $643




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Trademarks
                                                                       Intellectual Property:
By Matter Type and YOE                                                 Trademarks
                                                                       By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
3 to Fewer Than 7        Non-Litigation
Years                                     13    $357       $383     $410      $402     $353     $360




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Section III: Practice Area Analysis
Section     III: Practice Area Analysis
Intellectual Property: Trademarks
                                                                          Intellectual Property:
By Firm Size and Matter Type                                              Trademarks
                                                                          By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                    First               Third
Firm Size        Matter Type      Role        n               Median              2022     2021     2020
                                                   Quartile            Quartile
50 Lawyers or    Non-Litigation   Partner
Fewer                                         25    $383       $420     $495      $448     $468      $511

                                  Associate
                                              17    $260       $300     $319      $293     $294      $312

201-500          Non-Litigation   Partner
Lawyers                                       24    $500       $589     $660      $582     $606      $585

                                  Associate
                                              22    $346       $400     $435      $395     $377      $374

501-1,000        Non-Litigation   Partner
Lawyers                                       22    $523       $702     $928      $692     $701      $693

                                  Associate
                                              12    $394       $574     $670      $536     $505      $485

More Than     Non-Litigation      Partner
1,000 Lawyers                                 23    $698       $820    $1,014     $850     $836      $818

                                  Associate
                                              17    $410       $492     $700      $546     $529      $480




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  41       $301       $408     $545        $452       $388      $379

                     Associate
                                  38       $250       $300     $413        $329       $317      $290

Baltimore MD         Partner
                                  24       $300       $315     $395        $338       $331      $382

                     Associate
                                  20       $275       $285     $300        $282       $263      $340

Birmingham AL        Partner
                                  18       $293       $301     $335        $321       $318      $319

                     Associate
                                  14       $220       $250     $285        $254       $255      $268

Boston MA            Partner
                                  36       $250       $396     $529        $453       $449      $366

                     Associate
                                  41       $225       $260     $435        $342       $316      $269

Bridgeport CT        Partner
                                  15       $265       $400     $600        $433       $427      $401

Charlotte NC         Associate
                                  12       $225       $238     $260        $252       $246      $258

Chicago IL           Partner
                                  58       $272       $384     $716        $518       $548      $456

                     Associate
                                  52       $249       $396     $557        $410       $392      $341

Cincinnati OH        Partner
                                  12       $429       $467     $575        $493       $445      $416

                     Associate
                                  22       $286       $307     $339        $308       $306      $277

Cleveland OH         Partner
                                  32       $250       $403     $500        $391       $403      $386

                     Associate
                                  23       $180       $250     $299        $255       $241      $237

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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  32       First
                                           $250       $403     Third
                                                               $500        $391       $403      $386
City                 Role         n                  Median                2022       2021      2020
                     Partner              Quartile            Quartile
Cleveland OH         Associate
                                  23       $180       $250     $299        $255       $241      $237

Dallas TX            Partner
                                  32       $373       $488     $525        $471       $462      $371

                     Associate
                                  30       $210       $295     $300        $292       $284      $285

Denver CO            Partner
                                  31       $360       $498     $644        $519       $504      $453

                     Associate
                                  24       $270       $275     $398        $342       $289      $271

Hartford CT          Partner
                                  12       $273       $365     $730        $503       $436      $381

Honolulu HI          Partner
                                  13       $245       $276     $300        $280       $305      $276

Houston TX           Associate
                                  22       $269       $324     $350        $311       $330      $329

Indianapolis IN      Partner
                                  17       $253       $400     $405        $373       $379      $375

                     Associate
                                  16       $237       $260     $260        $258       $257      $238

Jacksonville FL      Partner
                                  11       $299       $313     $348        $390       $443      $379

Kansas City MO       Partner
                                  23       $344       $385     $483        $439       $337      $327

                     Associate
                                  24       $240       $250     $315        $281       $239      $232

Los Angeles CA       Partner
                                  106      $342       $400     $722        $510       $510      $487

                     Associate
                                  112      $298       $395     $592        $438       $409      $358

Miami FL             Partner


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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Los Angeles CA       Associate            Quartile            Quartile
Miami FL             Partner
                                  69       $300       $488     $695        $505       $453      $396

                     Associate
                                  59       $221       $290     $461        $344       $331      $286

Minneapolis MN       Partner
                                  14       $250       $260     $400        $364       $326      $257

New York NY          Partner
                                  155      $350       $480     $714        $586       $559      $545

                     Associate
                                  134      $290       $325     $548        $445       $413      $363

Orlando FL           Partner
                                  12       $313       $400     $400        $403       $396      $394

                     Associate
                                  13       $220       $248     $260        $258       $280      $255

Philadelphia PA      Partner
                                  70       $347       $447     $712        $522       $475      $450

                     Associate
                                  58       $325       $435     $550        $425       $370      $328

Phoenix AZ           Partner
                                  24       $300       $330     $375        $364       $297      $306

Pittsburgh PA        Partner
                                  16       $295       $380     $425        $361       $360      $294

                     Associate
                                  11       $175       $186     $320        $256       $214      $212

Portland ME          Partner
                                  15       $250       $385     $410        $337       $381      $253

San Diego CA         Partner
                                  30       $250       $306     $489        $457       $439      $400

                     Associate
                                  16       $225       $225     $255        $260       $266      $255

San Francisco CA     Partner


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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
San Diego CA         Associate            Quartile            Quartile
San Francisco CA     Partner
                                  42       $338       $390     $675        $524       $496      $486

                     Associate
                                  21       $265       $586     $948        $613       $534      $435

Seattle WA           Partner
                                  26       $331       $472     $695        $535       $536      $489

                     Associate
                                  14       $270       $319     $530        $387       $361      $368

St. Louis MO         Partner
                                  24       $350       $353     $399        $390       $366      $375

Tampa FL             Partner
                                  25       $310       $345     $540        $417       $436      $367

                     Associate
                                  11       $280       $288     $297        $287       $277      $278

Washington DC        Partner
                                  41       $391       $540     $795        $625       $575      $460

                     Associate
                                  17       $233       $275     $488        $387       $452      $385




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Section III: Practice Area Analysis
Section
Real EstateIII: Practice Area Analysis                                  Real Estate
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          102    $307       $400     $525      $429     $423     $387

                         Non-Litigation
                                          246    $275       $330     $430      $393     $385     $384

21 or More Years         Litigation
                                          218    $295       $375     $601      $461     $496     $381

                         Non-Litigation
                                          578    $295       $388     $578      $484     $450     $429




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Section III: Practice Area Analysis
Section
Real EstateIII: Practice Area Analysis                                  Real Estate
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          11     $255       $293     $330      $295     $280

                         Non-Litigation
                                          44     $245       $325     $467      $361     $301     $430

3 to Fewer Than 7        Litigation
Years                                     28     $202       $273     $348      $299     $315     $250

7 or More Years          Litigation
                                          51     $249       $295     $427      $336     $314     $283

                         Non-Litigation
                                          193    $227       $285     $468      $354     $327     $305




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Section III: Practice Area Analysis
Section
Real Estate
           III: Practice Area Analysis                                    Real Estate
By Firm Size and Matter Type
                                                                          By Firm Size and Matter Type

 2022—Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                                     First               Third
 Firm Size       Matter Type      Role         n               Median              2022    2021      2020
                                                    Quartile            Quartile
 50 Lawyers or   Litigation       Partner
 Fewer                                        137    $252       $310     $400      $347    $312      $302

                                  Associate
                                              95     $206       $250     $315      $262    $246      $228

                 Non-Litigation   Partner
                                              376    $250       $300     $386      $328    $315      $312

                                  Associate
                                              260    $200       $225     $275      $240    $229      $235

 51-200          Litigation       Partner
 Lawyers                                      113    $295       $400     $545      $431    $439      $344

                                  Associate
                                              66     $196       $315     $425      $324    $298      $238

                 Non-Litigation   Partner
                                              231    $295       $353     $480      $397    $405      $377

                                  Associate
                                              140    $225       $260     $321      $285    $269      $265

 201-500         Litigation       Partner
 Lawyers                                      83     $341       $430     $601      $493    $467      $441

                                  Associate
                                              66     $280       $299     $350      $337    $331      $311

                 Non-Litigation   Partner
                                              208    $325       $400     $505      $458    $436      $434

                                  Associate
                                              193    $253       $288     $326      $321    $308      $305

 501-1,000       Non-Litigation   Partner
 Lawyers                                      99     $525       $648     $785      $681    $635      $640

                                  Associate
                                              108    $340       $475     $585      $497    $448      $421




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Section III: Practice Area Analysis
Section
Real EstateIII: Practice Area Analysis                                    Real Estate
By Firm Size and Matter Type                                              By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
 Firm Size       Matter Type      Role         n               Median              2022    2021      2020
                                  Partner           Quartile            Quartile
 501-1,000       Non-Litigation   Associate
 Lawyers                                      108    $340       $475     $585      $497    $448      $421

 More Than       Non-Litigation   Partner
 1,000 Lawyers                                66     $726       $875    $1,108     $986    $877      $837

                                  Associate
                                              83     $470       $595     $641      $623    $600      $541




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Section IV:
In-Depth
Analysis
for Select
US Cities
All data and analysis based on
data collected thru Q2 2022




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Section IV: In-Depth Analysis for Select                                       Boston MA
US Cities
Boston        MA
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 --—Real
2022     RealRates for Associate
                Rates            & Partnerand Partner
                        for Associate                                                     Trend Analysis - Mean
                                                                First           Third
                                                                                Thrid
Practice Area                  Firm Size      Role        n             Median            2022       2021    2020
                                                               Quartile        Quartile
Commercial                     More Than     Associate
                               1,000 Lawyers              14    $695    $818      $977    $831       $787    $767

Corporate: Other               51-200         Associate
                               Lawyers                    16    $301    $450      $586    $447       $455    $455

                               More Than     Partner
                               1,000 Lawyers              15    $818    $902     $1,033   $961      $1,035   $831

Finance and Securities:        501-1,000      Partner
Investments and Other          Lawyers                    15   $1,016   $1,230   $1,506   $1,226    $1,134   $998
Financial Instruments
                                              Associate
                                                          13    $526    $645      $698    $680       $654    $635

                               More Than     Partner
                               1,000 Lawyers              13   $1,118   $1,300   $1,498   $1,313    $1,189   $1,085

                                              Associate
                                                          32    $650    $775     $1,000   $817       $799    $725

Insurance Defense: Other       51-200         Partner
                               Lawyers                    14    $220    $278      $400    $470       $484    $521

Insurance Defense: Property 51-200            Partner
Damage                      Lawyers                       12    $219    $220      $325    $266       $270    $251

Intellectual Property:         201-500        Partner
Patents                        Lawyers                    13    $550    $737      $861    $709       $725    $687




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Section IV: In-Depth Analysis for Select                                      Chicago IL
US CitiesIL
Chicago
By Practice Area and Firm Size
                                                                              By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                             Trend Analysis - Mean
                                                               First           Third
                                                                               Thrid
Practice Area                 Firm Size     Role         n             Median            2022       2021    2020
                                                              Quartile        Quartile
Commercial                    201-500       Partner
                              Lawyers                   20     $453    $706     $1,025   $766       $707    $692

                              501-1,000     Partner
                              Lawyers                   24     $703    $772      $978    $839       $771    $736

                                            Associate
                                                        30     $330    $462      $578    $497       $458    $470

                              More Than     Partner
                              1,000 Lawyers             42     $904    $1,096   $1,390   $1,141    $1,028   $1,082

                                            Associate
                                                        36     $585    $705      $871    $721       $689    $698

Corporate: Mergers,           More Than     Partner
Acquisitions and              1,000 Lawyers             12    $1,157   $1,306   $1,522   $1,307     $942    $1,032
Divestitures
                                            Associate
                                                        18     $601    $782      $955    $790       $553    $748

Corporate: Other              201-500       Partner
                              Lawyers                   54     $712    $902     $1,023   $884       $847    $833

                                            Associate
                                                        77     $487    $573      $732    $592       $545    $567

                              501-1,000     Partner
                              Lawyers                   22     $765    $970     $1,135   $979       $890    $785

                                            Associate
                                                        13     $503    $535      $669    $606       $525    $525

                              More Than     Partner
                              1,000 Lawyers             103    $760    $925     $1,280   $1,035    $1,021   $983

                                            Associate
                                                        87     $520    $648      $728    $648       $589    $602

Corporate: Regulatory and     201-500       Partner
Compliance                    Lawyers                   15     $584    $835      $953    $792       $747    $771

                              More Than     Partner
                              1,000 Lawyers             30     $823    $1,027   $1,124   $999       $884    $898

                                            Associate
                                                        26     $404    $651      $758    $616       $648    $657

Corporate: Tax                More Than     Partner
                              1,000 Lawyers             30     $920    $1,030   $1,225   $1,050    $1,036   $1,021

                                            Associate
                                                        13     $601    $692      $856    $708       $716    $644



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Section IV: In-Depth Analysis for Select                                       Chicago IL
US CitiesIL
Chicago
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                          30    First
                                                                $920    $1,030   Third
                                                                                 Thrid
                                                                                $1,225    $1,050    $1,036   $1,021
Practice Area                 Firm Size       Role        n             Median             2022      2021     2020
                                                               Quartile        Quartile
                                              Partner
Corporate: Tax                More Than       Associate
                              1,000 Lawyers               13    $601    $692      $856    $708       $716    $644

Employment and Labor:         More Than     Partner
Compensation and Benefits     1,000 Lawyers               11    $733    $870     $1,213   $988      $1,012   $813

Employment and Labor:         501-1,000       Associate
Discrimination, Retaliation   Lawyers                     12    $310    $333      $384    $344       $379    $338
and Harassment / EEO
Employment and Labor:         201-500         Partner
Other                         Lawyers                     12    $376    $520      $971    $662       $596    $665

                              501-1,000       Partner
                              Lawyers                     29    $475    $561      $725    $596       $555    $553

                                              Associate
                                                          24    $339    $387      $465    $422       $372    $391

                              More Than     Partner
                              1,000 Lawyers               20    $627    $720      $953    $866       $892    $808

                                              Associate
                                                          20    $413    $530      $617    $552       $594    $555

Finance and Securities:       501-1,000       Associate
Investments and Other         Lawyers                     16    $548    $592      $740    $636       $598    $548
Financial Instruments
Finance and Securities:       201-500         Associate
Loans and Financing           Lawyers                     11    $512    $560      $627    $574       $553    $459

                              501-1,000       Partner
                              Lawyers                     14    $825    $945     $1,079   $977       $963    $916

                                              Associate
                                                          11    $552    $600      $762    $666       $678    $599

                              More Than     Partner
                              1,000 Lawyers               73   $1,173   $1,295   $1,544   $1,348    $1,273   $1,220

                                              Associate
                                                          69    $715    $851      $995    $854       $819    $730

Insurance Defense: Other      50 Lawyers or   Partner
                              Fewer                       42    $245    $300      $335    $291       $282    $268

                              51-200          Partner
                              Lawyers                     14    $193    $195      $228    $209       $229    $231

Insurance Defense:            50 Lawyers or   Partner
Property Damage               Fewer                       38    $265    $290      $327    $284       $274    $269

                                              Associate
                                                          32    $215    $248      $268    $229       $205    $215



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Section IV: In-Depth Analysis for Select                                       Chicago IL
US CitiesIL
Chicago
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                                First           Third
                                                                                Thrid
Practice Area                 Firm Size       Role        n             Median            2022     2021    2020
                                                               Quartile        Quartile
                                              Partner
Insurance Defense:            50 Lawyers or   Associate
Property Damage               Fewer                       32    $215    $248      $268    $229     $205    $215

Intellectual Property:        51-200          Partner
Patents                       Lawyers                     14    $428    $493      $548    $480     $485    $473




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Section IV: In-Depth Analysis for Select                                         Los Angeles CA
Los Angeles CA
US Cities
By Practice Area and Firm Size
                                                                                 By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                              First               Thrid
                                                                                  Third
Practice Area                 Firm Size     Role        n               Median              2022      2021     2020
                                                             Quartile            Quartile
Commercial                    501-1,000     Partner
                              Lawyers                   22    $729       $866      $992     $889       $801    $777

                                            Associate
                                                        34    $619       $740      $842     $727       $648    $568

                              More Than     Partner
                              1,000 Lawyers             32    $881      $1,058    $1,199    $1,054    $1,073   $1,110

                                            Associate
                                                        49    $611       $845     $1,030    $828       $796    $787

Corporate: Mergers,           More Than     Associate
Acquisitions and              1,000 Lawyers             22    $486       $486      $643     $587       $588    $540
Divestitures
Corporate: Other              50 Lawyers or Partner
                              Fewer                     13    $396       $428      $574     $478       $424    $442

                              51-200        Partner
                              Lawyers                   25    $525       $645      $743     $676       $711    $728

                              201-500       Partner
                              Lawyers                   29    $582       $747      $912     $757       $731    $715

                                            Associate
                                                        24    $412       $500      $660     $538       $489    $474

                              501-1,000     Partner
                              Lawyers                   35    $659       $830     $1,139    $929       $870    $870

                                            Associate
                                                        35    $550       $743      $856     $729       $676    $652

                              More Than     Partner
                              1,000 Lawyers             74    $965      $1,220    $1,370    $1,183    $1,120   $1,051

                                            Associate
                                                        91    $615       $745      $944     $781       $783    $745

Corporate: Regulatory and     501-1,000     Partner
Compliance                    Lawyers                   13    $795       $910     $1,103    $965       $881    $875

                                            Associate
                                                        15    $468       $550      $715     $600       $608    $634

                              More Than     Partner
                              1,000 Lawyers             28    $877      $1,080    $1,224    $1,083     $993    $1,003

                                            Associate
                                                        41    $610       $775      $945     $763       $719    $732

Employment and Labor:         501-1,000     Partner
Other                         Lawyers




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Section IV: In-Depth Analysis for Select                                          Los Angeles CA
US Cities
Los Angeles CA
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                           for Associate   and Partner                                       Trend Analysis - Mean
                                                               First               Third
                                                                                   Thrid
Corporate: Regulatory and
Practice Area                  More
                               Firm Than
                                    Size     Role        n               Median              2022      2021     2020
                                                              Quartile            Quartile
Compliance                     1,000 Lawyers Associate
Employment and Labor:          501-1,000     Partner
Other                          Lawyers                   33    $567       $677      $870     $748       $653    $612

                                             Associate
                                                         32    $325       $380      $525     $459       $479    $471

                               More Than     Partner
                               1,000 Lawyers             25    $705       $935     $1,068    $928       $838    $827

                                             Associate
                                                         12    $398       $426      $537     $501       $561    $608

Finance and Securities:        501-1,000     Partner
Investments and Other          Lawyers                   13    $676       $950     $1,037    $999       $842    $798
Financial Instruments
                               More Than     Partner
                               1,000 Lawyers             40   $1,210     $1,309    $1,434    $1,332    $1,283   $1,236

                                             Associate
                                                         76    $845      $1,017    $1,135    $992       $958    $882

Finance and Securities:        50 Lawyers or Associate
Loans and Financing            Fewer                     15    $265       $285      $434     $344       $394    $367

                               201-500       Associate
                               Lawyers                   11    $500       $540      $638     $563       $417    $344

                               501-1,000     Associate
                               Lawyers                   13    $550       $645      $930     $689       $683    $614

Insurance Defense: Auto        50 Lawyers or Partner
and Transportation             Fewer                     22    $250       $250      $265     $280       $238    $239

Insurance Defense: Other       50 Lawyers or Partner
                               Fewer                     30    $249       $252      $265     $274       $317    $431

                                             Associate
                                                         46    $215       $225      $235     $220       $211    $204

                               51-200        Partner
                               Lawyers                   17    $230       $250      $265     $283       $247    $266

                                             Associate
                                                         20    $170       $170      $200     $190       $195    $196

Intellectual Property:         More Than     Partner
Patents                        1,000 Lawyers             11    $982      $1,046    $1,209    $1,128    $1,077   $1,025

                                             Associate
                                                         38    $670       $765      $891     $771       $722    $638




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Section IV: In-Depth Analysis for Select                                          New York NY
New York NY
US Cities
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                                Trend Analysis - Mean
                                                               First                Third
                                                                                    Thrid
Practice Area                 Firm Size     Role        n                Median               2022      2021     2020
                                                              Quartile             Quartile
Bankruptcy and Collections    50 Lawyers or Partner
                              Fewer                     11     $333       $390      $450      $411       $402    $394

                              201-500       Partner
                              Lawyers                   15     $414       $604      $668      $589       $555    $519

                                            Associate
                                                        15     $300       $334      $412      $365       $350    $338

Commercial                    50 Lawyers or Partner
                              Fewer                     17     $330       $458      $535      $486       $449    $515

                              201-500       Partner
                              Lawyers                   28     $525       $609      $790      $680       $773    $764

                                            Associate
                                                        21     $378       $428      $486      $438       $494    $522

                              501-1,000     Partner
                              Lawyers                   72     $993      $1,414    $1,725     $1,347    $1,240   $1,320

                                            Associate
                                                        96     $565       $870     $1,086     $819       $613    $760

                              More Than     Partner
                              1,000 Lawyers             45    $1,149     $1,331    $1,558     $1,346    $1,266   $1,209

                                            Associate
                                                        39     $646       $826     $1,023     $827       $799    $777

Corporate: Antitrust and      501-1,000     Associate
Competition                   Lawyers                   37     $597       $721      $968      $783       $791    $727

Corporate: Governance         501-1,000     Partner
                              Lawyers                   37    $1,457     $1,560    $1,731     $1,560    $1,482   $1,380

                                            Associate
                                                        53     $623       $868     $1,046     $840       $749    $725

                              More Than     Associate
                              1,000 Lawyers             12     $564       $640      $787      $686       $650    $654

Corporate: Mergers,           501-1,000     Partner
Acquisitions and              Lawyers                   52    $1,410     $1,650    $1,698     $1,556    $1,393   $1,309
Divestitures
                                            Associate
                                                        116    $723       $955     $1,160     $929       $799    $736

                              More Than     Partner
                              1,000 Lawyers             43    $1,350     $1,650    $1,757     $1,521    $1,499   $1,290

                                            Associate



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Section IV: In-Depth Analysis for Select                                            New York NY
New York NY
US Cities
By Practice Area and Firm Size
                                                                                    By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                                 First                Third
                                                                                      Thrid
Practice Area                 Firm Size       Role        n                Median               2022      2021     2020
                                                                Quartile             Quartile
                                              Partner
Corporate: Mergers,           More Than       Associate
Acquisitions and              1,000 Lawyers               80     $649       $917     $1,130     $899       $926    $834
Divestitures
Corporate: Other              50 Lawyers or Partner
                              Fewer                       40     $368       $515      $611      $490       $528    $499

                                              Associate
                                                          29     $235       $350      $375      $317       $360    $344

                              51-200          Partner
                              Lawyers                     36     $450       $583      $705      $617       $642    $597

                              201-500         Partner
                              Lawyers                     64     $560       $894     $1,147     $919       $795    $853

                                              Associate
                                                          52     $355       $522      $694      $574       $498    $517

                              501-1,000       Partner
                              Lawyers                     183   $1,271     $1,515    $1,744     $1,436    $1,286   $1,230

                                              Associate
                                                          226    $701       $855     $1,100     $875       $776    $727

                              More Than     Partner
                              1,000 Lawyers               140   $1,210     $1,550    $1,720     $1,454    $1,302   $1,252

                                              Associate
                                                          198    $667       $875     $1,105     $882       $837    $808

Corporate: Partnerships and 501-1,000         Partner
Joint Ventures              Lawyers                       41    $1,341     $1,564    $1,760     $1,516    $1,267   $1,300

                                              Associate
                                                          71     $713       $970     $1,182     $927       $821    $788

Corporate: Regulatory and     51-200          Partner
Compliance                    Lawyers                     11     $474       $604      $720      $593       $558    $660

                                              Associate
                                                          15     $454       $640      $684      $678       $443    $464

                              201-500         Partner
                              Lawyers                     19     $638       $694      $880      $777       $712    $812

                                              Associate
                                                          15     $396       $513      $638      $616       $483    $426

                              501-1,000       Partner
                              Lawyers                     48     $928      $1,335    $1,560     $1,294    $1,204   $1,185

                                              Associate



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Section IV: In-Depth Analysis for Select                                          New York NY
US Cities
New     York NY
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                        Trend Analysis - Mean
                                                               First                Third
                                                                                    Thrid
Practice Area                  Firm Size     Role        n               Median               2022      2021     2020
                                                              Quartile             Quartile
                                             Partner
Corporate: Regulatory and      501-1,000     Associate
Compliance                     Lawyers                   59    $500       $747      $926      $768       $784    $721

                               More Than     Partner
                               1,000 Lawyers             28    $884      $1,170    $1,386     $1,165    $1,064   $1,034

                                             Associate
                                                         36    $570       $725      $760      $701       $704    $681

Corporate: Tax                 501-1,000     Partner
                               Lawyers                   16    $927      $1,225    $1,568     $1,235    $1,106   $1,146

                               More Than     Partner
                               1,000 Lawyers             30   $1,000     $1,210    $1,553     $1,243    $1,220   $1,179

                                             Associate
                                                         28    $690       $879     $1,003     $945       $857    $797

Employment and Labor:          More Than     Associate
Discrimination, Retaliation    1,000 Lawyers             11    $385       $390      $487      $430       $444    $416
and Harassment / EEO
Employment and Labor:          201-500       Partner
Other                          Lawyers                   33    $450       $493      $689      $621       $585    $651

                               501-1,000     Partner
                               Lawyers                   81    $472       $573      $891      $751       $688    $663

                                             Associate
                                                         54    $325       $440      $635      $538       $542    $469

                               More Than     Partner
                               1,000 Lawyers             23    $700       $918     $1,090     $975       $920    $951

                                             Associate
                                                         28    $450       $498      $685      $629       $531    $634

Environmental                  51-200        Partner
                               Lawyers                   12    $348       $455      $519      $443       $450    $444

Finance and Securities:        501-1,000     Partner
Debt/Equity Offerings          Lawyers                   31   $1,269     $1,650    $1,734     $1,448    $1,220   $1,159

                                             Associate
                                                         30    $713       $955     $1,178     $927       $685    $674

                               More Than     Partner
                               1,000 Lawyers             15   $1,067     $1,332    $1,810     $1,368     $883    $1,072

                                             Associate
                                                         29    $438       $621     $1,108     $754       $597    $662

Finance and Securities:        51-200        Partner
Investments and Other          Lawyers
Financial Instruments

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Section IV: In-Depth Analysis for Select                                           New York NY
US Cities
New     York NY
By Practice Area and Firm Size
                                                                                   By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                         Trend Analysis - Mean
                                                                First                Third
                                                                                     Thrid
Finance
Practice and
         AreaSecurities:       More
                               Firm Than
                                    Size     Role        n                Median               2022      2021     2020
                                                               Quartile             Quartile
Debt/Equity Offerings          1,000 Lawyers Associate
Finance and Securities:        51-200        Partner
Investments and Other          Lawyers                   13     $650       $749      $894      $799       $844    $848
Financial Instruments
                                             Associate
                                                         20     $500       $614      $736      $620       $558    $582

                               201-500       Partner
                               Lawyers                   36    $1,109     $1,111    $1,111     $1,090    $1,034   $963

                               501-1,000     Partner
                               Lawyers                   127   $1,070     $1,405    $1,766     $1,413    $1,396   $1,282

                                             Associate
                                                         227    $685       $835     $1,095     $881       $894    $793

                               More Than     Partner
                               1,000 Lawyers             73     $950      $1,229    $1,605     $1,269    $1,266   $1,155

                                             Associate
                                                         68     $531       $782      $972      $769       $748    $679

Finance and Securities:        50 Lawyers or Partner
Loans and Financing            Fewer                     14     $627       $806      $890      $798       $686    $592

                               201-500       Partner
                               Lawyers                   58    $1,200     $1,475    $1,620     $1,342    $1,309   $1,222

                                             Associate
                                                         90     $633       $760      $950      $748       $745    $750

                               501-1,000     Partner
                               Lawyers                   83    $1,170     $1,520    $1,759     $1,462    $1,362   $1,277

                                             Associate
                                                         104    $735       $955     $1,119     $917       $864    $776

                               More Than     Partner
                               1,000 Lawyers             100   $1,268     $1,479    $1,675     $1,441    $1,398   $1,352

                                             Associate
                                                         129    $750       $940     $1,108     $934       $922    $873

Finance and Securities: SEC    501-1,000     Partner
Filings and Financial          Lawyers                   15    $1,692     $1,737    $1,786     $1,648    $1,491   $1,378
Reporting
Finance and Securities:        201-500       Partner
Securities and Banking         Lawyers                   15    $1,078     $1,365    $1,505     $1,245     $999    $1,184
Regulations
                                             Associate
                                                         17     $323       $531      $650      $556       $492    $626

                               501-1,000     Partner
                               Lawyers


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Section IV: In-Depth Analysis for Select                                         New York NY
New York NY
US Cities
By Practice Area and Firm Size
                                                                                 By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                              First                Third
                                                                                   Thrid
Practice Area                 201-500
                              Firm Size     Role        n               Median               2022      2021     2020
                                                             Quartile             Quartile
                              Lawyers       Associate
Finance and Securities:       501-1,000     Partner
Securities and Banking        Lawyers                   14   $1,125     $1,330    $1,397     $1,270    $1,286   $1,201
Regulations
Insurance Defense: Auto       51-200        Partner
and Transportation            Lawyers                   15    $178       $185      $220      $195       $187    $176

                                            Associate
                                                        11    $160       $165      $180      $169       $163    $154

Insurance Defense: Other      50 Lawyers or Partner
                              Fewer                     30    $217       $250      $285      $277       $273    $262

                                            Associate
                                                        22    $185       $195      $230      $235       $214    $183

                              51-200        Partner
                              Lawyers                   38    $198       $225      $281      $249       $244    $247

                                            Associate
                                                        25    $175       $180      $209      $197       $202    $182

                              201-500       Partner
                              Lawyers                   22    $208       $240      $356      $330       $268    $295

                                            Associate
                                                        13    $195       $270      $526      $370       $294    $299

Insurance Defense:            50 Lawyers or Associate
Personal Injury/Wrongful      Fewer                     36    $157       $160      $169      $160       $160    $152
Death
Insurance Defense:            50 Lawyers or Partner
Property Damage               Fewer                     30    $175       $195      $213      $206       $203    $180

                                            Associate
                                                        21    $150       $160      $165      $168       $163    $149

                              51-200        Partner
                              Lawyers                   34    $190       $210      $315      $252       $270    $255

Intellectual Property:        501-1,000     Partner
Patents                       Lawyers                   16    $912       $952     $1,165     $988       $930    $962

                                            Associate
                                                        22    $523       $599      $877      $661       $588    $601

                              More Than     Partner
                              1,000 Lawyers             15    $895      $1,046    $1,210     $1,045    $1,066   $997

                                            Associate
                                                        20    $739       $820      $915      $801       $743    $686

Miscellaneous: General        More Than     Partner
Advice & Counsel              1,000 Lawyers


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Section IV: In-Depth Analysis for Select                                          New York NY
US Cities
New York NY
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                        Trend Analysis - Mean
                                                               First                Third
                                                                                    Thrid
Intellectual
Practice AreaProperty:         More
                               Firm Than
                                    Size     Role        n               Median               2022      2021     2020
                                                              Quartile             Quartile
Patents                        1,000 Lawyers Associate
Miscellaneous: General         More Than     Partner
Advice & Counsel               1,000 Lawyers             11   $1,550     $1,695    $1,875     $1,684    $1,585   $1,427

Real Estate: Other             501-1,000     Associate
                               Lawyers                   14    $503       $614      $713      $643       $623    $655




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Section IV: In-Depth Analysis for Select                                         Philadelphia PA
Philadelphia PA
US Cities
By Practice Area and Firm Size
                                                                                 By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                              First                Thrid
                                                                                   Third
Practice Area                 Firm Size     Role        n               Median               2022       2021    2020
                                                             Quartile             Quartile
Bankruptcy and Collections    201-500       Partner
                              Lawyers                   18    $495       $564      $650      $568       $524    $541

                                            Associate
                                                        17    $300       $375      $485      $393       $311    $304

Commercial                    51-200        Partner
                              Lawyers                   22    $675       $960      $1,096    $867       $678    $628

                                            Associate
                                                        16    $373       $425      $486      $446       $390    $347

                              201-500       Partner
                              Lawyers                   39    $625       $732      $826      $740       $627    $619

                                            Associate
                                                        48    $407       $437      $503      $447       $357    $348

                              501-1,000     Partner
                              Lawyers                   24    $564       $728      $891      $789       $742    $752

                              More Than     Partner
                              1,000 Lawyers             13    $864       $945      $1,285    $1,049     $919    $921

                                            Associate
                                                        19    $485       $624      $829      $683       $638    $586

Corporate: Other              51-200        Partner
                              Lawyers                   31    $588       $732      $918      $736       $779    $710

                                            Associate
                                                        31    $389       $425      $500      $439       $429    $410

                              201-500       Partner
                              Lawyers                   27    $560       $650      $860      $710       $642    $669

                                            Associate
                                                        30    $396       $428      $455      $431       $374    $342

                              501-1,000     Partner
                              Lawyers                   26    $652       $719      $935      $777       $794    $803

                                            Associate
                                                        19    $409       $488      $535      $466       $433    $476

                              More Than     Partner
                              1,000 Lawyers             50    $818       $895      $1,033    $962       $925    $908

                                            Associate
                                                        49    $444       $530      $568      $553       $530    $523

Corporate: Regulatory and     501-1,000     Associate
Compliance                    Lawyers



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Philadelphia PA
US Cities
By Practice Area and Firm Size
                                                                                   By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                                 Trend Analysis - Mean
                                                                First                Thrid
                                                                                     Third
Practice Area                 More
                              Firm Than
                                   Size     Role          n               Median               2022     2021    2020
                                                               Quartile             Quartile
Corporate: Other              1,000 Lawyers Associate
Corporate: Regulatory and     501-1,000     Associate
Compliance                    Lawyers                     11    $325       $468      $781      $605     $427    $452

                              More Than     Partner
                              1,000 Lawyers               19    $688       $830      $891      $804     $847    $783

Employment and Labor:         501-1,000       Partner
Other                         Lawyers                     19    $525       $585      $640      $594     $598    $603

Insurance Defense: Auto       50 Lawyers or   Partner
and Transportation            Fewer                       39    $178       $185      $200      $186     $181    $182

                                              Associate
                                                          40    $170       $170      $200      $178     $169    $158

Insurance Defense: Other      50 Lawyers or   Partner
                              Fewer                       52    $185       $200      $224      $204     $196    $182

                                              Associate
                                                          50    $170       $175      $200      $180     $169    $162

                              51-200          Partner
                              Lawyers                     21    $175       $180      $200      $192     $200    $233

                                              Associate
                                                          15    $160       $163      $186      $170     $161    $166

                              201-500         Partner
                              Lawyers                     33    $185       $210      $240      $219     $223    $224

                                              Associate
                                                          16    $183       $195      $200      $191     $187    $197

Insurance Defense:            50 Lawyers or   Partner
Property Damage               Fewer                       33    $180       $194      $200      $194     $191    $191

                                              Associate
                                                          34    $171       $180      $187      $178     $172    $174

                              51-200          Partner
                              Lawyers                     11    $180       $199      $210      $210     $222    $231

                                              Associate
                                                          11    $173       $180      $220      $198     $199    $181

Intellectual Property:        201-500         Associate
Patents                       Lawyers                     13    $365       $420      $450      $423     $352    $322

                              501-1,000       Partner
                              Lawyers                     12    $660       $760      $825      $785     $660    $730




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Section IV: In-Depth Analysis for Select                                       San Francisco CA
US Cities
San     Francisco CA
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 --—Real
2022     RealRates for Associate
                Rates            & Partnerand Partner
                        for Associate                                                     Trend Analysis - Mean
                                                                First           Thrid
                                                                                Third
Practice Area                 Firm Size       Role        n             Median            2022       2021    2020
                                                               Quartile        Quartile
Commercial                    51-200          Partner
                              Lawyers
                                                          11    $420    $500      $720    $602       $562    $633


                              501-1,000       Partner
                              Lawyers
                                                          18    $694    $945     $1,050   $936       $873    $922


                                              Associate
                                                          14    $356    $480      $738    $561       $518    $403


Corporate: Mergers,           More Than     Partner
Acquisitions and              1,000 Lawyers
                                                          14    $868    $868     $1,007   $931       $933    $955
Divestitures

Corporate: Other              501-1,000       Partner
                              Lawyers
                                                          21    $795    $961     $1,125   $994       $894    $871


                                              Associate
                                                          12    $662    $829     $1,014   $808       $716    $592


                              More Than     Partner
                              1,000 Lawyers
                                                          12    $958    $1,080   $1,194   $1,102    $1,039   $926


Corporate: Regulatory and     501-1,000       Partner
Compliance                    Lawyers
                                                          16    $693    $760      $974    $849       $783    $863


Employment and Labor:         501-1,000       Partner
Other                         Lawyers
                                                          18    $486    $585      $636    $594       $608    $560


                              More Than     Partner
                              1,000 Lawyers
                                                          11    $790    $833      $914    $847       $809    $890


Finance and Securities:       501-1,000       Associate
Investments and Other         Lawyers
                                                          13    $620    $780      $890    $755       $745    $753
Financial Instruments

Insurance Defense: Other      50 Lawyers or   Partner
                              Fewer
                                                          26    $205    $250      $265    $245       $236    $248


                              201-500         Partner
                              Lawyers
                                                          41    $255    $280      $285    $331       $356    $397


Intellectual Property:        501-1,000       Partner
Patents                       Lawyers
                                                          11    $978    $1,266   $1,383   $1,177    $1,040   $1,075




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Section IV: In-Depth Analysis for Select                                          Washington DC
Washington DC
US Cities
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                                 First           Third
                                                                                 Thrid
Practice Area                 Firm Size       Role         n             Median              2022       2021    2020
                                                                Quartile        Quartile
Commercial                    201-500         Partner
                              Lawyers                     39     $749    $820       $1,026   $882       $778    $717

                                              Associate
                                                          39     $463    $545        $693    $576       $521    $476

                              501-1,000       Partner
                              Lawyers                     50     $712    $850       $1,150   $972       $873    $911

                              More Than     Partner
                              1,000 Lawyers               39     $955    $1,065     $1,375   $1,156    $1,016   $997

                                              Associate
                                                          27     $634    $837       $1,046   $842       $698    $643

Corporate: Mergers,           201-500         Partner
Acquisitions and              Lawyers                     11     $611    $751        $988    $803       $780    $738
Divestitures
                              More Than     Partner
                              1,000 Lawyers               22    $1,061   $1,286     $1,369   $1,224    $1,142   $1,010

                                              Associate
                                                          27     $655    $785        $835    $776       $756    $632

Corporate: Other              50 Lawyers or   Partner
                              Fewer                       25     $495    $618        $761    $606       $585    $583

                                              Associate
                                                          16     $350    $417        $697    $497       $461    $537

                              51-200          Partner
                              Lawyers                     29     $752    $826        $884    $821       $839    $798

                              201-500         Partner
                              Lawyers                     78     $740    $868       $1,008   $888       $806    $751

                                              Associate
                                                          64     $453    $562        $680    $577       $550    $478

                              501-1,000       Partner
                              Lawyers                     136    $925    $950        $999    $975       $941    $910

                                              Associate
                                                          182    $670    $695        $695    $668       $650    $581

                              More Than     Partner
                              1,000 Lawyers               142    $885    $1,082     $1,274   $1,101    $1,024   $976

                                              Associate
                                                          117    $536    $703        $915    $751       $702    $641

Corporate: Regulatory and     51-200          Partner
Compliance                    Lawyers

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Section IV: In-Depth Analysis for Select                                          Washington DC
Washington DC
US Cities
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                       Trend Analysis - Mean
                                                                 First           Third
                                                                                 Thrid
Practice Area                  More
                               Firm Than
                                    Size     Role          n             Median              2022       2021    2020
                                                                Quartile        Quartile
Corporate: Other               1,000 Lawyers Associate
Corporate: Regulatory and      51-200        Partner
Compliance                     Lawyers                    30     $589    $835        $931    $780       $808    $831

                                              Associate
                                                          30     $395    $455        $590    $489       $501    $505

                               201-500        Partner
                               Lawyers                    44     $706    $797        $907    $812       $752    $714

                                              Associate
                                                          41     $476    $553        $672    $573       $541    $498

                               501-1,000      Partner
                               Lawyers                    128    $856    $950       $1,112   $979       $975    $933

                                              Associate
                                                          143    $561    $646        $717    $659       $621    $595

                               More Than     Partner
                               1,000 Lawyers              76     $935    $1,108     $1,274   $1,101    $1,014   $991

                                              Associate
                                                          79     $503    $647        $824    $669       $651    $615

Corporate: Tax                 More Than     Partner
                               1,000 Lawyers              32    $1,040   $1,187     $1,437   $1,221    $1,198   $1,069

                                              Associate
                                                          38     $529    $780       $1,036   $825       $739    $715

Employment and Labor:          201-500        Partner
Other                          Lawyers                    14     $544    $735        $763    $693       $712    $639

                               501-1,000      Partner
                               Lawyers                    24     $498    $662       $1,065   $814       $800    $739

                                              Associate
                                                          13     $414    $435        $629    $500       $464    $463

                               More Than     Partner
                               1,000 Lawyers              29     $616    $783        $845    $796       $715    $811

                                              Associate
                                                          13     $480    $538        $615    $583       $467    $536

Finance and Securities:        501-1,000      Partner
Investments and Other          Lawyers                    28     $986    $1,148     $1,371   $1,187    $1,051   $1,054
Financial Instruments
                               More Than     Partner
                               1,000 Lawyers              23     $982    $1,178     $1,375   $1,184    $1,200   $1,036

Finance and Securities:        201-500        Partner
Loans and Financing            Lawyers


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Section IV: In-Depth Analysis for Select                                       Washington DC
Washington DC
US Cities
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner
Finance and Securities:
                                                              First           Third
                                                                              Thrid
Investments
Practice Areaand Other        More
                              Firm Than
                                   Size     Role        n             Median              2022       2021    2020
                                                             Quartile        Quartile
Financial Instruments         1,000 Lawyers Partner
Finance and Securities:       201-500       Partner
Loans and Financing           Lawyers                   12    $726    $1,125     $1,295   $1,013     $854    $854

                                            Associate
                                                        14    $400    $512        $650    $582       $528    $498

Intellectual Property:        201-500       Partner
Patents                       Lawyers                   18    $904    $989       $1,032   $931       $901    $730

                              501-1,000     Partner
                              Lawyers                   36    $872    $950       $1,121   $1,002     $986    $917

                                            Associate
                                                        37    $689    $740       $1,003   $776       $690    $649

                              More Than     Partner
                              1,000 Lawyers             14    $898    $988       $1,279   $1,081    $1,006   $890

                                            Associate
                                                        20    $697    $775        $841    $757       $658    $614

Miscellaneous: General        More Than     Partner
Advice & Counsel              1,000 Lawyers             12   $1,321   $1,400     $1,496   $1,394    $1,260   $1,162




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Section V:
International
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section IV: International Analysis                                  Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                                         Quartile        Quartile
Argentina              Partner
                                   22      $52     $58     $240     $135   $122   $160

                       Associate
                                   28      $50    $222     $280     $213   $151   $155

Australia              Partner
                                   133    $491    $561     $649     $570   $550   $495

                       Associate
                                   192    $261    $322     $423     $347   $348   $319

                       Paralegal
                                   42     $176    $204     $260     $220   $196   $215

Austria                Partner
                                   11     $420    $499     $994     $684   $612   $508

                       Associate
                                   19     $425    $444     $834     $598   $555   $517

Belgium                Partner
                                   44     $389    $560     $848     $635   $688   $605

                       Associate
                                   78     $231    $339     $582     $446   $393   $391

                       Paralegal
                                   15     $185    $265     $419     $297   $312   $276

Bermuda                Partner
                                   22     $740    $843     $905     $823   $816   $797

Brazil                 Partner
                                   70     $295    $350     $500     $396   $419   $429

                       Associate
                                   109    $121    $200     $330     $225   $237   $243

                       Paralegal
                                   36      $49     $75     $75      $81    $99    $107




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Section IV: International Analysis                                  Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022     2021     2020
                       Associate         Quartile        Quartile
Brazil                 Paralegal
                                   36      $49     $75      $75      $81      $99     $107

Canada                 Partner
                                   501    $450    $593     $800     $629     $603     $594

                       Associate
                                   222    $325    $465     $595     $483     $458     $417

                       Paralegal
                                   241    $145    $230     $300     $232     $222     $215

Cayman Islands         Partner
                                   20    $1,100   $1,240   $1,297   $1,184   $1,039   $990

China                  Partner
                                   111    $523    $658     $857     $703     $697     $699

                       Associate
                                   219    $260    $380     $525     $417     $406     $416

                       Paralegal
                                   63     $240    $265     $353     $282     $271     $294

Czech Republic         Partner
                                   12     $252    $368     $456     $371     $329     $344

                       Associate
                                   24     $253    $268     $352     $300     $253     $245

Denmark                Associate
                                   21     $186    $270     $344     $268     $292     $322

Finland                Partner
                                   17     $426    $507     $553     $509     $521     $478

                       Associate
                                   19     $249    $269     $395     $324     $322     $321

                       Paralegal
                                   12     $165    $172     $186     $170     $161     $124




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Section IV: International Analysis                                  Countries
Countries

2022 — Real Rates for Partners , Associates and Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                       Associate         Quartile        Quartile
Finland                Paralegal
                                   12     $165     $172      $186   $170   $161   $124

France                 Partner
                                   126    $473     $574      $719   $604   $609   $567

                       Associate
                                   217    $313     $379      $520   $427   $422   $377

                       Paralegal
                                   36     $159     $220      $305   $220   $225   $214

Germany                Partner
                                   248    $365     $517      $712   $569   $549   $522

                       Associate
                                   310    $323     $376      $444   $416   $409   $411

                       Paralegal
                                   60     $201     $225      $261   $241   $215   $210

Greece                 Associate
                                   13     $122     $159      $220   $169   $176   $204

Hong Kong              Partner
                                   62     $670     $853      $961   $835   $859   $873

                       Associate
                                   88     $260     $377      $587   $420   $537   $409

                       Paralegal
                                   43     $229     $302      $382   $325   $316   $306

Hungary                Associate
                                   11     $172     $175      $185   $220   $233   $165

India                  Partner
                                   12     $300     $395      $471   $385   $367   $359

                       Associate




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Section IV: International Analysis                                  Countries
Countries

2022 — Real Rates for Partners , Associates and Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                       Partner           Quartile        Quartile
India                  Associate
                                   21     $176     $200      $249   $213   $197   $202

Indonesia              Associate
                                   15     $125     $210      $293   $217   $262   $262

Ireland                Partner
                                   45     $490     $590      $669   $608   $576   $534

                       Associate
                                   71     $311     $393      $431   $385   $397   $365

                       Paralegal
                                   24     $161     $197      $240   $210   $225   $206

Israel                 Partner
                                   28     $385     $500      $534   $448   $403   $372

                       Associate
                                   30     $228     $275      $300   $266   $249   $262

Italy                  Partner
                                   36     $383     $531      $598   $555   $577   $515

                       Associate
                                   115    $228     $290      $413   $343   $366   $320

                       Paralegal
                                   17     $122     $159      $222   $179   $161   $143

Japan                  Partner
                                   59     $318     $440      $561   $483   $511   $538

                       Associate
                                   55     $244     $289      $440   $349   $389   $392

                       Paralegal
                                   35      $88     $131      $177   $147   $159   $160

Korea, Republic of     Partner




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Section IV: International Analysis                                  Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
Japan                  Paralegal         Quartile        Quartile
Korea, Republic of     Partner
                                   106    $513    $605     $678     $613   $592   $617

                       Associate
                                   98     $270    $324     $400     $335   $308   $298

                       Paralegal
                                   19     $163    $182     $236     $200   $219   $203

Luxembourg             Partner
                                   27     $630    $662     $735     $671   $641   $685

                       Associate
                                   56     $302    $394     $456     $392   $411   $436

Mexico                 Partner
                                   26     $356    $446     $514     $469   $417   $448

                       Associate
                                   30     $262    $329     $389     $335   $327   $307

                       Paralegal
                                   13     $102    $120     $139     $123   $145   $132

Netherlands            Partner
                                   81     $400    $489     $669     $545   $597   $537

                       Associate
                                   185    $270    $349     $442     $370   $397   $357

New Zealand            Partner
                                   19     $475    $514     $558     $510   $500   $462

                       Associate
                                   22     $237    $331     $433     $364   $308   $327

Norway                 Partner
                                   20     $370    $411     $551     $500   $527   $487

                       Associate




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Section IV: International Analysis                                  Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                       Partner           Quartile        Quartile
Norway                 Associate
                                   18     $201    $248     $299     $265   $244   $263

Philippines            Associate
                                   13     $194    $241     $307     $229   $181   $209

Poland                 Partner
                                   22     $185    $265     $354     $291   $297   $239

                       Associate
                                   68     $147    $182     $209     $193   $196   $191

Portugal               Associate
                                   18     $136    $143     $172     $166   $200   $205

Russian Federation     Partner
                                   28     $401    $675     $783     $639   $670   $656

                       Associate
                                   53     $296    $350     $503     $425   $358   $365

                       Paralegal
                                   25     $150    $150     $230     $202   $174   $176

Singapore              Partner
                                   46     $506    $665     $899     $722   $630   $704

                       Associate
                                   86     $358    $465     $669     $500   $470   $481

                       Paralegal
                                   16     $252    $286     $376     $305   $298   $276

South Africa           Partner
                                   33     $247    $350     $422     $387   $307   $299

                       Associate
                                   29     $122    $180     $216     $194   $192   $160

Spain                  Partner




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Section IV: International Analysis                                  Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
South Africa           Associate         Quartile        Quartile
Spain                  Partner
                                   32     $480    $657     $714     $592   $607   $561

                       Associate
                                   96     $285    $402     $523     $423   $413   $397

Sweden                 Associate
                                   17     $297    $365     $399     $345   $349   $335

Switzerland            Partner
                                   31     $426    $490     $591     $547   $545   $522

                       Associate
                                   37     $318    $363     $455     $404   $386   $362

Taiwan                 Partner
                                   18     $269    $354     $413     $357   $437   $408

                       Associate
                                   38     $180    $230     $265     $247   $231   $222

Thailand               Partner
                                   19     $456    $677     $771     $614   $602   $599

                       Associate
                                   11     $219    $325     $440     $334   $317   $365

                       Paralegal
                                   17     $220    $265     $303     $276   $240   $248

Turkey                 Partner
                                   14     $207    $221     $433     $340   $469   $406

                       Associate
                                   46     $196    $205     $313     $259   $251   $224

United Arab Emirates Partner
                                   24     $550    $684     $758     $668   $695   $720

                       Associate




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Section IV: International Analysis                                     Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                             First           Third
Country              Role            n               Median            2022   2021   2020
                     Partner                Quartile        Quartile
United Arab Emirates Associate
                                    31       $387    $504     $634     $494   $451   $467

                       Paralegal
                                    14       $220    $289     $361     $292   $274   $272

United Kingdom         Partner
                                    535      $629    $802    $1,027    $877   $850   $787

                       Associate
                                    902      $400    $523     $705     $573   $551   $514

                       Paralegal
                                    290      $170    $220     $280     $238   $231   $195

United States          Partner
                                   10,592    $430    $653     $969     $749   $738   $705

                       Associate
                                   9,930     $329    $485     $703     $546   $541   $503

                       Paralegal
                                   4,215     $150    $225     $325     $247   $244   $232




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Section IV: International Analysis
Australia
By Role
                                                                 Australia
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                133      $491   $561     $649     $570   $550   $495

Associate
                192      $261   $322     $423     $347   $348   $319

Paralegal
                 42      $176   $204     $260     $220   $196   $215




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Section IV: International Analysis                                          Australia
Australia                                                                   By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median            2022    2021     2020
                                                            Quartile        Quartile
Corporate: Other          Litigation       Partner
                                                       15    $619    $662     $665     $672    $605     $543

                                           Associate
                                                       16    $285    $375     $440     $379    $349     $292

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         17    $479    $545     $582     $549    $546     $489

                                           Associate
                                                       28    $267    $272     $335     $308    $331     $305

Employment and            Non-Litigation   Associate
Labor: Other                                           13    $225    $269     $304     $275    $276     $293

Intellectual Property:    Non-Litigation   Associate
Trademarks                                             15    $280    $323     $425     $359    $311     $286




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Section IV: International Analysis                                    Australia
Australia                                                             By Industry Group and Matter Type
By Industry Group and Matter Type


2022
2022 —— Real
      Real    Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                                      First           Third
Industry Group        Matter Type   Role        n             Median            2022    2021    2020
                                                     Quartile        Quartile
Financials Excluding Non-Litigation Partner
Insurance                                       40    $551    $610     $664     $628    $633     $608

                                    Associate
                                                56    $276    $370     $480     $381    $369     $341

Technology and     Non-Litigation Partner
Telecommunications                              38    $377    $535     $573     $487    $458     $451

                                    Associate
                                                47    $232    $270     $333     $297    $304     $291




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Section IV: International Analysis                                 Australia
Australia                                                          By Firm Size
By Firm Size


2022
2022 ——
      RealReal
           RatesRates   for Partners
                 for Partners           and Associates
                              and Associates
                                      First           Third
Firm Size         Role          n             Median            2022    2021      2020
                                     Quartile        Quartile
50 Lawyers or     Associate
Fewer                           11     $265   $333     $398     $330    $262      $285

51-200 Lawyers Partner
                                18     $457   $542     $583     $545    $471      $371

                  Associate
                                22     $256   $288     $325     $308    $256      $267

201-500           Partner
Lawyers                         20     $559   $613     $652     $615    $607      $572

                  Associate
                                30     $276   $334     $445     $356    $330      $336

More Than         Partner
1,000 Lawyers                   40     $560   $643     $756     $670    $683      $611

                  Associate
                                63     $294   $400     $514     $408    $430      $391




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Section IV: International Analysis
Canada
By Role
                                                                 Canada
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                501      $450   $593     $800     $629   $603   $594

Associate
                222      $325   $465     $595     $483   $458   $417

Paralegal
                241      $145   $230     $300     $232   $222   $215




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Section IV: International Analysis                                           Canada
Canada                                                                       By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                              First           Third
Practice Area             Matter Type      Role        n              Median            2022    2021     2020
                                                             Quartile        Quartile
Commercial                Litigation       Partner
                                                       116    $399    $521     $635     $529    $542     $533

                          Non-Litigation   Partner
                                                       104    $582    $761     $900     $752    $715     $675

                                           Associate
                                                       42     $476    $545     $744     $606    $556     $504

                                           Paralegal
                                                       41     $251    $300     $353     $307    $281     $267

Corporate: Other          Litigation       Partner
                                                       24     $533    $646     $775     $634    $594     $589

                          Non-Litigation   Partner
                                                       108    $599    $793     $902     $761    $692     $680

                                           Associate
                                                       37     $441    $540     $717     $594    $524     $476

                                           Paralegal
                                                       36     $170    $263     $323     $256    $241     $238

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         25     $617    $716     $821     $735    $682     $632

                                           Associate
                                                       12     $537    $567     $601     $579    $566     $433

Employment and            Litigation       Partner
Labor: Other                                           12     $415    $526     $552     $507    $591     $568

                          Non-Litigation   Partner
                                                       16     $411    $450     $531     $482    $535     $582

Finance and Securities: Non-Litigation     Partner
Investments and Other                                  57     $620    $785     $885     $770    $782     $757
Financial Instruments
                                           Paralegal
                                                       24     $250    $330     $365     $318    $299     $294

Finance and Securities: Non-Litigation     Partner
Loans and Financing                                    14     $646    $815     $986     $836    $638     $644

Intellectual Property:    Non-Litigation   Partner
Patents                                                11     $335    $560     $614     $526    $501     $445




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Section IV: International Analysis                                      Canada
Canada                                                                  By Industry Group and Matter Type
By Industry Group and Matter Type


2022
2022 —— Real
      Real    Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                                        First           Third
Industry Group        Matter Type    Role         n             Median            2022    2021    2020
                                                       Quartile        Quartile
Financials Excluding Litigation      Partner
Insurance                                        212    $375    $495     $593     $508    $516     $508

                      Non-Litigation Partner
                                                 217    $605    $785     $901     $769    $732     $712

                                     Associate
                                                 73     $475    $590     $747     $621    $576     $532

Industrials           Non-Litigation Partner
                                                 16     $461    $549     $788     $670    $674     $605

Technology and     Litigation        Partner
Telecommunications                               12     $627    $746     $896     $762    $646     $581

                      Non-Litigation Partner
                                                 31     $426    $534     $635     $541    $554     $552

                                     Associate
                                                 14     $348    $411     $480     $406    $403     $352




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Section IV: International Analysis                                      Canada
Canada                                                                  By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                     First           Third
Firm Size         Role         n             Median            2022       2021     2020
                                    Quartile        Quartile
50 Lawyers or     Partner
Fewer                          39    $350    $375     $525     $432       $458     $431

                  Associate
                               29    $268    $329     $450     $344       $336     $315

51-200 Lawyers Partner
                               77    $474    $550     $720     $576       $557     $537

201-500           Partner
Lawyers                       174    $547    $735     $885     $711       $661     $651

                  Associate
                               77    $425    $505     $600     $519       $483     $456

501-1,000         Partner
Lawyers                       158    $496    $630     $818     $660       $623     $618

                  Associate
                               69    $404    $563     $721     $589       $563     $472

More Than         Partner
1,000 Lawyers                  11    $678    $735    $1,582    $1,025     $907     $871




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Section IV: International Analysis
France
By Role
                                                                 France
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                126      $473   $574     $719     $604   $609   $567

Associate
                217      $313   $379     $520     $427   $422   $377

Paralegal
                 36      $159   $220     $305     $220   $225   $214




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Section IV: International Analysis                                          France
France                                                                      By Role
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median            2022    2021     2020
                                                            Quartile        Quartile
Corporate: Other          Non-Litigation   Partner
                                                       14    $285    $370     $574     $520    $533     $508

                                           Associate
                                                       17    $255    $390     $538     $441    $443     $310

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         11    $702    $843     $925     $796    $605     $521

                                           Associate
                                                       12    $336    $389     $573     $448    $402     $302

Finance and Securities: Non-Litigation     Partner
Investments and Other                                  15    $515    $544     $701     $607    $641     $612
Financial Instruments
                                           Associate
                                                       37    $331    $364     $520     $418    $412     $447




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Section IV: International Analysis                                     France
France                                                                 By Industry Group and Matter Type
By Industry Group and Matter Type


2022
2022 —— Real
      Real    Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                                       First           Third
Industry Group        Matter Type   Role         n             Median            2022    2021    2020
                                                      Quartile        Quartile
Financials Excluding Non-Litigation Partner
Insurance                                       60     $476    $540     $646     $569    $590     $568

                                    Associate
                                                130    $304    $370     $494     $410    $415     $393

Technology and     Non-Litigation Partner
Telecommunications                              25     $468    $574     $574     $549    $546     $513

                                    Associate
                                                33     $318    $320     $433     $378    $385     $312




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Section IV: International Analysis                                    France
France                                                                By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                     First           Third
Firm Size         Role         n             Median            2022     2021     2020
                                    Quartile        Quartile
501-1,000         Partner
Lawyers                        17    $520    $540     $613     $566     $608     $524

                  Associate
                               38    $290    $350     $410     $367     $372     $382

More Than         Partner
1,000 Lawyers                  63    $535    $677     $841     $699     $706     $658

                  Associate
                              127    $338    $435     $551     $468     $478     $419




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Section IV: International Analysis
Germany
By Role
                                                                 Germany
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                248      $365   $517     $712     $569   $549   $522

Associate
                310      $323   $376     $444     $416   $409   $411

Paralegal
                 60      $201   $225     $261     $241   $215   $210




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Section IV: International Analysis                                          Germany
Germany                                                                     By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median            2022    2021     2020
                                                            Quartile        Quartile
Commercial                Non-Litigation   Partner
                                                       19    $347    $362     $409     $381    $396     $404

Corporate: Mergers,       Non-Litigation   Associate
Acquisitions and                                       14    $374    $647     $852     $668    $465     $528
Divestitures
Corporate: Other          Litigation       Associate
                                                       21    $375    $405     $440     $427    $380     $316

                          Non-Litigation   Partner
                                                       11    $401    $477     $736     $607    $599     $563

                                           Associate
                                                       19    $320    $395     $523     $488    $467     $462

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         54    $381    $469     $634     $568    $479     $449

                                           Associate
                                                       74    $325    $353     $411     $384    $398     $398

Employment and            Non-Litigation   Associate
Labor: Other                                           15    $292    $306     $322     $306    $277     $293

Intellectual Property:    Non-Litigation   Partner
Other                                                  11    $340    $341     $343     $346    $310     $283

Intellectual Property:    Litigation       Partner
Patents                                                31    $423    $587     $806     $610    $571     $531

                          Non-Litigation   Partner
                                                       33    $318    $345     $508     $407    $409     $397

                                           Associate
                                                       22    $343    $380     $393     $388    $354     $320

Intellectual Property:    Non-Litigation   Partner
Trademarks                                             12    $470    $715     $725     $647    $539     $443

                                           Associate
                                                       20    $370    $447     $570     $475    $409     $380




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Section IV: International Analysis                                      Germany
Germany                                                                 By Industry Group and Matter Type
By Industry Group and Matter Type


2022 — Real Rates for Partners and Associates
2022 — Real Rates for Partners and Associates
                                                        First           Third
Industry Group        Matter Type    Role         n             Median            2022    2021    2020
                                                       Quartile        Quartile
Financials Excluding Non-Litigation Partner
Insurance                                        36     $674    $708     $774     $717    $738     $715

                                     Associate
                                                 68     $357    $444     $564     $474    $475     $495

Health Care           Non-Litigation Partner
                                                 23     $393    $415     $489     $476    $475     $452

                                     Associate
                                                 19     $295    $329     $413     $354    $360     $366

Industrials           Non-Litigation Partner
                                                 19     $327    $339     $343     $413    $470     $420

Technology and     Litigation        Partner
Telecommunications                               23     $451    $637     $806     $625    $511     $507

                                     Associate
                                                 17     $321    $399     $405     $392    $337     $352

                      Non-Litigation Partner
                                                 97     $353    $494     $710     $583    $537     $479

                                     Associate
                                                 116    $340    $369     $407     $399    $380     $348




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Section IV: International Analysis                                    Germany
Germany                                                               By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners,         and
                               Associates,   Associates
                                           and Paralegals
                                     First           Third
Firm Size         Role         n             Median            2022     2021     2020
                                    Quartile        Quartile
50 Lawyers or     Partner
Fewer                          13    $321    $423     $445     $374     $372     $329

201-500           Partner
Lawyers                        42    $353    $409     $477     $414     $416     $408

                  Associate
                               41    $353    $353     $385     $364     $351     $339

More Than         Partner
1,000 Lawyers                 124    $540    $688     $771     $669     $652     $642

                  Associate
                              202    $324    $389     $513     $433     $434     $437




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Section Kingdom
United
By Role
        IV: International Analysis                               United Kingdom
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                535      $629   $802    $1,027    $877   $850   $787

Associate
                902      $400   $523     $705     $573   $551   $514

Paralegal
                290      $170   $220     $280     $238   $231   $195




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Section IV: International Analysis                                            United Kingdom
United Kingdom                                                                By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median             2022      2021     2020
                                                            Quartile        Quartile
Commercial                Litigation       Associate
                                                       18    $365    $411       $594    $429      $382     $446

                                           Paralegal
                                                       16     $63    $167       $230    $158      $179     $186

                          Non-Litigation   Partner
                                                       15    $501    $532       $640    $645      $681     $663

                                           Associate
                                                       20    $282    $413       $497    $431      $456     $440

                                           Paralegal
                                                       12    $129    $195       $202    $186      $203     $184

Corporate: Mergers,       Non-Litigation   Partner
Acquisitions and                                       37   $1,225   $1,410    $2,350   $1,615    $1,438   $960
Divestitures
                                           Associate
                                                       57    $620    $856      $1,063   $881      $813     $557

Corporate: Other          Litigation       Partner
                                                       37    $604    $665       $805    $744      $734     $803

                                           Associate
                                                       55    $348    $465       $552    $473      $479     $472

                                           Paralegal
                                                       19    $198    $265       $293    $259      $198     $192

                          Non-Litigation   Partner
                                                       52    $737    $883      $1,111   $939      $938     $814

                                           Associate
                                                       87    $452    $613       $850    $660      $606     $569

                                           Paralegal
                                                       33    $245    $280       $347    $306      $258     $129

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         45    $605    $778       $977    $820      $717     $707

                                           Associate
                                                       71    $401    $497       $633    $543      $447     $454

                                           Paralegal
                                                       16    $240    $277       $281    $265      $217     $183

Corporate: Tax            Non-Litigation   Partner
                                                       20    $608    $809      $1,046   $848      $837     $846

                                           Associate
                                                       36    $346    $471       $608    $490      $569     $509


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Section IV: International Analysis                                             United Kingdom
United Kingdom                                                                 By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                       20     First
                                                              $608     $809    Third
                                                                              $1,046     $848      $837     $846
Practice Area             Matter Type      Role         n             Median             2022      2021     2020
                                           Partner           Quartile        Quartile
Corporate: Tax            Non-Litigation   Associate
                                                       36     $346    $471       $608    $490      $569     $509

Employment and            Non-Litigation   Associate
Labor: Agreements                                      26     $325    $452       $546    $423      $359     $403

Employment and            Litigation       Partner
Labor: Other                                           15     $854    $971      $1,119   $963      $1,030   $842

                          Non-Litigation   Partner
                                                       46     $561    $716       $811    $702      $593     $631

                                           Associate
                                                       46     $383    $558       $667    $550      $462     $446

Finance and Securities: Non-Litigation     Partner
Investments and Other                                  80     $644    $797       $969    $819      $879     $802
Financial Instruments
                                           Associate
                                                       129    $391    $512       $641    $539      $557     $532

Finance and Securities: Non-Litigation     Partner
Loans and Financing                                    60     $864    $1,290    $1,466   $1,152    $1,078   $1,095

                                           Associate
                                                       115    $614    $785       $980    $762      $713     $663

Intellectual Property:    Litigation       Partner
Patents                                                22     $655    $778       $982    $802      $804     $754

                                           Paralegal
                                                       14     $196    $233       $272    $230      $221     $161

                          Non-Litigation   Partner
                                                       13     $363    $428       $487    $431      $481     $450

Intellectual Property:    Non-Litigation   Partner
Trademarks                                             12     $595    $679       $901    $702      $667     $692

                                           Associate
                                                       25     $320    $424       $450    $406      $395     $381

                                           Paralegal
                                                       21     $205    $220       $248    $239      $229     $201

Miscellaneous: General Non-Litigation      Partner
Advice & Counsel                                       13     $590    $657       $800    $740      $722     $669

                                           Associate
                                                       28     $420    $506       $599    $529      $498     $480




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Section IV: International Analysis                                       United Kingdom
United Kingdom                                                           By Industry Group and Matter Type
By Industry Group and Matter Type


2022 — Real Rates for Partners and Associates
2022 — Real Rates for Partners and Associates
                                                        First           Third
Industry Group        Matter Type    Role         n             Median            2022      2021    2020
                                                       Quartile        Quartile
Financials Excluding Litigation      Partner
Insurance                                        21     $795    $878     $1,157   $962      $875     $794

                                     Associate
                                                 44     $348    $493     $634     $509      $507     $496

                      Non-Litigation Partner
                                                 246    $718    $870     $1,100   $914      $916     $888

                                     Associate
                                                 469    $413    $540     $741     $585      $590     $558

Industrials           Non-Litigation Partner
                                                 51     $590    $1,284   $2,229   $1,286   $1,238    $706

                                     Associate
                                                 73     $510    $852     $1,048   $805      $713     $596

Technology and     Litigation        Partner
Telecommunications                               20     $674    $751     $852     $751      $698     $707

                                     Associate
                                                 29     $364    $475     $551     $451      $403     $389

                      Non-Litigation Partner
                                                 74     $527    $707     $869     $704      $670     $644

                                     Associate
                                                 129    $353    $471     $571     $474      $416     $429




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Section IV: International Analysis                                    United Kingdom
United Kingdom                                                        By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                     First           Third
Firm Size         Role         n             Median            2022     2021     2020
                                    Quartile        Quartile
50 Lawyers or     Partner
Fewer                          13    $619    $657     $727     $643     $615     $589

                  Associate
                               17    $410    $420     $476     $441     $396     $374

51-200 Lawyers Partner
                               15    $488    $646     $822     $689     $604     $491

                  Associate
                               11    $362    $485     $597     $541     $410     $352

201-500           Partner
Lawyers                        34    $668    $794     $866     $781     $837     $699

                  Associate
                               65    $418    $512     $628     $535     $543     $463

501-1,000         Partner
Lawyers                        15    $617    $943    $1,199    $952    $1,098   $1,172

                  Associate
                               33    $276    $481     $660     $494     $636     $655

More Than         Partner
1,000 Lawyers                 339    $689    $870    $1,101    $905     $874     $838

                  Associate
                              609    $420    $546     $723     $585     $565     $530




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Section  VI:
  Section VI:
Matter
  Matter Staffing
Staffing
  Analysis
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section VI: Matter Staffing Analysis
Short Litigation Matters, 40 to 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Short Li�ga�on Ma�ers, 40 to 100 Total Hours Billed
                              Partners
2019 to 2022 -- Percentage of Hours            Associates
                                    Billed per Ma�er              Paralegals   n = number of mattersPartner
                                                                                                     billed           Associate     Paralegal     nn


Bankruptcy and Collec�ons                                 57%                                        30%                          14%            639


              Commercial                             51%                                            37%                             12%          510


Corporate: Regulatory and
                                                            58%                                                 38%                       4%     60
              Compliance


         Corporate: Other                            52%                                              40%                               8%       308


   Employment and Labor                              52%                                              42%                                 6%     367


    Finance and Securi�es                            52%                                              42%                               7%       103


          General Liability                         50%                                       30%                             20%                887


       Insurance Defense                               54%                                          32%                           14%           10,699


     Intellectual Property:
                                                     52%                                                  42%                             5%     158
                    Patents


               Real Estate                            53%                                                 41%                             6%     247


 Requests for Informa�on                            49%                                               46%                                 5%     36

                              0%                                                50%                                                          100%




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Section VI: Matter Staffing Analysis
Long Litigation Matters, More Than 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Long Li�ga�on Ma�ers, More Than 100 Total Hours Billed
                               Partners
2019 to 2022 -- Percentage of Hours             Associates
                                    Billed per Ma�er               Paralegals   n = number of mattersPartner
                                                                                                      billed        Associate     Paralegal        nn

Bankruptcy and Collec�ons                                    59%                                              33%                      9%        320


               Commercial                     38%                                               53%                                 9%           606


                 Corporate             27%                                             59%                                       14%              66

 Corporate: Regulatory and
                                              39%                                                53%                                   8%        127
               Compliance

          Corporate: Other                       44%                                              47%                               9%           527


    Employment and Labor                      39%                                               49%                               11%            473


            Environmental                           47%                                                     50%                             3%    32


     Finance and Securi�es                    39%                                               52%                                 9%           129


           General Liability                    42%                                       34%                              23%                   1,096


        Insurance Defense                              51%                                            35%                        15%             6,807

      Intellectual Property:
                                                43%                                               49%                                  8%        408
                     Patents

                Real Estate                               55%                                                36%                       9%        290


  Requests for Informa�on                    37%                                                 59%                                     4%       58

                               0%                                                50%                                                        100%




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Section VI: Matter Staffing Analysis
Short Non-Litigation Matters, 40 to 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Short Non-Li�ga�on Ma�ers, 40 to 100 Total Hours Billed
                               Partners
2019 to 2022 -- Percentage of Hours             Associates
                                    Billed per Ma�er                  Paralegals   n = number of matters billed
                                                                                                       Partner            Associate   Paralegal     nn

 Bankruptcy and Collec�ons                                         69%                                                    26%               5%      151

                Commercial                            49%                                               41%                            10%          358

                  Corporate                           48%                                                   46%                             6%      238

        Corporate: Mergers,
                                                      49%                                                    47%                             4%     62
Acquisi�ons and Dives�tures
  Corporate: Regulatory and
                                                    47%                                                     46%                             7%      434
                Compliance

           Corporate: Other                            52%                                                   41%                            7%      742

     Employment and Labor                              52%                                                    42%                           6%      530

      Finance and Securi�es                     41%                                                   51%                                8%        1,317

            General Liability                             55%                                                35%                       10%          124

          Insurance Defense                                  60%                                                    34%                     6%     1,704

       Intellectual Property:
                                             37%                                                50%                                   13%          1,290
                      Patents
       Intellectual Property:
                                              38%                                         35%                                   27%                 74
                 Trademarks

 Intellectual Property: Other                       46%                                                 47%                                 7%      57

                 Real Estate                                    62%                                                  32%                    5%     1,448

                                0%                                                  50%                                                          100%




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Section VI: Matter Staffing Analysis
Long Non-Litigation Matters, More Than 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Long Non-Li�ga�on Ma�ers, More Than 100 Total Hours Billed
                                Partners
2019 to 2022 -- Percentage of Hours              Associates
                                    Billed per Ma�er                 Paralegals   n = number of matters billed
                                                                                                     Partner           Associate     Paralegal       nn

  Bankruptcy and Collec�ons                                 54%                                                  41%                       5%       129

                   Corporate                33%                                                62%                                         5%       415

                 Commercial                           47%                                                  47%                             6%       416
        Corporate: Mergers,
                                              37%                                                    58%                                       4%   185
Acquisi�ons and Dives�tures
  Corporate: Regulatory and
                                               39%                                               53%                                      8%        535
                Compliance

            Corporate: Other                    40%                                             50%                                   11%           1,108

      Employment and Labor                        41%                                            50%                                      9%        648

              Environmental                                        65%                                                 31%                     3%    56

       Finance and Securi�es                34%                                                58%                                        8%        1,874

             General Liability                     44%                                         39%                                 17%              156

       Government Rela�ons                        40%                                                 56%                                      4%    46

           Insurance Defense                             51%                                               40%                            9%        1,650

Intellectual Property: Patents                           51%                                               41%                            8%        244
        Intellectual Property:
                                             35%                                        42%                                   23%                    84
                  Trademarks
 Intellectual Property: Other                         47%                                        37%                                15%              50

                  Real Estate                                58%                                                 34%                      8%        1,101

                                 0%                                               50%                                                          100%




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Section VII:
Data
Methodology
All data and analysis based on
data collected thru Q2 2022




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Appendix: Data Methodology

 Invoice Information                                     Non-Invoice Information

 Data in Wolters Kluwer ELM Solutions’ reference        To capture practice area details, the matter ID
 database and the 2022 Real Rate Report were taken      within each invoice was associated with matter
 from invoice line-item entries contained in invoices   profiles containing areas of work in the systems
 received and approved by participating companies.      of each company. The areas of work were then
                                                        systematically categorized into legal practice areas.
 Invoice data were received in the Legal Electronic     Normalization of practice areas was done based
 Data Exchange Standard (LEDES) format (LEDES.org).     on company mappings to system-level practice
 The following information was extracted from those     areas available in the ELM Solutions system and by
 invoices and their line items:                         naming convention.
 • Law firm (which exists as a random number in the     The majority of analyses included in this report have
   ELM Solutions reference database)                    been mapped to one of 11 practice areas, further
 • Timekeeper ID (which exists as a random number       divided into sub-areas and litigation/non-litigation
   in the ELM Solutions reference database)             (for more information on practice areas and sub-
                                                        areas, please refer to pages 232-234).
 • Matter ID (which exists as a random number in the
   ELM Solutions reference database)                    To capture location and jurisdiction details, law
 • Timekeeper’s position (role) within the law firm     firms and timekeepers were systematically mapped
   (partner, associate, paralegal, etc.)                to the existing profiles within ELM Solutions
                                                        systems, as well as with publicly available data
 • Uniform Task-Based Management System Code            sources for further validation and normalization.
   Set, Task Codes, and Activity Codes (UTBMS.com)      Where city location information is provided, it
 • Date of service                                      includes any address within that city’s defined
                                                        Core-Based Statistical Area (CBSA) as defined by
 • Hours billed                                         the Office of Management and Budget (OMB). The
 • Hourly rate billed                                   CBSAs are urban centers with populations of 10,000
                                                        or more and include all adjacent counties that are
 • Fees billed                                          economically integrated with that urban center.

                                                        Where the analyses focus on partners, associates,
                                                        and paralegals, the underlying data occasionally
                                                        included some sub-roles, such as “senior partner”
                                                        or “junior associate.” In such instances, those
                                                        timekeeper sub-roles were placed within the
                                                        broader partner, associate, and paralegal segments.

                                                        Demographics regarding law firm size, location,
                                                        and lawyer years of experience were augmented by
                                                        incorporating publicly available information.




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Appendix: Data Methodology
A Note on US Cities

Throughout the report, we have used city names to refer to CBSA and consistently used the principal city in
the CBSA to refer to the entire area. The following are the shorthand city names used in this report and the
corresponding CBSA designations, as defined by the OMB.


 Principal City                         CBSA Name

Akron, OH                              Akron, OH
Albany, NY                             Albany-Schenectady-Troy, NY
Albuquerque, NM                        Albuquerque, NM
Atlanta, GA                            Atlanta-Sandy Springs-Alpharetta, GA
Austin, TX                             Austin-Round Rock-Georgetown, TX
Baltimore, MD                          Baltimore-Columbia-Towson, MD
Baton Rouge, LA                        Baton Rouge, LA
Birmingham, AL                         Birmingham-Hoover, AL
Boise City, ID                         Boise City, ID
Boston, MA                             Boston-Cambridge-Newton, MA-NH
Bridgeport, CT                         Bridgeport-Stamford-Norwalk, CT
Buffalo, NY                            Buffalo-Cheektowaga, NY
Burlington, VT                         Burlington-South Burlington, VT
Charleston, SC                         Charleston-North Charleston, SC
Charleston, WV                         Charleston, WV
Charlotte, NC                          Charlotte-Concord-Gastonia, NC-SC
Chicago, IL                            Chicago-Naperville-Elgin, IL-IN-WI
Cincinnati, OH                         Cincinnati, OH-KY-IN
Cleveland, OH                          Cleveland-Elyria, OH
Columbia, SC                           Columbia, SC
Columbus, OH                           Columbus, OH
Dallas, TX                             Dallas-Fort Worth-Arlington, TX
Dayton, OH                             Dayton-Kettering, OH
Denver, CO                             Denver-Aurora-Lakewood, CO
Detroit, MI                            Detroit-Warren-Dearborn, MI
Fresno, CA                             Fresno, CA
Grand Rapids, MI                       Grand Rapids-Kentwood, MI
Greenville, SC                         Greenville-Anderson, SC
Harrisburg, PA                         Harrisburg-Carlisle, PA




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Appendix: Data Methodology
A Note on US Cities

 Principal City                       CBSA Name

Hartford, CT                          Hartford-East Hartford-Middletown, CT
Honolulu, HI                          Urban Honolulu HI
Houston, TX                           Houston-The Woodlands-Sugar Land, TX
Indianapolis, IN                      Indianapolis-Carmel-Anderson, IN
Jackson, MS                           Jackson, MS
Jacksonville, FL                      Jacksonville, FL
Kansas City, MO                       Kansas City, MO-KS
Lafayette, LA                         Lafayette, LA
Las Vegas, NV                         Las Vegas-Henderson-Paradise, NV
Lexington, KY                         Lexington-Fayette, KY
Little Rock, AR                       Little Rock-North Little Rock-Conway, AR
Los Angeles, CA                       Los Angeles-Long Beach-Anaheim, CA
Louisville, KY                        Louisville/Jefferson County, KY-IN
Madison, WI                           Madison, WI
Memphis, TN                           Memphis-Forrest City, TN-MS-AR
Miami, FL                             Miami-Fort Lauderdale-Pompano Beach, FL
Milwaukee, WI                         Milwaukee-Waukesha, WI
Minneapolis, MN                       Minneapolis-St. Paul-Bloomington, MN-WI
Nashville, TN                         Nashville-Davidson-Murfreesboro-Franklin, TN
New Haven, CT                         New Haven-Milford, CT
New Orleans, LA                       New Orleans-Metairie, LA
New York, NY                          New York-Newark-Jersey City, NY-NJ-PA
Oklahoma City, OK                     Oklahoma City, OK
Omaha, NE                             Omaha-Council Bluffs, NE-IA
Orlando, FL                           Orlando-Kissimmee-Sanford, FL
Philadelphia, PA                      Philadelphia-Camden-Wilmington, PA-NJ-DE-MD
Phoenix, AZ                           Phoenix-Mesa-Chandler, AZ
Pittsburgh, PA                        Pittsburgh, PA
Portland, ME                          Portland-South Portland, ME
Portland, OR                          Portland-Vancouver-Hillsboro, OR-WA
Providence, RI                        Providence-Warwick, RI-MA
Raleigh, NC                           Raleigh-Cary, NC
Reno, NV                              Reno-Carson City-Fernley, NV




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Appendix: Data Methodology
A Note on US Cities

 Principal City                      CBSA Name

Richmond, VA                        Richmond, VA
Rochester, NY                       Rochester, NY
Sacramento, CA                      Sacramento-Roseville-Folsom, CA
Salt Lake City, UT                  Salt Lake City, UT
San Diego, CA                       San Diego-Chula Vista-Carlsbad, CA
San Francisco, CA                   San Francisco-Oakland-Berkeley, CA
San Jose, CA                        San Jose-Sunnyvale-Santa Clara, CA
San Juan, PR                        San Juan-Bayamon-Caguas, PR
Savannah, GA                        Savannah, GA
Seattle, WA                         Seattle-Tacoma-Bellevue, WA
St. Louis, MO                       St. Louis, MO-IL
Syracuse, NY                        Syracuse, NY
Tallahassee, FL                     Tallahassee, FL
Tampa, FL                           Tampa-St. Petersburg-Clearwater, FL
Toledo, OH                          Toledo, OH
Trenton, NJ                         Trenton-Princeton, NJ
Tulsa, OK                           Tulsa, OK
Washington, DC                      Washington-Arlington-Alexandria, DC-VA-MD-WV
Wheeling, WV                        Wheeling, WV-OH




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Appendix: Data Methodology

Anonymization of the Dataset                              “Real Rate” Definition
Prior to inclusion in the ELM Solutions reference         The information in this report consists of data taken
database, we systematically scrubbed the data of          from client invoices submitted by law firms for work
any information that would identify a particular          performed from 2018 through 2022. All invoices
matter, company, law firm, invoice, or timekeeper         were submitted through the ELM Solutions billing
(individual). To ensure relationships necessary for       systems.
analysis, those variables were assigned randomly
                                                          The analyses contained in this report are derived
generated numbers. To maintain data integrity and
                                                          from aggregating hours, fees, and rates submitted
allow for proper analysis, these numbers are linked
                                                          as line items on those invoices. For a line item to
across data tables to enforce their associations.
                                                          qualify for inclusion in this report, it had to undergo
To further ensure anonymity and confidentiality:          multiple and rigorous testing processes to ensure its
                                                          validity.
• The information is published in such a manner
  as to make it reasonably impervious to reverse          For example, for a rate to be loaded to the ELM
  analysis should some attempt be made to                 Solutions reference database and used in this
  determine what data might pertain to any                report, it must have been part of an invoice line
  company, law firm, timekeeper, invoice, or matter.      entry in which all of the following items were
• The 2022 Real Rate Report will not reveal which         included:
  ELM Solutions client or clients are included or         • Name of the biller
  excluded in its analyses.                               • Role of the biller
• Clients are not and will not be informed as to          • Date of activity
  whether their data are included within a particular     • Hourly rate charged
  facet of analysis.                                      • Time charged
• No textual description of any legal work performed      • UTBMS code associated with the time charged
  by any individual exists in the                         • Total amount charged for the activity
  ELM Solutions reference database.
                                                          In addition, each line item’s hourly rate was
A Note on Insurance Litigation                            validated against its “real rate” (calculated by
                                                          dividing the total amount charged for the activity by
We aim to provide a point of comparison for
                                                          the time charged). Any line items with an hourly rate
companies purchasing law firm services. To improve
                                                          that did not align closely with the real rate were not
comparability, we removed data related to insurance
                                                          loaded to the reference database.
company defense litigation for all analyses unless
noted otherwise. Insurance litigation tends to be         Real Rate = Line-Item Total/Line-Item Hours (Units)
less expensive than other types of litigation, as it is   Example: $4,000/10 Hours = Real Rate of $400
typically more repetitive and less complex.
                                                          Adjustments the client made to line-item amounts
                                                          after submission are not factored into the dataset.
                                                          These types of adjustments may impact the
                                                          effective rate paid by the client to the law firm but
                                                          do not reflect the real rate billed.




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Appendix: Data Methodology

In short, the real rate is the rate appearing on an     All data included within this report have been
approved invoice at the invoice line-item level.        mapped to a corresponding practice area. The
                                                        majority of our analyses focus on the following 12
Aggregations of data taken from millions of these
                                                        practice areas:
line-item-level invoice entries are the core of the
information analyzed.                                   • Bankruptcy and Collections
                                                        • Commercial
A Note on Negotiated Rates and Billing                  • Corporate
Practices law firms can generally follow vary for       • Employment and Labor
submitting “negotiated” rates on invoices. Firms        • Environmental
may submit the negotiated rate as the hourly rate       • Finance and Securities
identified on the invoice line item, insert a vendor
                                                        • General Liability
line-item adjustment to ensure compliance, or
provide a vendor invoice level adjustment to bring      • Government Relations
the total amount of the fees into compliance with       • Insurance Defense
agreed-on discounts. Although the former two are        • Intellectual Property
considered part of the real rate calculation, the       • Marketing and Advertising
latter can be problematic. It is not directly linked    • Real Estate
to a line item, and therefore, to determine the
rate, it should not be assumed that the adjustment      Within each client’s areas of work, sub-areas are
is related to a specific line item. Invoice-level       often identified. The lists that follow identify client
adjustments may represent a credit or some other        areas of work and, within those areas, the sub-areas
type of adjustment placed on the invoice. To ensure     underneath each practice area. Often, the same sub-
these types of adjustments would not adversely          area appears within different practice areas. For
impact the analysis contained within the 2022 Real      example, the sub-area “General/Other” when listed
Rate Report, the team reviewed the population           under “Commercial and Contracts” refers to general
of invoices and line items to determine what            work provided regarding commercial and contracts
the deviation of the real rate might be based on        matters. When listed under the “Employment and
inclusion or exclusion. The analysis demonstrated       Labor” practice area, the same sub-area refers to
that the variance was not significant (less than 1%).   work provided on employment and labor. Where
                                                        applicable and practicable, each area and sub-area
As such, we decided not to include the vendor-level     has been further subdivided into litigation and non-
adjustments in the report.                              litigation work for granular analysis.
Types of Matters Included in the Analysis
Matters within the ELM Solutions system are
associated with areas of work described and defined
by ELM Solutions clients. Those areas of work were
analyzed and systematically categorized into legal
practice areas. Normalization of practice areas was
supported by mappings to system-level practice
areas available in the ELM Solutions system and by
naming convention.




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Appendix: Data Methodology

Bankruptcy and Collections
Chapter 11                                                              General/Other
Collections                                                             Workouts and Restructuring

Commercial (Commercial Transactions and Agreements)
Contract Breach or Dispute
General, Drafting, and Review
General/Other

Corporate1
Antitrust and Competition                                               Partnerships and Joint Ventures
Corporate Development                                                   Regulatory and Compliance
General/Other                                                           Tax
Governance                                                              Treasury
Information and Technology                                              White Collar/Fraud/Abuse
Mergers, Acquisitions, and Divestitures

Employment and Labor
ADA                                                                     General/Other
Agreements                                                              Immigration
Compensation and Benefits                                               Union Relations and Negotiations/NLRB
Discrimination, Retaliation, and Harassment/EEO                         Wages, Tips, and Overtime
Employee Dishonesty/Misconduct                                          Wrongful Termination
ERISA

Environmental
General/Other                                                           Superfund
Health and Safety                                                       Waste/Remediation

Finance and Securities
Commercial Loans and Financing                                          Investments and Other Financial Instruments
Debt/Equity Offerings                                                   Loans and Financing
Fiduciary Services                                                      SEC Filings and Financial Reporting
General/Other                                                           Securities and Banking Regulations

General Liability
Asbestos/Mesothelioma                                                   Personal Injury/Wrongful Death
Auto and Transportation                                                 Premises
Consumer Related Claims                                                 Product and Product Liability
Crime, Dishonesty and Fraud                                             Property Damage
General/Other                                                           Toxic Tort



1 All references to “Corporate: General/Other” in the Real Rate Report are the aggregation of all Corporate sub-areas excluding the Mergers,
  Acquisitions, and Divestitures sub-area and the Regulatory and Compliance sub-area.




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Appendix: Data Methodology

Government Relations
General/Other
Lobbying and Relations

Insurance Defense
Auto and Transportation
General/Other
Personal Injury/Wrongful Death
Product and Product Liability
Professional Liability
Property Damage
Toxic Tort

Intellectual Property2
General/Other
Licensing
Patents
Trademarks

Marketing and Advertising
General/Other


Real Estate
Construction/Development
Easement and Right of Way
General/Other
Land Use/Zoning/Restrictive Covenants
Landlord/Tenant Issues
Leasing
Property/Land Acquisition or Disposition
Titles




2 All references to “Intellectual Property: General/Other” in the Real Rate Report are the aggregation of all Intellectual Property sub-areas
  excluding the Patents and Trademarks sub-areas.




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                                                                         ELM Solutions

About Wolters Kluwer ELM Solutions

Wolters Kluwer ELM Solutions is the market-leading global provider of enterprise legal spend and matter
management, contract lifecycle management, and legal analytics solutions. We provide a comprehensive suite
of tools that address the growing needs of corporate legal operations departments to increase operational
efficiency and reduce costs. Corporate legal and insurance claims departments trust our innovative technology
and end-to-end customer experience to drive world-class business outcomes. Wolters Kluwer ELM Solutions
was named a leader in both the IDC MarketScape: Worldwide Enterprise Legal Spend Management 2020 Vendor
Assessment and IDC MarketScape: Worldwide Enterprise Matter Management 2020 Vendor Assessment. The
award-winning products include Passport®, one of the highest rated ELM solutions in the latest Hyperion
MarketView™ Legal Market Intelligence Report; TyMetrix® 360°, the industry’s leading SaaS-based e-billing
and matter management solution; CLM Matrix, named a “strong performer” in the 2019 Q1 CLM Forrester Wave
report; and the LegalVIEW® portfolio of legal analytics solutions based upon the industry’s largest and most
comprehensive legal spend database, with more than $155 billion in invoices.




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